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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION



CIELO JEAN GIBSON, DESSIE MITCHESON,
IRINA VORONINA, JOHN COULTER, and
MAYSA QUY,                                                Civil Action No. __________________

                      Plaintiffs,
                                                                         COMPLAINT
              - against -                                             (Jury Trial Demanded)

RESORT AT PARADISE LAKES, LLC d/b/a
PARADISE LAKES RESORT d/b/a PARADISE
LAKES and JERRY L. BUCHANAN,

                      Defendants.


                                           COMPLAINT

       COME NOW Plaintiffs CIELO JEAN GIBSON, DESSIE MITCHESON, IRINA

VORONINA, JOHN COULTER, and MAYSA QUY (collectively, “Plaintiffs” or “Models”), by

and through undersigned counsel, and for their Complaint against Defendants RESORT AT

PARADISE LAKES, LLC doing business as PARADISE LAKES RESORT also doing business

as PARADISE LAKES and JERRY L. BUCHANAN (collectively, “Defendants”) state as

follows:

                                         INTRODUCTION

       1.     Over the course of three (3) years, Defendants pirated various images, likeness

and/or identities of each Plaintiff model for self-serving commercial purposes, to wit: to

advertise, promote and market Defendants’ own business interests on social media accounts

owned, operated, hosted, or controlled by Defendants.

       2.     Defendants are unapologetic, chronic and habitual infringers.
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        3.      Defendants did not negotiate for or purchase the images.

        4.      Defendants did not seek or obtain consent or authority to use any of the Plaintiffs’

images for any purpose.

        5.      None of the Plaintiffs agreed, nor would any Plaintiff have agreed, to Defendants’

use of their image, likeness and/or identity.

        6.      Had each Plaintiff been afforded the opportunity to consider whether to consent

and release rights as to the use of any image, each Plaintiff would have promptly and

unequivocally declined.

        7.      Defendants’ conduct is therefore misleading and deceptive by falsely and

fraudulently representing that each Plaintiff model depicted in the misappropriated images is

somehow affiliated with Defendant Resort at Paradise Lakes, LLC doing business as Paradise

Lakes Resort also doing business as Paradise Lakes (“Paradise Lakes”), has contracted to

perform at and/or participate in events at Paradise Lakes, has been hired to promote, advertise,

market or endorse its events and other activities offered at Paradise Lakes, and/or that each

Plaintiff depicted in the advertisements has attended or will attend each event and has

participated in or intends to participate in the activities advertised.

        8.      Defendants’ conduct is also injurious to each Plaintiff.

        9.      Defendants circumvented the typical arms-length negotiation process entirely and

pirated the subject images. In doing so, Defendants have utterly deprived each Plaintiff the

right and ability to say “no.”

        10.     Defendants have prevented each Plaintiff from engaging in arms-length

negotiations regarding the terms and conditions of use of their images, including the term of any

release, remuneration per image or use, or the ability to decline the business opportunity entirely.

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In short, Defendants deprived each Plaintiff the ability to protect her/his image, brand and

reputation.

       11.      In the end, Defendants gained an economic windfall by using the images of

professional and successful models for Defendants’ own commercial purposes, luring and

enticing patrons worldwide to view the images and visit Paradise Lakes, without having to

compensate the models a single penny for such usage. Plaintiffs, however, sustain injury to their

images, brands and marketability by shear affiliation with Paradise Lakes and the type of resort

operated by Defendants.

       12.      Having operated a business in the adult entertainment and nudist vacation

industry, Defendants are well aware of the standard negotiation process over terms of use,

conditions of release, licensing issues, and other contractual incidences related to use and

exploitation of images for Defendants’ commercial benefit.

       13.      By defaming and embarrassing Plaintiffs and associating Plaintiffs’ images and

likenesses with Paradise Lakes, Defendants’ conduct is not merely a misuse in connection with

an innocuous brand or event.

                                               PARTIES

A. Plaintiffs

       14.      Given the multitude of violations harming numerous models, and the similarity of

misconduct from Defendants harming all models, in the interest of judicial economy, Plaintiffs,

through counsel, respectfully consolidate all actionable violations presently known into this

single collective action on behalf of the following models.

       15.      Plaintiff Cielo Jean Gibson (“Gibson”) is, and at all times relevant to this action

was, a professional model and a resident of Santa Monica, California.

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       16.     Plaintiff Dessie Mitcheson (“Mitcheson”) is, and at all times relevant to this

action was, a professional model and a resident of Costa Mesa, California.

       17.     Plaintiff Irina Voronina (“Voronina”) is, and at all times relevant to this action

was, a professional model and a resident of Los Angeles, California.

       18.     Plaintiff John Coulter (“Quy”) is, and at all times relevant to this action was, a

professional model and a resident Los Angeles, California.

       19.     Plaintiff Maysa Quy (“Quy”) is, and at all times relevant to this action was, a

professional model and a resident of Las Vegas, Nevada.

B. Defendant, Resort at Paradise Lakes, LLC d/b/a Paradise Lakes Resort d/b/a Paradise
   Lakes

       20.     Based on publicly available records, and further upon information and belief,

Resort at Paradise Lakes, LLC d/b/a Paradise Lakes Resort d/b/a Paradise Lakes is a corporation

organized and existing under the laws of the State of Florida with a principal place of business at

2001 Paradise Lakes Blvd. Lutz, Florida 33558.

       21.     Paradise Lakes holds and at all times relevant, has held itself out as a nudist resort

that engages in the business of entertaining its patrons with alcohol, music, hotel rooms, and

several amenities including a nightclub.

       22.     Paradise Lakes owns and/or operates www.ParadiseLakes.com as well as other

social media accounts and websites through which it advertises its business, events, and parties.

For many of these events, images of one or more of the Plaintiff models were used to market and

promote the events.

       23.     Upon information and belief, Paradise Lakes coordinated its advertising,

marketing and promotional activities through, among other things, active and dynamic use of its


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website www.ParadiseLakes.com, among others, and various coordinated social media

promotions through Facebook, and Twitter, among others.

C. Defendant, Jerry L. Buchanan

       24.     Based on publicly available records, and upon information and belief, Jerry L.

Buchanan (“Buchanan”), is an individual who works and/or resides in Pasco County, Florida.

       25.     Based upon publicly available records, and upon information and belief,

Buchanan presently serves, and during all times relevant to the allegations raised herein served,

as the owner of Defendant Resort at Paradise Lakes, LLC d/b/a Paradise Lakes Resort d/b/a

Paradise Lakes.

       26.     As the owner of Defendant Resort at Paradise Lakes, LLC d/b/a Paradise Lakes

Resort d/b/a Paradise Lakes, Buchanan has, and during all times relevant to the allegations raised

herein had, operational and managerial control and responsibility over the business operations of,

and decision-making authority for, Paradise Lakes, including decisions relating to Paradise

Lakes’ promotional, advertising, marketing and endorsement activities such as those detailed in

this Complaint.

                                  JURISDICTION AND VENUE

       27.     This Court has original federal question jurisdiction over the claims in this action

pursuant to 28 U.S.C. § 1331 as Plaintiffs have each individually stated claims under the Lanham

Act, 28 U.S.C. § 1125(a)(1). This Court has supplemental jurisdiction over the Florida state law

claims alleged herein pursuant to 28 U.S.C. § 1367.

       28.     The Court has personal jurisdiction over Defendants based on their contact with

the State of Florida, including but not limited to Paradise Lakes’ registration to conduct business

in Florida, its physical location and principal place of business in Florida, as well as Buchanan’s

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residence in the State of Florida and upon information and belief, committed, facilitated,

assisted, encouraged or conspired to commit the actions giving rise to the harm and damages

alleged herein in the State of Florida.

       29.       Venue is proper in the United States District Court for the Middle District of

Florida pursuant to 28 U.S.C. §§ 1391(a) and (b) because Paradise Lakes and Buchanan reside in

the Middle District of Florida and Paradise Lakes has its principal place of business in Pasco

County, Florida and all acts giving rise to the claims set forth herein occurred or originated in

Pasco County, which is in the Middle District of Florida.

                                    FACTUAL BACKGROUND

A. Standard and Customary Business Practices in the Modeling Industry Require Arms-
   Length Negotiations over the Terms and Conditions of Usage and Remuneration for
   any Modeling Images

       30.       In the modeling industry, reputation is critical. Protection of a model’s reputation

is therefore of paramount importance.

       31.       Each Plaintiff is a professional model who earns a living by promoting his/her

image and likeness to select clients, commercial brands, media and entertainment outlets, as well

as relying on his/her reputation and own brand for modeling, acting, hosting, and other

opportunities.

       32.       Each Plaintiffs’ career in modeling, acting, and/or private enterprise has value

stemming from the goodwill and reputation that each of them have built, all of which is critical

to establishing a brand, being selected for jobs and maximizing earnings.

       33.       Each Plaintiff has worked to establish himself/herself as reliable, reputable and

professional.



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       34.      Each Plaintiff must necessarily be vigilant in protecting his/her “brand” from

harm, taint, or other diminution.

       35.      Any improper or unauthorized use of an image, likeness and/or identity could

substantially injure the career and career opportunities of each Plaintiff.

       36.      In the modeling industry, models such as Plaintiffs typically do not have a single

employer, but rather work as independent contractors for different agents or entities.

       37.      Each Plaintiff is a responsible professional in the ordinary course. Each Plaintiff

seeks to control the use and dissemination of his/her image and, thus, actively participates in

vetting and selecting modeling, acting, brand spokesperson, or hosting engagements.

       38.      Plaintiffs’ vetting and selection of a professional engagement involves a multi-

tiered assessment, such as, but not limited to:

             a. determining whether the individual or entity seeking a license and release of a

                model’s image, likeness and/or identity is reputable, has reputable products or

                services, and, through affiliation therewith, would either enhance or harm a

                model’s stature or reputation;

             b. this reputational information is used in negotiating compensation which typically

                turns on the work a model is hired to do, the time involved, travel and how his/her

                image is going to be used – known as “usage” (among other variables);

             c. to protect his/her reputation and livelihood, Plaintiffs and/or their agents carefully

                and expressly define the terms and conditions of use;

             d. the entire negotiated deal is reduced to and memorialized in an integrated, written

                agreement of limited duration (typically 1-3 years) which define the parties’

                relationship. The terms and conditions of the agreement typically, unless

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               otherwise expressly delineated, bind and are applicable to only the parties to that

               agreement.

       39.     Endorsing, promoting, advertising or marketing the “wrong” product, service or

corporate venture, or working in or being affiliated with a disreputable industry can severely

impact Plaintiffs’ careers by limiting or foreclosing future modeling or brand endorsement

opportunities. Conversely, association with high-end companies, products, or magazines can

enhance and amplify Plaintiffs’ earning potential and career opportunities by making Plaintiffs

more sought after and desirable.

B. Defendants Have Misappropriated Each Plaintiff’s Image, Likeness and/or Identity
   Without Authority, for Self-Serving Commercial Gain and Without Offering or Paying
   Compensation to any Plaintiff

       40.     As set forth below, each Plaintiff’s image, likeness and/or identity has been

misappropriated by or at the direction of Defendants. Defendants’ conduct creates the false and

misleading appearance and impression that each Plaintiff either works for Defendants, has

appeared and participated or will appear and participate in activities or events at Paradise Lakes,

and/or has agreed and consented to advertise, promote, market or endorse Paradise Lakes or one

or more Paradise Lakes’ events or activities.

                                    Plaintiff Cielo Jean Gibson

       41.     Gibson is an accomplished American model who enjoys great success in her

industry. Gibson has over fifty four thousand (54,000) Instagram followers1, has appeared in

FHM Magazine, and was the Import Tuner model search winner. She has a tremendous motor

sport following as the Falken Drift Team model and the Short Block Technologies Inc. model.


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       In the world of modeling, the number of online “followers” or “likes” is a strong factor in
determining the earning capacity of a model.

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Gibson is also a Top Rank Boxing model who continues to promote and market a number of

different companies’ sport and fitness equipment.

       42.      In all instances of commercial marketing and promotion of her image, likeness

and/or identity by third parties, Gibson negotiated and expressly granted authority for such use

pursuant to agreed-upon terms and conditions and for agreed-upon compensation.

       43.      Gibson’s image, likeness and/or identity are depicted in at least one photograph,

enclosed as Exhibit A to the Complaint, which has been used at least one time to create the false

perception that Gibson has consented or agreed to promote, advertise, market and/or endorse

Paradise Lakes’ “Finally Friday” event to benefit Defendants’ commercial interests. On October

25, 2013, Defendants uploaded Gibson’s image to Paradise Lakes’ Twitter page to advertise their

“Finally Friday” event as well complimentary entrance for “couples and single ladies after 5

pm.” The salacious caption next to the image of Gibson also provided, “Lingerie Night in Club

Reveal, Wear your Sexiest!” The caption, together with the logo of Paradise Lakes and the image

of Gibson were used to wrongfully imply that Gibson is one of Paradise Lakes’ employees,

entertainers, contractors, and/or nudists.

       44.      Gibson’s image, likeness and/or identity in Exhibit A are being used by

Defendants in various marketing and promotional mediums (“usages”) such as advertising, on

various social media accounts, as coupons, and for branding purposes.

       45.      Gibson has never been employed by Defendants or contracted with Defendants to

participate in events at Paradise Lakes.

       46.      Gibson has never been hired by Defendants or contracted with Defendants to

advertise, promote, market or endorse Defendants’ business, Paradise Lakes, or any Paradise

Lakes’ event.

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       47.     Defendants never sought permission or authority to use Gibson’s image, likeness

and/or identity to advertise, promote, market or endorse Defendants’ business, Paradise Lakes, or

any Paradise Lakes’ event.

       48.     Gibson never gave permission, or assigned, licensed or otherwise consented to

Defendants using her image, likeness and/or identity to advertise, promote, market or endorse

Defendants’ business, Paradise Lakes, or any Paradise Lakes’ event.

       49.     Defendants neither offered nor paid any remuneration to Gibson for the

unauthorized use of her image, likeness and/or identity.

       50.     Defendants’ use of Gibson’s image, likeness and/or identity in connection with

Paradise Lakes’ event impugns Gibson’s character, embarrasses her, and suggests – falsely – her

support for and participation in a nudist lifestyle.

       51.     Upon information and belief, Defendants’ improper use of the image described

herein permitted, encouraged, or facilitated other persons, firms, and entities to further utilize

and misappropriate Gibson’s image in their market activities and business. In doing so,

Defendants have further damaged Gibson.

                                     Plaintiff Dessie Mitcheson

       52.     Mitcheson is a model and actress. She is best known for winning Maxim’s

“Hometown Hottie” contest in 2013. The previous year she was named the Face of the MGM

Grand and the Face of Playboy Intimates. Mitcheson most recently stood by Floyd Mayweather’s

side at the biggest fight of the century as the main ring girl. Mitcheson currently has over one

hundred thirty seven thousand (137,000) Instagram followers, almost eighteen thousand (18,000)

Facebook followers, and over nine thousand (9,000) Twitter followers.



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       53.     In all instances of commercial marketing and promotion of her image, likeness

and/or identity by third parties, Mitcheson negotiated and expressly granted authority for such

use pursuant to agreed-upon terms and conditions and for agreed-upon compensation.

       54.     Mitcheson’s image, likeness and/or identity are depicted in at least one photo,

enclosed as Exhibit B to the Complaint, which has been used at least one time to create the false

perception that Mitcheson has consented or agreed to promote, advertise, market and/or endorse

Paradise Lakes’ “Thurs Nite Football!” events to benefit Defendants’ commercial interests. On

December 5, 2013, Defendants uploaded Mitcheson’s image to Paradise Lakes’ Twitter page to

promote and market their happy hour, “4 Big Screen TVs”, sports menu, and drink specials. The

caption next to the image of Mitcheson further provided, “Join us for #happyhour2 5PM-CLOSE

tonight #RepealDay just happens to fall on a Thurs (we do this every wk) but enjoy!!” The image

of Mitcheson was used to deceive the viewing public and the visiting patrons that Mitcheson is

one of Paradise Lakes’ employees, entertainers, contractors, and/or nudists.

       55.     Mitcheson’s image, likeness and/or identity in Exhibit B are being used by

Defendants in various marketing and promotional mediums (“usages”) such as advertising, on

various social media accounts, and as coupons.



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        The use of hashtags on Plaintiffs’ images, likeness and identity is especially damaging to
Plaintiffs, since a hashtag ensures that Plaintiffs’ images, likeness and identity is now
“searchable” and will reside with other social media images and/or content that may be similarly
as offensive. A hashtag is a type of label or metadata tag used on social networks and
microblogging services, which makes it easier for users to find messages or images with a
specific theme or content. Users create and use hashtags by placing the hash character (or
number sign) in front of a word or unspaced phrase, either in the main text of a message or at the
end. Searching for that hashtag will then present each message or image that has been tagged
with the same hashtag. For example, when a user searches for such hashtag as “#happyhour” or
“#RepealDay”, an innumerable amount of sexual and lewd images will appear along with
Plaintiffs’ images, likeness and identity.

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       56.      Mitcheson has never been employed by Defendants or contracted with Defendants

to participate in events at Paradise Lakes.

       57.      Mitcheson has never been hired by Defendants or contracted with Defendants to

advertise, promote, market or endorse Defendants’ business, Paradise Lakes, or any Paradise

Lakes’ event.

       58.      Defendants never sought permission or authority to use Mitcheson’s image,

likeness and/or identity to advertise, promote, market or endorse Defendants’ business, Paradise

Lakes, or any Paradise Lakes’ event.

       59.      Mitcheson never gave permission, or assigned, licensed or otherwise consented to

Defendants using her image, likeness and/or identity to advertise, promote, market or endorse

Defendants’ business, Paradise Lakes, or any Paradise Lakes’ event.

       60.      Defendants neither offered nor paid any remuneration to Mitcheson for the

unauthorized use of her image, likeness and/or identity.

       61.      Defendants’ use of Mitcheson’s image, likeness and/or identity in connection with

Paradise Lakes’ events impugns Mitcheson’s character, embarrasses her, and suggests – falsely –

her support for and participation in a nudist lifestyle.

       62.      Upon information and belief, Defendants’ improper use of the image described

herein permitted, encouraged, or facilitated other persons, firms, and entities to further utilize

and misappropriate Mitcheson’s image in their market activities and business. In doing so,

Defendants have further damaged Mitcheson.

                                       Plaintiff Irina Voronina

       63.      Voronina is an international model and actress. As her international modeling

career began to skyrocket, Voronina was brought to America, where she was introduced to

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Playboy Studios in Los Angeles, California. She eventually became Playboy’s Miss January,

2001 and then permanently relocated to Los Angeles, California to take her career to the next

level. She signed with Wilhelmina L.A., which offered her the opportunity to work with world-

famous photographers such as Teri Richardson, Mathew Rolston, Antoine Verglas, David

LaChapelle, and many others. Now, Voronina is an advertiser’s dream, known for her sultry

look, charm, and on-set professionalism. Voronina’s beauty has represented international brands

including SKYY Vodka, Miller Lite, Michelob Ultra, Bacardi, Sisley & Detour, to name a few.

She has millions of visual impressions around the globe via covers and pages of worldwide

magazines, such as FHM, Maxim, Playboy (in 20 countries), Max (Italy), Ocean, Shape, 944,

Knock-out, Q (United Kingdom), People (Australia), and most recently Kandy, Rukus, Vape and

Browz. In addition to being a model, Voronina has appeared on television and the big screen. She

has over three million six hundred thousand (3,600,000) followers on Facebook, over four

hundred and sixty thousand (460,000) Instagram followers, one hundred and seven thousand

(107,000) Twitter followers, and almost seven hundred thousand (700,000) YouTube views.

       64.     In all instances of commercial marketing and promotion of her image, likeness

and/or identity by third parties, Voronina negotiated and expressly granted authority for such use

pursuant to agreed-upon terms and conditions and for agreed-upon compensation.

       65.     Voronina’s images, likeness and/or identity are depicted in at least two

photographs, enclosed as Exhibit C to the Complaint, which have been used at least three times

to create the false perception that Voronina has consented or agreed to promote, advertise,

market and/or endorse Paradise Lakes’ activities and events to benefit Defendants’ commercial

interests. On October 31, 2014, Defendants uploaded Voronina’s image to Paradise Lakes’

Twitter page for the purposes of promoting their “Halloween in Paradise” and “Midnight

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Costume Parade” events as well as “$1400 Prize Package!!” and a chance to “Win a FULL

YEAR Membership!” The caption next to the image of Voronina also advertised, “Witching

Hour Sat night (11/1) When the clock strikes 12, the Midnight Costume Contest will be

on!#HalloweenCostumes.” Voronina appears as the model wearing a woman’s Halloween pirate

outfit. On November 1, 2014, Defendants uploaded the same image of Voronina to their

Facebook page, but this time, the caption provided, “Are you little Ghouls all set for tonight? If

you forgot anything – the Boutique is open until 7pm We can’t wait to see what all you Spirits

are coming as tonight!!!”

       66.       On August 15, 2015, Defendants used another stolen image of Voronina to

promote another sexually charged event called “Toga Party Theme Night.” The image was

uploaded to Defendants’ Facebook page and advertised admission prices, VIP seating, and drink

specials. The caption next to the image of Voronina read, “Wrap yourself up in a sheet or throw a

laurel wreath on your head and call it done!! Just get here for the toga, togA, , toGA, TOGA!!

Party tonight – Club Reveal 8pm.” Voronina appears as the model on the right hand side of the

advertisement.

       67.       Both images of Voronina were used without Voronina’s consent and to

intentionally give the impression that Voronina was either working at Paradise Lakes or that she

endorses Defendants’ business and the nudist lifestyle.

       68.       Voronina’s images, likeness and/or identity in Exhibit C are being used by

Defendants in various marketing and promotional mediums (“usages”) such as advertising, on

various social media accounts, and as coupons.

       69.       Voronina has never been employed by Defendants or contracted with Defendants

to participate in events at Paradise Lakes.

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       70.      Voronina has never been hired by Defendants or contracted with Defendants to

advertise, promote, market or endorse Defendants’ business, Paradise Lakes, or any Paradise

Lakes’ event.

       71.      Defendants never sought permission or authority to use Voronina’s images,

likeness and/or identity to advertise, promote, market or endorse Defendants’ business, Paradise

Lakes, or any Paradise Lakes’ event.

       72.      Voronina never gave permission, or assigned, licensed or otherwise consented to

Defendants using her images, likeness and/or identity to advertise, promote, market or endorse

Defendants’ business, Paradise Lakes, or any Paradise Lakes’ event.

       73.      Defendants neither offered nor paid any remuneration to Voronina for the

unauthorized use of her images, likeness and/or identity.

       74.      Defendants’ use of Voronina’s images, likeness and/or identity in connection with

Paradise Lakes’ events impugns Voronina’s character, embarrasses her, and suggests – falsely –

her support for and participation in a nudist lifestyle.

       75.      Upon information and belief, Defendants’ improper use of the images described

herein permitted, encouraged, or facilitated other persons, firms, and entities to further utilize

and misappropriate Voronina’s images in their market activities and business. In doing so,

Defendants have further damaged Voronina.

                                        Plaintiff John Coulter

       76.      Coulter spent two years studying illustration on a full art scholarship at the

University of Arizona and then continued his studies at the prestigious Art Center College of

Design in Pasadena, California. Along with visual arts, Coulter pursued other areas of interest

including performing arts, which led him to Disneyland, where he worked both, as an artist in the

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entertainment art department and moonlighted as Prince Charming in the Main Street Electrical

Parade. Coulter then went on to play other Disney characters. One of the highlights was playing

Tarzan in the opening cast of Tarzan Rocks. His princely charm also took him to Tokyo

Disneyland, where he performed many other roles.

       77.    While living in California, Coulter began a modeling career that has lasted over

twenty (20) years. This led him to New York and Europe where he worked with such renowned

photographers as Ellen Von Unwerth and David Lachapelle. He shot a jeans campaign with

Cindy Crawford and a MAC Cosmetics campaign with Mary J. Blige and Lil’ Kim. He walked

the runways with Naomi Campbell, Kate Moss, Marcus Schenkenberg, and Tyson Beckford and

graced the packaging and ad campaigns for Joe Boxer, Fruit of the Loom, Murano, Undergear,

and International Male. Coulter also appeared in television commercials with Paris Hilton, Heidi

Klum, Kristen Chenoweth, and Karolina Kurkova. In addition, Coulter appeared on Tyra Bank’s

America’s Next Top Model show and in a Madonna video directed by Guy Ritchie. Coulter can

now be seen on Britney Spears’ Blackout Album as the controversial priest and has over eleven

thousand (11,000) Instagram followers.

       78.    In all instances of commercial marketing and promotion of his image, likeness

and/or identity by third parties, Coulter negotiated and expressly granted authority for such use

pursuant to agreed-upon terms and conditions and for agreed-upon compensation.

       79.    Coulter’s image, likeness and/or identity are depicted in at least one photograph,

enclosed as Exhibit D to the Complaint, which has been used at least one time to create the false

perception that Coulter has consented or agreed to promote, advertise, market and/or endorse

Paradise Lakes’ lunch and drink specials to benefit Defendants’ commercial interests. On

December 27, 2013, Defendants uploaded Coulter’s image to Paradise Lakes’ Facebook page

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next to the large logos of Paradise Lakes. Coulter appears as the model wearing a man’s

Halloween chef outfit. The image of Coulter was used to deceive the viewing public and the

visiting patrons that Coulter is one of Paradise Lakes’ employees, entertainers, contractors,

and/or nudists.

        80.       Coulter’s image, likeness and/or identity in Exhibit D are being used by

Defendants in various marketing and promotional mediums (“usages”) such as advertising, on

various social media accounts, and as coupons.

        81.       Coulter has never been employed by Defendants or contracted with Defendants to

participate in events at Paradise Lakes.

        82.       Coulter has never been hired by Defendants or contracted with Defendants to

advertise, promote, market or endorse Defendants’ business, Paradise Lakes, or any Paradise

Lakes’ event.

        83.       Defendants never sought permission or authority to use Coulter’s image, likeness

and/or identity to advertise, promote, market or endorse Defendants’ business, Paradise Lakes, or

any Paradise Lakes’ event.

        84.       Coulter never gave permission, or assigned, licensed or otherwise consented to

Defendants using his image, likeness and/or identity to advertise, promote, market or endorse

Defendants’ business, Paradise Lakes or any Paradise Lakes’ event.

        85.       Defendants neither offered nor paid any remuneration to Coulter for the

unauthorized use of his image, likeness and/or identity.

        86.       Defendants’ use of Coulter’s image, likeness and/or identity in connection with

Paradise Lakes’ events impugns Coulter’s character, embarrasses him, and suggests – falsely –

his support for and participation in a nudist lifestyle.

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       87.     Upon information and belief, Defendants’ improper use of the image described

herein permitted, encouraged, or facilitated other persons, firms, and entities to further utilize

and misappropriate Coulter’s image in their market activities and business. In doing so,

Defendants have further damaged Coulter.

                                        Plaintiff Maysa Quy

       88.     Quy is a professional model that has done various types of modeling including

beauty, fitness, commercial, and swimwear. She has worked for brands such as Sketchers Shoes,

Benefit Cosmetics, CoverFX Cosmetics, Dreamgirl Lingerie, Mini Cooper USA, T-Mobile,

Apple, Nike, Microsoft, and David’s Bridal. Quy is currently an assistant manager at Laser

Away in San Jose and San Francisco, California. Quy also works as a makeup artist at

Nordstrom/Bobbi Brown Cosmetics in San Jose, California and as a personal trainer at Equinox

in Palo Alto, California. Quy currently has fourteen thousand (14,000) Instagram followers, over

four thousand (4,000) Twitter followers, and almost five thousand (5,000) Facebook likes.

       89.     In all instances of commercial marketing and promotion of her image, likeness

and/or identity by third parties, Quy negotiated and expressly granted authority for such use

pursuant to agreed-upon terms and conditions and for agreed-upon compensation.

       90.     Quy’s image, likeness and/or identity are depicted in at least one photograph,

enclosed as Exhibit E to the Complaint, which has been used at least one time to create the false

perception that Quy has consented or agreed to promote, advertise, market and/or endorse

Paradise Lakes’ “Finally Friday” event to benefit Defendants’ commercial interests. On

November 8, 2013, Defendants uploaded Quy’s image to Paradise Lakes’ Twitter page to

advertise their “Finally Friday” event as well complimentary entrance for “couples and single

ladies after 5 pm.” The salacious captions next to the image of Quy also provided, “Lingerie

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Night in Club Reveal, Wear your Sexiest!” and “Phew, finally Friday! Check out the happenings

for tonight. #livemusic poolside, #lingerie night in #ClubReveal..FAB!” Together, the captions,

Paradise Lakes’ logo, and the image of Quy were used to wrongfully imply that Quy is one of

Paradise Lakes’ employees, entertainers, contractors, and/or nudists.

       91.      Quy’s image, likeness and/or identity in Exhibit E are being used by Defendants

in various marketing and promotional mediums (“usages”) such as advertising, on various social

media accounts, as coupons, and for branding purposes.

       92.      Quy has never been employed by Defendants or contracted with Defendants to

participate in events at Paradise Lakes.

       93.      Quy has never been hired by Defendants or contracted with Defendants to

advertise, promote, market or endorse Defendants’ business, Paradise Lakes, or any Paradise

Lakes’ event.

       94.      Defendants never sought permission or authority to use Quy’s image, likeness

and/or identity to advertise, promote, market or endorse Defendants’ business, Paradise Lakes, or

any Paradise Lakes’ event.

       95.      Quy never gave permission, or assigned, licensed or otherwise consented to

Defendants using her image, likeness and/or identity to advertise, promote, market or endorse

Defendants’ business, Paradise Lakes, or any Paradise Lakes’ event.

       96.      Defendants neither offered nor paid any remuneration to Quy for the unauthorized

use of her image, likeness and/or identity.

       97.      Defendants’ use of Quy’s image, likeness and/or identity in connection with

Paradise Lakes’ event impugns Quy’s character, embarrasses her, and suggests – falsely – her

support for and participation in a nudist lifestyle.

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       98.      Upon information and belief, Defendants’ improper use of the image described

herein permitted, encouraged, or facilitated other persons, firms, and entities to further utilize

and misappropriate Quy’s image in their market activities and business. In doing so, Defendants

have further damaged Quy.

C. Defendants Ignored Plaintiffs’ Demand Letter that Notified Defendants of the Potential
   Claims Should Defendants Fail or Refuse to Comply

       99.      On December 11, 2015, Plaintiffs, through counsel, sent Defendants a demand

and cease/desist letter (“Demand Letter”), enclosed herein as Exhibit F.

       100.     The Demand Letter provided Defendants with notice of their wrongful actions

and demanded that Defendants immediately cease and desist any further use of the models’

images. Appended to the Demand Letter was a Preliminary Expert Report regarding image

infringement which provided illustrative examples of the offending images.

       101.     The Demand Letter further demanded that Defendants pay $325,000 in aggregate

compensatory, or actual, single damages to compensate the models for the theft and unauthorized

use of their images. The amount demanded was a significantly smaller figure than actual

damages, and was equivalent to the valuation of the infringed images. It did not include any

demand fee for the tortious damages to the Plaintiffs themselves.

       102.     The Demand Letter further demanded that Defendants disclose, pursuant to

Section 627.4137, Florida Statutes, all insurance policy coverage information.

       103.     Defendants were given thirty (30) days to satisfy the conditions set forth in the

Demand Letter.

       104.     Defendants failed and refused to compensate Plaintiffs for the unauthorized use of

their images.


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                                       CAUSES OF ACTION

                          Plaintiff Cielo Jean Gibson’s Causes of Action

                                      GIBSON COUNT I
                      (Violation of the Lanham Act, 15 U.S.C. § 1125(a):
                           False Advertising against all Defendants)

       105.     Plaintiff Gibson re-alleges paragraphs 1 through 51 and 99 through 104 above,

and incorporates the same by reference as though fully set forth herein.

       106.     Section 43 of the Lanham Act, 15 U.S.C. § 1125, et seq. applies to Defendants

and protects Gibson from the conduct described herein. Specifically, the Lanham Act prohibits a

party in commercial advertising and promotion from “misrepresent[ing] the nature,

characteristics, qualities or geographic origin of his or her or another person’s goods, services or

commercial activities . . . .” 15 U.S.C. §1125(a)(1)(B).

       107.     Defendants used Gibson’s image, likeness and/or identity as described herein

without authority in order to create the perception that Gibson worked at or was otherwise

affiliated with Paradise Lakes, endorsed Defendants’ business and activities, and/or consented to

or authorized Defendants to use her image in order to advertise, promote, and market

Defendants’ business, Paradise Lakes, and/or Paradise Lakes’ events and activities.

       108.     Gibson’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit A.

       109.     Defendants’ use of Gibson’s image, likeness and/or identity to advertise, promote

and market Defendants’ business, Paradise Lakes, and/or Paradise Lakes’ events and activities as

described in this Complaint was false and misleading.

       110.     Defendants’ unauthorized use of Gibson’s image, likeness and/or identity as

described in this Complaint constitutes false advertising by suggesting or implying, among other

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things, that Gibson worked at or was otherwise affiliated with Paradise Lakes, endorsed

Defendants’ business, Paradise Lakes or Paradise Lakes’ events or activities, or consented to or

authorized Defendants’ usage of her image in order to advertise, promote, and market

Defendants business or Paradise Lakes’ events and activities and/or that Gibson would

participate in or appear at the specific events promoted in the advertisement.

       111.    Defendants’ false advertising described above has the capacity or tendency to

confuse consumers, including actual and prospective patrons of Paradise Lakes, as to the general

quality of attendees and participants of Paradise Lakes and in its events, as well as specifically

whether Gibson worked at or was otherwise affiliated with Paradise Lakes, endorsed

Defendants’ business, Paradise Lakes or Paradise Lakes’ events or activities, or consented to or

authorized Defendants’ usage of her image in order to advertise, promote, and market

Defendants’ business or Paradise Lakes’ events and activities.

       112.    Upon information and belief, Defendants’ false advertising described above did,

in fact, deceive and/or cause consumer confusion as to whether Gibson worked at or was

otherwise affiliated with Paradise Lakes, endorsed Defendants’ business, Paradise Lakes or

Paradise Lakes’ events and activities, or consented to or authorized Defendants’ usage of her

image in order to advertise, promote, and market Defendants’ business or Paradise Lakes’ events

and activities. Among other things, upon information and belief, such unauthorized use misled

and served to entice consumers and prospective consumers to join Paradise Lakes, visit Paradise

Lakes, and participate in events at Paradise Lakes and had a material effect and impact on the

decision of members and prospective members and participants to join Paradise Lakes, visit

Paradise Lakes and take part in the events at Paradise Lakes.



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       113.    Defendants’ advertisements, promotions and marketing of Paradise Lakes and

events at Paradise Lakes occur in and are targeted to interstate commerce.                 Specifically,

Defendants promote their business and events through interstate promotions and campaigns to

target persons from different states throughout the United States. Defendants principally use the

World Wide Web, social media and other vehicles of interstate commerce to advertise, market,

promote, and entice or lure membership and attendance at Paradise Lakes’ events.

       114.    Defendants’ unauthorized use of Gibson’s image, likeness and/or identity as

described herein was designed to benefit Defendants’ business interests by, among other things,

promoting Paradise Lakes and its activities and attracting clientele to Paradise Lakes.

       115.    Defendants knew or should have known that their unauthorized use of Gibson’s

image, likeness and/or identity would cause consumer confusion as described in this Complaint.

       116.    Defendants’ unauthorized use of Gibson’s image, likeness and/or identity as

described herein violates 15 U.S.C. §1125(a) and was wrongful.

       117.    Defendants’ wrongful conduct as described herein was willful.

       118.    As such, the present case is an exceptional case warranting an award of

reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117.

       119.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct, acted with intent to deprive Gibson of a property interest, and further acted with actual

or constructive knowledge of the high probability that injury or damage would result to Gibson.

       120.    The method and manner in which Defendants used the image of Gibson further

evinces that Defendants were aware of or consciously disregarded the fact that Gibson did not

consent to Defendants’ use of the image to advertise Defendants’ business.



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            121.   Defendants have caused irreparable harm to Gibson, her reputation and brand by

attributing to Gibson the nudist lifestyle and activities at Paradise Lakes.

            122.   Defendants’ unauthorized use of Gibson’s image, likeness and/or identity directly

and proximately caused and continue to cause damage to Gibson in an amount to be determined

at trial.

            WHEREFORE, Gibson respectfully requests that the Court issue a judgment against

Defendants and grant actual, or compensatory, damages in an amount to be determined at trial,

lost profits, disgorgement of profits earned directly or indirectly by Defendants’ unlawful use,

attorneys’ fees and costs, prejudgment and post-judgment interest, and/or such further relief that

is just and proper.

                                       GIBSON COUNT II
                       (Violation of Fla. Stat. § 540.08: Right of Publicity;
             Unauthorized Misappropriation of Name/Likeness against all Defendants)

            123.   Plaintiff Gibson re-alleges paragraphs 1 through 51 and 99 through 104 above,

and incorporates the same by reference as though fully set forth herein.

            124.   Gibson has a statutory right of publicity under Section 540.08, Florida Statutes.

            125.   Section 540.08, Florida Statutes, provides that: “[n]o person shall publish, print,

display or otherwise publicly use for purposes of trade or for any commercial or advertising

purpose the name, portrait, photograph, or other likeness of any natural person without the

express written or oral consent to such use.”

            126.   Despite the clear language of Section 540.08, Defendants published Gibson’s

image, likeness and/or identity on social media outlets, among others, in order to promote,

advertise and market Paradise Lakes and Paradise Lakes’ event and activities.



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       127.     Gibson’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit A.

       128.     Defendants never sought permission or authority to use Gibson’s image, likeness

and/or identity to advertise, promote, market or endorse Defendants’ business, Paradise Lakes or

any Paradise Lakes’ event or activity.

       129.     Gibson never consented to, permitted, assigned, licensed, or otherwise agreed to

Defendants’ use of her image, likeness and/or identity to advertise, promote, market or endorse

Defendants’ business, Paradise Lakes or any Paradise Lakes’ event or activity.

       130.     Defendants intentionally or, at a minimum, recklessly published, printed,

displayed, or otherwise publicly disseminated or used Gibson’s image, likeness and/or identity

without her express written or oral consent, for purposes of trade or for other commercial or

advertising purposes as detailed in this Complaint.

       131.     Defendants had actual or constructive knowledge of the wrongfulness of their

conduct and acted with intent or with reckless disregard to deprive Gibson of a property interest

during the entire time period in which the unauthorized use took place.

       132.     At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Gibson’s rights.

       133.     Alternatively, Defendants acted negligently towards Gibson in using and

disseminating, without authority, her image, likeness and/or identity on social media outlets in

order to promote, advertise and market Paradise Lakes and Paradise Lakes’ events and activities.

       134.     Defendants have caused irreparable harm to Gibson, her reputation and brand by

attributing to Gibson the nudist lifestyle and activities at Paradise Lakes.



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       135.    Defendants have also damaged Gibson as a direct and proximate result of their

unauthorized use of Gibson’s image, likeness and/or identity without compensating Gibson.

Defendants’ conduct has been despicable and taken in conscious disregard of Gibson’s rights.

Accordingly, Gibson is entitled to an award of punitive damages against Defendants in an

amount sufficient to punish and make an example of Defendants. Therefore, Gibson reserves the

right to seek punitive damages according to proof and pursuant to Fla. Stat. §768.72.

       WHEREFORE, Gibson respectfully requests that the Court issue a judgment against

Defendants for all remedies available under Fla. Stat. §540.08, including but not limited to, both

actual loss and damages, punitive damages according to proof, costs, interest, royalties, and

restitution of Defendants’ unlawful proceeds, including Defendants’ profits and other relief

deemed just and proper by this Court.

                                 GIBSON COUNT III
                    (Violation of Common Law Right of Publicity;
       Unauthorized Misappropriation of Name or Likeness against all Defendants)

       136.    Plaintiff Gibson re-alleges paragraphs 1 through 51 and 99 through 104 above,

and incorporates the same by reference as though fully set forth herein.

       137.    Gibson has a common law right of publicity.

       138.    Defendants may not publish, print, display or publicly use for purposes of trade or

for any commercial or advertising purpose the name, portrait, photograph, or other likeness of

Gibson without express written or oral consent to such use.

       139.    Defendants published, printed, displayed and/or publicly used Gibson’s image,

likeness and/or identity on their social media outlets, among others, for purposes of trade and/or

commercial advertising including, but not limited to, promoting, advertising and marketing of

Paradise Lakes and Paradise Lakes’ events and activities.

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       140.     Gibson’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit A.

       141.     Defendants took these actions without Gibson’s permission, consent or authority.

In fact, Defendants never sought permission nor authority to use Gibson’s image, likeness and/or

identity to advertise, promote, market or endorse Defendants’ business, Paradise Lakes or any

Paradise Lakes’ event or activity.

       142.     Gibson never consented to, permitted, assigned, licensed, or otherwise agreed to

Defendants’ use of her image, likeness and/or identity to advertise, promote, market or endorse

Defendants’ business, Paradise Lakes or any Paradise Lakes’ event or activity.

       143.     Defendants intentionally or, at a minimum, recklessly, published, printed,

displayed, or otherwise publicly disseminated or used Gibson’s image, likeness and/or identity

without her express written or oral consent, for purposes of trade or for other commercial or

advertising purposes as detailed in this Complaint.

       144.     Defendants had actual or constructive knowledge of the wrongfulness of their

conduct and acted with intent or reckless disregard to deprive Gibson of a property interest

during the entire time period in which the unauthorized use took place.

       145.     At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Gibson’s rights.

       146.     Alternatively, Defendants acted negligently towards Gibson in using and

disseminating, without authority, her image, likeness and/or identity on Paradise Lakes’ social

media outlets in order to promote, advertise and market Paradise Lakes and Paradise Lakes’

events and activities.



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       147.     Defendants have caused irreparable harm to Gibson, her reputation and brand by

attributing to Gibson the nudist lifestyle and activities at Paradise Lakes.

       148.     Defendants have also damaged Gibson as a direct and proximate result of their

unauthorized use of Gibson’s image, likeness and/or identity without compensating Gibson.

       WHEREFORE, Gibson respectfully requests that the Court issue a judgment against

Defendants for all remedies available under a claim of misappropriation including, but not

limited to, actual damages, costs, interest, and restitution of Defendants’ unlawful proceeds,

including Defendants’ profits and other relief deemed just and proper by this Court.

                                    GIBSON COUNT IV
                              (Violation of Fla. Stat. § 501.204:
         Florida’s Deceptive and Unfair Trade Practices Act against all Defendants)

       149.     Plaintiff Gibson re-alleges paragraphs 1 through 51 and 99 through 104 above,

and incorporates the same by reference as though fully set forth herein.

       150.     Section 501.204(1), Florida Statutes (“FDUTPA”) provides that “[u]nfair methods

of competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

conduct of any trade or commerce are hereby declared unlawful.”

       151.     Defendants are direct and active participants in market dealings with Gibson by

using her image to advertise and promote Paradise Lakes not only to patrons of Paradise Lakes,

but to the general public in interstate commerce.

       152.     Gibson’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit A.

       153.     Defendants at all material times were engaged in a trade or commerce, as defined

within Section 501.203, Florida Statutes.



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        154.    Defendants have engaged in deceptive acts and unfair practices in the course of

their business activities by:

        a.      failing to obtain consent from Gibson prior to promoting Defendants’ business by

        and through the misappropriation and use of Gibson’s image, likeness and/or identity;

        b.      failing to obtain authorization from Gibson prior to the publication of Gibson’s

        image, likeness and/or identity on Paradise Lakes’ social media outlets;

        c.      failing to compensate Gibson for the misappropriation and use of her image,

        likeness and/or identity on Paradise Lakes’ social media outlets;

        d.      falsely representing by implication to the public that Gibson endorsed the

        Defendants’ business, or would be present at and participate in Paradise Lakes’ events;

        and

        e.      falsely representing by implication that Gibson sanctioned the type of business,

        events, lifestyle, or other activities promoted by Defendants.

        155.    Defendants’ conduct described herein was misleading.

        156.    Defendants knew their unauthorized use of Gibson’s image, likeness and/or

identity was misleading.

        157.    Defendants’ unauthorized use of Gibson’s image, likeness and/or identity as

detailed herein violates Section 501.204(1), Florida Statutes, and was wrongful.

        158.    Defendants’ wrongful conduct as detailed herein was willful and malicious.

        159.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct, acted with intent to deprive Gibson of a property interest, and further acted with actual

or constructive knowledge of the high probability that injury or damage would result to Gibson.



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          160.   At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Gibson’s rights.

          161.   Alternatively, the method and manner in which Defendants used Gibson’s image,

likeness and/or identity further evinces that Defendants were aware or consciously disregarded

that Gibson did not consent to Defendants’ use to advertise Defendants’ business.

          162.   Defendants have caused irreparable harm to Gibson, her reputation and brand by

attributing to Gibson the nudist lifestyle and activities at Paradise Lakes.

          163.   Defendants’ unauthorized use of Gibson’s image, likeness and/or identity directly

and proximately caused damage to Gibson in an amount to be determined at trial.

          WHEREFORE, Gibson respectfully requests that the Court issue a judgment against

Defendants for actual damages, including loss of profit, attorneys’ fees, interest, costs,

compensatory damages, damage to professional reputation, consequential damages, statutory

civil penalties under Fla. Stat. § 501.2075, and such other relief as this Court deems just and

proper.

                                        GIBSON COUNT V
                     (Violation of Fla. Stat. § 812.014 and Fla. Stat. § 772.11:
                                Civil Theft against all Defendants)

          164.   Plaintiff Gibson re-alleges paragraphs 1 through 51 and 99 through 104 above,

and incorporates the same by reference as though fully set forth herein.

          165.   Section 772.11, Florida Statutes, creates a private right of action for victims of

theft of tangible and intangible personal property, including rights, privileges, interests and

claims.

          166.   Defendants knowingly appropriated, used and disseminated Gibson’s image,

likeness and/or identity without authorization or consent.

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       167.     Gibson’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit A.

       168.     Defendants’ misappropriation of Gibson’s image, likeness and/or identity was for

Defendants’ own use and benefit and to deprive Gibson of certain rights.

       169.     Defendants’ misconduct detailed in this Complaint denied Gibson the right to

engage in arms-length negotiations over the use and dissemination of her image, likeness and/or

identity, the right to negotiate over reasonable bargained-for compensation, the right to say “no”

to the proposed use by Defendants and the right to otherwise protect her image, likeness and/or

identity from harm at the hands of Defendants.

       170.     Defendants’ appropriation of Gibson’s image, likeness and/or identity as detailed

herein without authority violates Sections 772.11 and 812.014, Florida Statutes, and was

wrongful.

       171.     Defendants’ wrongful conduct as detailed herein was willful and malicious.

       172.     Defendants had actual or constructive knowledge of the wrongfulness of their

conduct, acted with intent to deprive Gibson of a property interest, and further acted with actual

or constructive knowledge of the high probability that injury or damage would result to Gibson.

       173.     At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Gibson’s rights.

       174.     Alternatively, the method and manner in which Defendants used Gibson’s image,

likeness and/or identity further evinces that Defendants were aware or consciously disregarded

the fact that Gibson did not consent to Defendants’ use in order to advertise Defendants’

business.



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       175.     Defendants’ appropriation and use of Gibson’s image, likeness and/or identity

without authority directly and proximately caused damage to Gibson in an amount to be

determined at trial.

       WHEREFORE, Gibson respectfully requests that the Court issue a judgment against

Defendants for all remedies available under Fla. Stat. § 772.11(1), including but not limited to,

treble the amount of actual damages, costs, interest, and attorneys’ fees and other relief deemed

just and proper by this Court.

                                      GIBSON COUNT VI
                            (Unjust Enrichment against all Defendants)

       176.     Plaintiff Gibson re-alleges paragraphs 1 through 51 and 99 through 104 above,

and incorporates the same by reference as though fully set forth herein.

       177.     Gibson has conferred a benefit upon Defendants by virtue of Defendants’ usage of

her image without compensation.

       178.     Gibson’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit A.

       179.     Defendants were aware that Gibson’s image, likeness and/or identity were

valuable.

       180.     Defendants were aware of the resulting benefit from usage of Gibson’s image,

likeness and/or identity.

       181.     Defendants have retained profits and other benefits conferred upon them by using

Gibson’s image, likeness and/or identity to promote and advertise Defendants’ business, Paradise

Lakes or Paradise Lakes’ events.

       182.     It would be inequitable for Defendants to retain the benefits conferred upon them

by using Gibson’s image, likeness and/or identity without paying fair value for the image.
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       WHEREFORE, Gibson respectfully requests that the Court issue a judgment against

Defendants for damages, including but not limited to actual damages, costs, interest, imposition

of a constructive trust, restitution of unlawful proceeds, including Defendants’ gross profits and

such other and further relief in law or equity as this Court deems just and proper.

                                    GIBSON COUNT VII
                         (Unlawful Conversion against all Defendants)

       183.     Plaintiff Gibson re-alleges paragraphs 1 through 51 and 99 through 104 above,

and incorporates the same by reference as though fully set forth herein.

       184.     Gibson is, and at relevant times was, the exclusive owner of all rights, title, and

interest to her image, likeness and/or identity unlawfully converted by Defendants for

Defendants’ benefit.

       185.     Gibson’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit A.

       186.     Gibson has, and for all times relevant herein had, an intangible property interest in

her image, likeness and/or identity unlawfully converted by Defendants for Defendants’ benefit.

       187.     By their acts and conduct alleged above, Defendants have converted Gibson’s

property rights, including without limitation, Gibson’s image, likeness and/or identity for

Defendants’ use and wrongful disposition for financial gain.

       188.     Gibson is informed and believes and on such information alleges that Defendants

have refused to return Gibson’s property to her or pay for the deprivation of Gibson’s property.

       189.     As a result, Gibson has suffered compensatory, punitive and exemplary damages

to be determined according to proof at trial; but Gibson alleges that the same are within the

jurisdiction of the Court.


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       190.     Further, Gibson is informed and believes and thereon alleges that in engaging in

the conduct described above, Defendants acted with oppression, fraud, and/or malice.

Defendants’ conduct has been despicable and taken in conscious disregard of Gibson’s rights.

Accordingly, Gibson is entitled to an award of punitive damages against Defendants in an

amount sufficient to punish and make an example of Defendants. Therefore, Gibson reserves the

right to seek punitive damages according to proof and pursuant to Fla. Stat. §768.72.

       WHEREFORE, Gibson respectfully requests this Court to issue a judgment against

Defendants and for all remedies available under the common law claim for conversion, including

but not limited to actual damages, costs, interest, punitive damages according to proof, and

restitution of Defendants’ unlawful proceeds, including Defendants’ profits, and/or other relief

deemed just and proper.

                                    GIBSON COUNT VIII
                          (Unfair Competition against all Defendants)

       191.     Plaintiff Gibson re-alleges paragraphs 1 through 51 and 99 through 104 above,

and incorporates the same by reference as though fully set forth herein.

       192.     Gibson is, and at all relevant times was, the exclusive owner of all rights, title,

and interest in and to her image, likeness and identity and possession thereof in Florida.

       193.     Gibson’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit A.

       194.     Gibson has not authorized or licensed Defendants to reproduce, distribute,

disseminate, or otherwise exploit her image, likeness and/or identity in any manner.

       195.     Defendants were not entitled to or authorized to reproduce, distribute, disseminate

or otherwise exploit Gibson’s image, likeness and/or identity.


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        196.   Gibson has expended significant time, labor, and money in the making and

marketing of her image, likeness and identity. Defendants have paid nothing to Gibson for

reproducing, distributing, disseminating, or otherwise exploiting Gibson’s image, likeness and/or

identity. Without expending any time, labor, money or marketing of their own, Defendants

simply appropriated the commercial qualities, reputation, and salable properties of Gibson,

including without limitation Gibson’s image, likeness and/or identity, by unfairly and directly

competing with Gibson’s use, sale, distribution, and exploitation of her image, likeness and/or

identity.

        197.   In so doing, Defendants have undermined Gibson’s substantial and financial

investment in herself for Defendants’ own commercial benefit and have commercially damaged

the market value of Gibson’s image, likeness and/or identity.

        198.   Defendants have usurped for themselves the fruits of Gibson’s popularity and

fame.

        199.   Defendants have profited from the results of Gibson’s hard work modeling and

from her portfolio and skill without having to incur any expense in relation to Gibson’s image,

likeness and/or identity.

        200.   Furthermore, Defendants’ unauthorized use of Gibson’s image, likeness and/or

identity has likely caused confusion, mistake, or deception as to the source, sponsorship,

affiliation, or connection between Gibson and Paradise Lakes.

        201.   Defendants’ acts constitute unfair competition involving the misappropriation of

Gibson’s image, likeness and/or identity.

        202.   As a direct and proximate result of Defendants’ misappropriation and unfair

competition, Gibson is entitled to recover all proceeds and other compensation received or to be

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received by Defendants from the misappropriation and unfair competition of Gibson’s image,

likeness and/or identity.

         203.   Gibson has been damaged and Defendants have been unjustly enriched, in an

amount to be proved at trial; but Gibson alleges that the same are within the jurisdiction of the

Court.

         204.   Gibson is informed and believes and thereon alleges that in engaging in the

conduct described above, Defendants acted with oppression, fraud, and/or malice. Defendants’

conduct has been despicable and taken in conscious disregard of Gibson’s rights. Accordingly,

Gibson is entitled to an award of punitive damages against Defendants in the amount sufficient

to punish and make an example of Defendants. Therefore, Gibson reserves the right to seek

punitive damages according to proof and pursuant to Fla. Stat. §768.72

         WHEREFORE, Gibson respectfully requests this Court to enter a judgment against

Defendants for all remedies available under a claim of unfair competition of Defendants’

misappropriated image, likeness and/or identity of Gibson, including but not limited to actual

damages, punitive damages according to proof, consequential damages, and further relief in law

or equity as this Court deems just and proper.

                                   GIBSON COUNT IX
                    (Fraudulent Misrepresentation against all Defendants)

         205.   Plaintiff Gibson re-alleges paragraphs 1 through 51 and 99 through 104 above,

and incorporates the same by reference as though fully set forth herein.

         206.   Gibson is informed and believes and herein alleges that Defendants

misrepresented to the public Gibson’s patronage, connection, or sponsorship with Paradise Lakes

for the purposes of financial gain.


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        207.    The misrepresentations      by     Defendants      include,     but    are   not   limited

to misrepresentations of material facts in Defendants’ advertisement, which purposefully

contained Paradise Lakes’ logo next to the face and body of Gibson.

        208.    Gibson is informed and believes and alleges that Defendants knew that Gibson

was not legally connected or working at or for Defendants.

        209.    Gibson is informed and believes and herein alleges that Defendants published the

image, likeness and/or identity of Gibson as if she worked for or endorsed Paradise Lakes, either

hosting, supporting, or appearing at an event at Paradise Lakes in order to target specific

audiences and to draw in big spending clients who were/are hoping to meet Gibson.

        210.    Gibson’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit A.

        211.    The misrepresentations and/or acts of fraud by Defendants were perpetuated

directly and indirectly by Defendants and their sales representatives, employees, and/or agents.

        212.    The misrepresentations by Defendants constitute a continuing tort.

        213.    Gibson is informed and believes and herein alleges that injury resulted to herself

and the general public when the public justifiably relied on Defendants’ misleading

advertisement and paid the membership and/or entry fees to visit Paradise Lakes on November 8,

2013 to their detriment.

        214.    Gibson is entitled to restitution of the reasonable value of the benefit derived by

Defendants for the unauthorized use Defendants made of Gibson’s image, likeness and/or

identity.




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         215.   As a result of Defendants’ conduct, Gibson suffered damages to be determined

according to proof at trial; but Gibson alleges that the same are within the jurisdiction of the

Court.

         WHEREFORE, Gibson respectfully requests to enter judgment against Defendants for

damages, including but not limited to actual damages, costs, interest, and such other and further

relief in law or equity as this Court deems just and proper.

                                       GIBSON COUNT X
                                (Negligence against all Defendants)

         216.   Plaintiff Gibson re-alleges paragraphs 1 through 51 and 99 through 104 above,

and incorporates the same by reference as though fully set forth herein.

         217.   Under the circumstances stated herein, Defendants owed a duty of care towards

Gibson.

         218.   Among other things, that duty included the obligation to deal with Gibson and her

image, likeness and/or identity in a commercially reasonable and prudent manner, to not use

Gibson’s image, likeness and/or identity in derogation of her rights, and to not cause harm to

Gibson.

         219.   Defendants breached that duty by using Gibson’s image, likeness and/or identity

without Gibson’s authorization, permission or consent.

         220.   Gibson’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit A.

         221.   Defendants’ conduct and breach as described above directly and proximately

caused injury to Gibson’s reputation, brand, goodwill and livelihood for which she has suffered

damages. Further, Gibson is informed and believes and thereon alleges that in engaging in the

conduct described above, Defendants acted with oppression, fraud, and/or malice. Defendants’
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conduct has been despicable and taken in conscious disregard of Gibson’s rights. Accordingly,

Gibson is entitled to an award of punitive damages against Defendants in an amount sufficient to

punish and make an example of Defendants. Therefore, Gibson reserves the right to seek

punitive damages according to proof and pursuant to Fla. Stat. §768.72.

       WHEREFORE, Gibson respectfully requests that the Court enter judgment against

Defendants for damages, including but not limited to actual damages, punitive damages

according to proof, costs, interest, and such other and further relief in law or equity as this Court

deems just and proper.

                                   GIBSON COUNT XI
           (Violation of the Respondeat Superior Doctrine against all Defendants)

       222.     Plaintiff Gibson re-alleges paragraphs 1 through 51 and 99 through 104 above,

and incorporates the same by reference as though fully set forth herein.

       223.     Under the circumstances stated herein, Defendants owed a duty of care towards

Gibson.

       224.     Among other things, that duty included the obligation to deal with Gibson and her

image, likeness and/or identity in a commercially reasonable and prudent manner, to not use

Gibson’s image, likeness and/or identity in derogation of her rights, and to not cause harm to

Gibson.

       225.     Gibson’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit A.

       226.     Defendants breached that duty by using Gibson’s image, likeness and/or identity

without Gibson’s authorization, permission or consent.




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         227.   Defendants’ conduct and breach as described above directly and proximately

caused injury to Gibson’s reputation, brand, goodwill and livelihood for which she has suffered

damages.

         228.   In addition, Defendants and/or their agents promulgated policies and procedures

concerning the prevention of misappropriation of images, likenesses and identities. Yet,

Defendants negligently failed to enforce those policies, communicate them to their employees, or

to supervise their employees to ensure that these policies and both State and Federal Law were

not violated.

         229.   Pleading alternatively, Defendants and/or their agents failed to promulgate

policies and procedures concerning the prevention of misappropriation of images, likenesses and

identities and, as such, are liable to Gibson for the harm that failure caused to Gibson.

         230.   More specifically, Defendants had a duty to all members of the public, namely to

Gibson, to refrain from the misappropriation of her image, likeness and/or identity. Defendants

violated that duty by negligent hiring, screening, retaining, supervising, and training of their

employees and agents.

         231.   As a result of Defendants’ conduct, Gibson suffered damages to be determined

according to proof at trial; but Gibson alleges that the same are within the jurisdiction of the

Court.

         WHEREFORE, Gibson respectfully requests that the Court issue a judgment against

Defendants for damages, including but not limited to actual damages, costs, interest, and such

other and further relief in law or equity as this Court deems just and proper.




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                           Plaintiff Dessie Mitcheson’s Causes of Action

                                   MITCHESON COUNT I
                      (Violation of the Lanham Act, 15 U.S.C. § 1125(a):
                           False Advertising against all Defendants)

       232.    Plaintiff Mitcheson re-alleges paragraphs 1 through 40, 52 through 62, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       233.    Section 43 of the Lanham Act, 15 U.S.C. § 1125, et seq. applies to Defendants

and protects Mitcheson from the conduct described herein.                Specifically, the Lanham Act

prohibits a party in commercial advertising and promotion from “misrepresent[ing] the nature,

characteristics, qualities or geographic origin of his or her or another person’s goods, services or

commercial activities . . . .” 15 U.S.C. §1125(a)(1)(B).

       234.    Defendants used Mitcheson’s image, likeness and/or identity as described herein

without authority in order to create the perception that Mitcheson worked at or was otherwise

affiliated with Paradise Lakes, endorsed Paradise Lakes or Paradise Lakes’ business activities,

and/or consented to or authorized Defendants’ usage of her image in order to advertise, promote,

and market Defendants’ business, Paradise Lakes, and/or Paradise Lakes’ events and activities.

       235.    Mitcheson’s image, likeness and/or identity are recognizable in the photo

identified in Exhibit B.

       236.    Defendants’ use of Mitcheson’s image, likeness and/or identity to advertise,

promote and market Defendants’ business, Paradise Lakes, and/or Paradise Lakes’ events and

activities as described in this Complaint was false and misleading.

       237.    Defendants’ unauthorized use of Mitcheson’s image, likeness and/or identity as

described in this Complaint constitutes false advertising by suggesting or implying, among other

things, that Mitcheson worked at or was otherwise affiliated with Paradise Lakes, endorsed

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Defendants’ business, Paradise Lakes or Paradise Lakes’ events or activities, or consented to or

authorized Defendants’ usage of her image in order to advertise, promote, and market

Defendants’ business or Paradise Lakes’ events and activities and/or that Mitcheson would

participate in or appear at the specific events promoted in the advertisement.

       238.    Defendants’ false advertising described above has the capacity or tendency to

confuse consumers, including actual and prospective patrons of Paradise Lakes, as to the general

quality of attendees and participants at Paradise Lakes and in its events, as well as specifically

whether Mitcheson worked at or was otherwise affiliated with Paradise Lakes, endorsed

Defendants’ business, Paradise Lakes or Paradise Lakes’ events or activities, or consented to or

authorized Defendants’ usage of her image in order to advertise, promote, and market

Defendants’ business or Paradise Lakes’ events and activities.

       239.    Upon information and belief, Defendants’ false advertising described above did,

in fact, deceive and/or cause consumer confusion as to whether Mitcheson worked at or was

otherwise affiliated with Paradise Lakes, endorsed Defendants’ business, Paradise Lakes or

Paradise Lakes’ events and activities, or consented to or authorized Defendants’ usage of her

image in order to advertise, promote, and market Defendants’ business or Paradise Lakes’ events

and activities. Among other things, upon information and belief, such unauthorized use misled

and served to entice consumers and prospective consumers to join Paradise Lakes, visit Paradise

Lakes, and participate in events at Paradise Lakes and had a material effect and impact on the

decision of members and prospective members and participants to join Paradise Lakes, visit

Paradise Lakes and take part in the events at Paradise Lakes.

       240.    Defendants’ advertisements, promotions and marketing of Paradise Lakes and

events at Paradise Lakes occur in and are targeted to interstate commerce.                 Specifically,

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Defendants promote their business and events through interstate promotions and campaigns to

target persons from different states throughout the United States. Defendants principally use the

World Wide Web, social media and other vehicles of interstate commerce to advertise, market,

promote, and entice or lure membership and attendance at Paradise Lakes’ events.

       241.    Defendants’ unauthorized use of Mitcheson’s image, likeness and/or identity as

described herein was designed to benefit Defendants’ business interests by, among other things,

promoting Paradise Lakes and its activities and attracting clientele to Paradise Lakes.

       242.    Defendants knew or should have known that their unauthorized use of

Mitcheson’s image, likeness and/or identity would cause consumer confusion as described in this

Complaint.

       243.    Defendants’ unauthorized use of Mitcheson’s image, likeness and/or identity as

described herein violates 15 U.S.C. §1125(a) and was wrongful.

       244.    Defendants’ wrongful conduct as described herein was willful.

       245.    As such, the present case is an exceptional case warranting an award of

reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117.

       246.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct, acted with intent to deprive Mitcheson of a property interest, and further acted with

actual or constructive knowledge of the high probability that injury or damage would result to

Mitcheson.

       247.    The method and manner in which Defendants used the image of Mitcheson

further evinces that Defendants were aware of or consciously disregarded the fact that Mitcheson

did not consent to Defendants’ use of the image to advertise Defendants’ business.



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       248.      Defendants have caused irreparable harm to Mitcheson, her reputation and brand

by attributing to Mitcheson the nudist lifestyle and activities at Paradise Lakes.

       249.      Defendants’ unauthorized use of Mitcheson’s image, likeness and/or identity

directly and proximately caused damage to Mitcheson in an amount to be determined at trial.

       WHEREFORE, Mitcheson respectfully requests that the Court issue a judgment against

Defendants and grant actual, or compensatory, damages in an amount to be determined at trial,

lost profits, disgorgement of profits earned directly or indirectly by Defendants’ unlawful use,

attorneys’ fees and costs, prejudgment and post-judgment interest, and/or such further relief that

is just and proper.

                                   MITCHESON COUNT II
                      (Violation of Fla. Stat. § 540.08: Right of Publicity;
            Unauthorized Misappropriation of Name/Likeness against all Defendants)

       250.      Plaintiff Mitcheson re-alleges paragraphs 1 through 40, 52 through 62, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       251.      Mitcheson has a statutory right of publicity under Section 540.08, Florida

Statutes.

       252.      Section 540.08, Florida Statutes, provides that: “[n]o person shall publish, print,

display or otherwise publicly use for purposes of trade or for any commercial or advertising

purpose the name, portrait, photograph, or other likeness of any natural person without the

express written or oral consent to such use.”

       253.      Despite the clear language of Section 540.08, Defendants published Mitcheson’s

image, likeness and/or identity on Paradise Lakes’ social media outlet, among others, in order to

promote, advertise and market Paradise Lakes and Paradise Lakes’ events and activities.



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       254.    Mitcheson’s image, likeness and/or identity are recognizable in the photo

identified in Exhibit B.

       255.    Defendants never sought permission nor authority to use Mitcheson’s image,

likeness and/or identity to advertise, promote, market or endorse Defendants’ business, Paradise

Lakes or any Paradise Lakes’ event or activity.

       256.    Mitcheson never consented to, permitted, assigned, licensed, or otherwise agreed

to Defendants’ use of her image, likeness and/or identity to advertise, promote, market or

endorse Defendants’ business, Paradise Lakes, or any Paradise Lakes’ event or activity.

       257.    Defendants intentionally or, at a minimum, recklessly published, printed,

displayed, or otherwise publicly disseminated or used Mitcheson’s image, likeness and/or

identity without her express written or oral consent, for purposes of trade or for other commercial

or advertising purposes as detailed in this Complaint.

       258.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct and acted with intent or with reckless disregard to deprive Mitcheson of a property

interest during the entire time period in which the unauthorized use took place.

       259.    At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Mitcheson’s rights.

       260.    Alternatively, Defendants acted negligently towards Mitcheson in using and

disseminating, without authority, her image, likeness and/or identity on social media outlets in

order to promote, advertise and market Paradise Lakes and Paradise Lakes’ events and activities.

       261.    Defendants have caused irreparable harm to Mitcheson, her reputation and brand

by attributing to Mitcheson the nudist lifestyle and activities at Paradise Lakes.



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       262.      Defendants have also damaged Mitcheson as a direct and proximate result of their

unauthorized use of Mitcheson’s image, likeness and/or identity without compensating

Mitcheson. Accordingly, Mitcheson is entitled to an award of punitive damages against

Defendants in an amount sufficient to punish and make an example of Defendants. Therefore,

Mitcheson reserves the right to seek punitive damages according to proof and pursuant to Fla.

Stat. §768.72.

       WHEREFORE, Mitcheson respectfully requests that the Court issue a judgment against

Defendants for all remedies available under Fla. Stat. §540.08, including but not limited to, both

actual loss and damages, punitive damages according to proof, costs, interest, royalties, and

restitution of Defendants’ unlawful proceeds, including Defendants’ profits and other relief

deemed just and proper by this Court.

                              MITCHESON COUNT III
                    (Violation of Common Law Right of Publicity;
       Unauthorized Misappropriation of Name or Likeness against all Defendants)

       263.      Plaintiff Mitcheson re-alleges paragraphs 1 through 40, 52 through 62, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       264.      Mitcheson has a common law right of publicity.

       265.      Defendants may not publish, print, display or publicly use for purposes of trade or

for any commercial or advertising purpose the name, portrait, photograph, or other likeness of

Mitcheson without express written or oral consent to such use.

       266.      Defendants published, printed, displayed and/or publicly used Mitcheson’s image,

likeness and/or identity on social media outlets, among others, for purposes of trade and/or

commercial advertising including, but not limited to, promoting, advertising and marketing

Paradise Lakes and Paradise Lakes’ events and activities.

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       267.    Mitcheson’s image, likeness and/or identity are recognizable in the photo

identified in Exhibit B.

       268.    Defendants took these actions without Mitcheson’s permission, consent or

authority. In fact, Defendant never sought permission or authority to use Mitcheson’s image,

likeness and/or identity to advertise, promote, market or endorse Defendants’ business, Paradise

Lakes, or any Paradise Lakes’ event or activity.

       269.    Mitcheson never consented to, permitted, assigned, licensed, or otherwise agreed

to Defendants’ use of her image, likeness and/or identity to advertise, promote, market or

endorse Defendants’ business, Paradise Lakes, or any Paradise Lakes’ event or activity.

       270.    Defendants intentionally or, at a minimum, recklessly, published, printed,

displayed, or otherwise publicly disseminated or used Mitcheson’s image, likeness and/or

identity without her express written or oral consent, for purposes of trade or for other commercial

or advertising purposes as detailed in this Complaint.

       271.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct and acted with intent or reckless disregard to deprive Mitcheson of a property interest

during the entire time period in which the unauthorized use took place.

       272.    At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Mitcheson’s rights.

       273.    Alternatively, Defendant acted negligently towards Mitcheson in using and

disseminating, without authority, her image, likeness and/or identity on social media outlets in

order to promote, advertise and market Paradise Lakes and Paradise Lakes’ events and activities.

       274.    Defendants have caused irreparable harm to Mitcheson, her reputation and brand

by attributing to Mitcheson the nudist lifestyle and activities at Paradise Lakes.

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        275.    Defendants have also damaged Mitcheson as a direct and proximate result of their

unauthorized use of Mitcheson’s image, likeness and/or identity without compensating

Mitcheson.

        WHEREFORE, Mitcheson respectfully requests that the Court issue a judgment against

Defendants for all remedies available under a claim of misappropriation including, but not

limited to, actual damages, costs, interest, and restitution of Defendants’ unlawful proceeds,

including Defendants’ profits and other relief deemed just and proper by this Court.

                                 MITCHESON COUNT IV
                              (Violation of Fla. Stat. § 501.204:
         Florida’s Deceptive and Unfair Trade Practices Act against all Defendants)

        276.    Plaintiff Mitcheson re-alleges paragraphs 1 through 40, 52 through 62, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

        277.    Section 501.204(1), Florida Statutes (“FDUTPA”) provides that “[u]nfair methods

of competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

conduct of any trade or commerce are hereby declared unlawful.”

        278.    Defendants are direct and active participants in market dealings with Mitcheson

by using her image to advertise and promote Paradise Lakes not only to patrons of Paradise

Lakes, but to the general public in interstate commerce.

        279.    Mitcheson’s image, likeness and/or identity are recognizable in the photo

identified in Exhibit B.

        280.    Defendants at all material times were engaged in a trade or commerce, as defined

within Section 501.203, Florida Statutes.

        281.    Defendants have engaged in deceptive acts and unfair practices in the course of

their business activities by:

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       a.      failing to obtain consent from Mitcheson prior to promoting Defendants’ business

       by and through the misappropriation and use of Mitcheson’s image, likeness and/or

       identity;

       b.      failing to obtain authorization from Mitcheson prior to the publication of

       Mitcheson’s image, likeness and/or identity on Paradise Lakes’ social media;

       c.      failing to compensate Mitcheson for the misappropriation and use of her image,

       likeness and/or identity on Paradise Lakes’ social media;

       d.      falsely representing by implication to the public that Mitcheson endorsed the

       Defendants’ business, or would be present at and participate in Paradise Lakes’ events;

       and

       e.      falsely representing by implication that Mitcheson sanctioned the type of

       business, events, lifestyle, or other activities promoted by Defendants.

       282.    Defendants’ conduct described herein was misleading.

       283.    Defendants knew their unauthorized use of Mitcheson’s image, likeness and/or

identity was misleading.

       284.    Defendants’ unauthorized use of Mitcheson’s image, likeness and/or identity as

detailed herein violates Section 501.204(1), Florida Statutes, and was wrongful.

       285.    Defendants’ wrongful conduct as detailed herein was willful and malicious.

       286.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct, acted with intent to deprive Mitcheson of a property interest, and further acted with

actual or constructive knowledge of the high probability that injury or damage would result to

Mitcheson.



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          287.   At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Mitcheson’s rights.

          288.   Alternatively, the method and manner in which Defendants used Mitcheson’s

image, likeness and/or identity further evinces that Defendants were aware or consciously

disregarded that Mitcheson did not consent to Defendants’ use to advertise Defendants’ business.

          289.   Defendants have caused irreparable harm to Mitcheson, her reputation and brand

by attributing to Mitcheson the nudist lifestyle and activities at Paradise Lakes.

          290.   Defendants’ unauthorized use of Mitcheson’s image, likeness and/or identity

directly and proximately caused damage to Mitcheson in an amount to be determined at trial.

          WHEREFORE, Mitcheson respectfully requests that the Court issue a judgment against

Defendants for actual damages, including loss of profit, attorneys’ fees, interest, costs,

compensatory damages, damage to professional reputation, consequential damages, statutory

civil penalties under Fla. Stat. § 501.2075, and such other relief as this Court deems just and

proper.

                                    MITCHESON COUNT V
                     (Violation of Fla. Stat. § 812.014 and Fla. Stat. § 772.11:
                                Civil Theft against all Defendants)

          291.   Plaintiff Mitcheson re-alleges paragraphs 1 through 40, 52 through 62, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

          292.   Section 772.11, Florida Statutes, creates a private right of action for victims of

theft of tangible and intangible personal property, including rights, privileges, interests and

claims.

          293.   Defendants knowingly appropriated, used and disseminated Mitcheson’s image,

likeness and/or identity without authorization or consent.

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       294.    Mitcheson’s image, likeness and/or identity are recognizable in the photo

identified in Exhibit B.

       295.    Defendants’ misappropriation of Mitcheson’s image, likeness and/or identity was

for Defendants’ own use and benefit and to deprive Mitcheson of certain rights.

       296.    Defendants’ misconduct detailed in this Complaint denied Mitcheson the right to

engage in arms-length negotiations over the use and dissemination of her image, likeness and/or

identity, the right to negotiate over reasonable bargained-for compensation, the right to say “no”

to the proposed use by Defendants and the right to otherwise protect her image, likeness and/or

identity from harm at the hands of Defendants.

       297.    Defendants’ appropriation of Mitcheson’s image, likeness and/or identity as

detailed herein without authority violates Sections 772.11 and 812.014, Florida Statutes, and was

wrongful.

       298.    Defendants’ wrongful conduct as detailed herein was willful and malicious.

       299.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct, acted with intent to deprive Mitcheson of a property interest, and further acted with

actual or constructive knowledge of the high probability that injury or damage would result to

Mitcheson.

       300.    At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Mitcheson’s rights.

       301.    Alternatively, the method and manner in which Defendants used Mitcheson’s

image, likeness and/or identity further evinces that Defendants were aware or consciously

disregarded the fact that Mitcheson did not consent to Defendants’ use in order to advertise

Defendants’ business.

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       302.    Defendants’ appropriation and use of Mitcheson’s image, likeness and/or identity

without authority directly and proximately caused damage to Mitcheson in an amount to be

determined at trial.

       WHEREFORE, Mitcheson respectfully requests that the Court issue a judgment against

Defendants for all remedies available under Fla. Stat. § 772.11(1), including but not limited to,

treble the amount of actual damages, costs, interest, and attorneys’ fees and other relief deemed

just and proper by this Court.

                                    MITCHESON COUNT VI
                            (Unjust Enrichment against all Defendants)

       303.    Plaintiff Mitcheson re-alleges paragraphs 1 through 40, 52 through 62, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       304.    Mitcheson has conferred a benefit upon Defendants by virtue of Defendants’

usage of her image without compensation.

       305.    Mitcheson’s image, likeness and/or identity are recognizable in the photo

identified in Exhibit B.

       306.    Defendants were aware that Mitcheson’s image, likeness and/or identity were

valuable.

       307.    Defendants were aware of the resulting benefit from usage of Mitcheson’s image,

likeness and/or identity.

       308.    Defendants have retained profits and other benefits conferred upon them by using

Mitcheson’s image, likeness and/or identity to promote and advertise Defendants’ business,

Paradise Lakes or Paradise Lakes’ events.

       309.    It would be inequitable for Defendants to retain the benefits conferred upon them

by using Mitcheson’s image, likeness and/or identity without paying fair value for the image.
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       WHEREFORE, Mitcheson respectfully requests that the Court issue a judgment against

Defendants for damages, including but not limited to actual damages, costs, interest, imposition

of a constructive trust, restitution of unlawful proceeds, including Defendants’ gross profits and

such other and further relief in law or equity as this Court deems just and proper.

                                   MITCHESON COUNT VII
                           (Unlawful Conversion against all Defendants)

       310.    Plaintiff Mitcheson re-alleges paragraphs 1 through 40, 52 through 62, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       311.    Mitcheson is, and at relevant times was, the exclusive owner of all rights, title,

and interest to her image, likeness and/or identity unlawfully converted by Defendants for

Defendants’ benefit.

       312.    Mitcheson’s image, likeness and/or identity are recognizable in the photo

identified in Exhibit B.

       313.    Mitcheson has, and for all times relevant herein had, an intangible property

interest in her image, likeness and/or identity unlawfully converted by Defendants for

Defendants’ benefit.

       314.    By their acts and conduct alleged above, Defendants have converted Mitcheson’s

property rights, including without limitation, Mitcheson’s image, likeness and/or identity for

Defendants’ use and wrongful disposition for financial gain.

       315.    Mitcheson is informed and believes and on such information alleges that

Defendants have refused to return Mitcheson’s property to her or pay for the deprivation of

Mitcheson’s property.




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       316.    As a result, Mitcheson has suffered compensatory, punitive and exemplary

damages to be determined according to proof at trial; but Mitcheson alleges that the same are

within the jurisdiction of the Court.

       317.    Further, Mitcheson is informed and believes and thereon alleges that in engaging

in the conduct described above, Defendants acted with oppression, fraud, and/or malice.

Defendants’ conduct has been despicable and taken in conscious disregard of Mitcheson’s rights.

Accordingly, Mitcheson is entitled to an award of punitive damages against Defendants in an

amount sufficient to punish and make an example of Defendants. Therefore, Mitcheson reserves

the right to seek punitive damages according to proof and pursuant to Fla. Stat. §768.72.

       WHEREFORE, Mitcheson respectfully requests this Court to issue a judgment against

Defendants and for all remedies available under the common law claim for conversion, including

but not limited to actual damages, costs, interest, punitive damages according to proof, and

restitution of Defendants’ unlawful proceeds, including Defendants’ profits, and/or other relief

deemed just and proper.

                                  MITCHESON COUNT VIII
                           (Unfair Competition against all Defendants)

       318.    Plaintiff Mitcheson re-alleges paragraphs 1 through 40, 52 through 62, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       319.    Mitcheson is, and at all relevant times was, the exclusive owner of all rights, title,

and interest in and to her image, likeness and identity and possession thereof in Florida.

       320.    Mitcheson’s image, likeness and/or identity are recognizable in the photo

identified in Exhibit B.

       321.    Mitcheson has not authorized or licensed Defendants to reproduce, distribute,

disseminate, or otherwise exploit her image, likeness and/or identity in any manner.
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        322.   Defendants were not entitled to or authorized to reproduce, distribute, disseminate

or otherwise exploit Mitcheson’s image, likeness and/or identity.

        323.   Mitcheson has expended significant time, labor, and money in the making and

marketing of her image, likeness and identity. Defendants have paid nothing to Mitcheson for

reproducing, distributing, disseminating, or otherwise exploiting Mitcheson’s image, likeness

and/or identity. Without expending any time, labor, money or marketing of their own,

Defendants simply appropriated the commercial qualities, reputation, and salable properties of

Mitcheson, including without limitation Mitcheson’s image, likeness and/or identity, by unfairly

and directly competing with Mitcheson’s use, sale, distribution, and exploitation of her image,

likeness and/or identity.

        324.   In so doing, Defendants have undermined Mitcheson’s substantial and financial

investment in herself for Defendants’ own commercial benefit and have commercially damaged

the market value of Mitcheson’s image, likeness and/or identity.

        325.   Defendants have usurped for themselves the fruits of Mitcheson’s popularity and

fame.

        326.   Defendants have profited from the results of Mitcheson’s hard work modeling and

from her portfolio and skill without having to incur any expense in relation to Mitcheson’s

image, likeness and/or identity.

        327.   Furthermore, Defendants’ unauthorized use of Mitcheson’s image, likeness and/or

identity has likely caused confusion, mistake, or deception as to the source, sponsorship,

affiliation, or connection between Mitcheson and Paradise Lakes.

        328.   Defendants’ acts constitute unfair competition involving the misappropriation of

Mitcheson’s image, likeness and/or identity.

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       329.    As a direct and proximate result of Defendants’ misappropriation and unfair

competition, Mitcheson is entitled to recover all proceeds and other compensation received or to

be received by Defendants from the misappropriation and unfair competition of Mitcheson’s

image, likeness and/or identity.

       330.    Mitcheson has been damaged and Defendants have been unjustly enriched, in an

amount to be proved at trial; but Mitcheson alleges that the same are within the jurisdiction of

the Court.

       331.    Mitcheson is informed and believes and thereon alleges that in engaging in the

conduct described above, Defendants acted with oppression, fraud, and/or malice. Defendants’

conduct has been despicable and taken in conscious disregard of Mitcheson’s rights.

Accordingly, Mitcheson is entitled to an award of punitive damages against Defendants in the

amount sufficient to punish and make an example of Defendants. Therefore, Mitcheson reserves

the right to seek punitive damages according to proof and pursuant to Fla. Stat. §768.72

       WHEREFORE, Mitcheson respectfully requests this Court to enter a judgment against

Defendants for all remedies available under a claim of unfair competition of Defendants’

misappropriated image, likeness and/or identity of Mitcheson, including but not limited to actual

damages, punitive damages according to proof, consequential damages, and further relief in law

or equity as this Court deems just and proper.

                                 MITCHESON COUNT IX
                    (Fraudulent Misrepresentation against all Defendants)

       332.    Plaintiff Mitcheson re-alleges paragraphs 1 through 40, 52 through 62, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.




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       333.    Mitcheson is informed and believes and herein alleges that Defendants

misrepresented to the public Mitcheson’s patronage, connection, or sponsorship with Paradise

Lakes for the purposes of financial gain.

       334.    The misrepresentations       by    Defendants      include,     but    are   not   limited

to misrepresentations of material facts in Defendants’ advertisement, which purposefully

contained Paradise Lakes’ hushtags such as #RepealDay next to the face and body of Mitcheson.

       335.    Mitcheson is informed and believes and alleges that Defendants knew that

Mitcheson was not legally connected or working at or for Defendants.

       336.    Mitcheson is informed and believes and herein alleges that Defendants published

the image, likeness and/or identity of Mitcheson as if she worked for or endorsed Paradise Lakes,

either hosting, supporting, or appearing at an event at Paradise Lakes in order to target specific

audiences and to draw in big spending clients who were/are hoping to meet Mitcheson.

       337.    Mitcheson’s image, likeness and/or identity are recognizable in the photo

identified in Exhibit B.

       338.    The misrepresentations and/or acts of fraud by Defendants were perpetuated

directly and indirectly by Defendants and their sales representatives, employees, and/or agents.

       339.    The misrepresentations by Defendants constitute a continuing tort.

       340.    Mitcheson is informed and believes and herein alleges that injury resulted to

herself and the general public when the public justifiably relied on Defendants’ misleading

advertisement and paid the membership and/or entry fees to visit Paradise Lakes on December 5,

2013 to their detriment.




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         341.   Mitcheson is entitled to restitution of the reasonable value of the benefit derived

by Defendants for the unauthorized use Defendants made of Mitcheson’s image, likeness and/or

identity.

         342.   As a result of Defendants’ conduct, Mitcheson suffered damages to be determined

according to proof at trial; but Mitcheson alleges that the same are within the jurisdiction of the

Court.

         WHEREFORE, Mitcheson respectfully requests to enter judgment against Defendants

for damages, including but not limited to actual damages, costs, interest, and such other and

further relief in law or equity as this Court deems just and proper.

                                    MITCHESON COUNT X
                                (Negligence against all Defendants)

         343.   Plaintiff Mitcheson re-alleges paragraphs 1 through 40, 52 through 62, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

         344.   Under the circumstances stated herein, Defendants owed a duty of care towards

Mitcheson.

         345.   Among other things, that duty included the obligation to deal with Mitcheson and

her image, likeness and/or identity in a commercially reasonable and prudent manner, to not use

Mitcheson’s image, likeness and/or identity in derogation of her rights, and to not cause harm to

Mitcheson.

         346.   Defendants breached that duty by using Mitcheson’s image, likeness and/or

identity without Mitcheson’s authorization, permission or consent.

         347.   Mitcheson’s image, likeness and/or identity are recognizable in the photo

identified in Exhibit B.


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       348.      Defendants’ conduct and breach as described above directly and proximately

caused injury to Mitcheson’s reputation, brand, goodwill and livelihood for which she has

suffered damages. Further, Mitcheson is informed and believes and thereon alleges that in

engaging in the conduct described above, Defendants acted with oppression, fraud, and/or

malice. Defendants’ conduct has been despicable and taken in conscious disregard of

Mitcheson’s rights. Accordingly, Mitcheson is entitled to an award of punitive damages against

Defendants in an amount sufficient to punish and make an example of Defendants. Therefore,

Mitcheson reserves the right to seek punitive damages according to proof and pursuant to Fla.

Stat. §768.72.

       WHEREFORE, Mitcheson respectfully requests that the Court enter judgment against

Defendants for damages, including but not limited to actual damages, punitive damages

according to proof, costs, interest, and such other and further relief in law or equity as this Court

deems just and proper.

                                 MITCHESON COUNT XI
           (Violation of the Respondeat Superior Doctrine against all Defendants)

       349.      Plaintiff Mitcheson re-alleges paragraphs 1 through 40, 52 through 62, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       350.      Under the circumstances stated herein, Defendants owed a duty of care towards

Mitcheson.

       351.      Among other things, that duty included the obligation to deal with Mitcheson and

her image, likeness and/or identity in a commercially reasonable and prudent manner, to not use

Mitcheson’s image, likeness and/or identity in derogation of her rights, and to not cause harm to

Mitcheson.


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         352.   Mitcheson’s image, likeness and/or identity are recognizable in the photo

identified in Exhibit B.

         353.   Defendants breached that duty by using Mitcheson’s image, likeness and/or

identity without Mitcheson’s authorization, permission or consent.

         354.   Defendants’ conduct and breach as described above directly and proximately

caused injury to Mitcheson’s reputation, brand, goodwill and livelihood for which she has

suffered damages.

         355.   In addition, Defendants and/or their agents promulgated policies and procedures

concerning the prevention of misappropriation of images, likenesses and identities. Yet,

Defendants negligently failed to enforce those policies, communicate them to their employees, or

to supervise their employees to ensure that these policies and both State and Federal Law were

not violated.

         356.   Pleading alternatively, Defendants and/or their agents failed to promulgate

policies and procedures concerning the prevention of misappropriation of images, likenesses and

identities and, as such, are liable to Mitcheson for the harm that failure caused to Mitcheson.

         357.   More specifically, Defendants had a duty to all members of the public, namely to

Mitcheson, to refrain from the misappropriation of her image, likeness and/or identity.

Defendants violated that duty by negligent hiring, screening, retaining, supervising, and training

of their employees and agents.

         358.   As a result of Defendants’ conduct, Mitcheson suffered damages to be determined

according to proof at trial; but Mitcheson alleges that the same are within the jurisdiction of the

Court.



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        WHEREFORE, Mitcheson respectfully requests that the Court issue a judgment against

Defendants for damages, including but not limited to actual damages, costs, interest, and such

other and further relief in law or equity as this Court deems just and proper.

                           Plaintiff Irina Voronina’s Causes of Action

                                    VORONINA COUNT I
                      (Violation of the Lanham Act, 15 U.S.C. § 1125(a):
                           False Advertising against all Defendants)

        359.   Plaintiff Voronina re-alleges paragraphs 1 through 40, 63 through 75, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

        360.   Section 43 of the Lanham Act, 15 U.S.C. § 1125, et seq. applies to Defendants

and protects Voronina from the conduct described herein.                 Specifically, the Lanham Act

prohibits a party in commercial advertising and promotion from “misrepresent[ing] the nature,

characteristics, qualities or geographic origin of his or her or another person’s goods, services or

commercial activities . . . .” 15 U.S.C. §1125(a)(1)(B).

        361.   Defendants used Voronina’s images, likeness and/or identity as described herein

without authority in order to create the perception that Voronina worked at or was otherwise

affiliated with Paradise Lakes, endorsed Paradise Lakes or Paradise Lakes’ business activities,

and/or consented to or authorized Defendants’ usage of her images in order to advertise,

promote, and market Defendants’ business, Paradise Lakes, and/or Paradise Lakes’ events and

activities.

        362.   Voronina’s images, likeness and/or identity are recognizable in the photos

identified in Exhibit C.




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       363.    Defendants’ use of Voronina’s images, likeness and/or identity to advertise,

promote and market Defendants’ business, Paradise Lakes, and/or Paradise Lakes’ events and

activities as described in this Complaint was false and misleading.

       364.    Defendants’ unauthorized use of Voronina’s images, likeness and/or identity as

described in this Complaint constitutes false advertising by suggesting or implying, among other

things, that Voronina worked at or was otherwise affiliated with Paradise Lakes, endorsed

Defendants’ business, Paradise Lakes or Paradise Lakes’ events or activities, or consented to or

authorized Defendants’ usage of her images in order to advertise, promote, and market

Defendants’ business or Paradise Lakes’ events and activities and/or that Voronina would

participate in or appear at the specific events promoted in the advertisements.

       365.    Defendants’ false advertising described above has the capacity or tendency to

confuse consumers, including actual and prospective patrons of Paradise Lakes, as to the general

quality of attendees and participants at Paradise Lakes and in its events, as well as specifically

whether Voronina worked at or was otherwise affiliated with Paradise Lakes, endorsed

Defendants’ business, Paradise Lakes or Paradise Lakes’ events or activities, or consented to or

authorized Defendants’ usage of her images in order to advertise, promote, and market

Defendants’ business or Paradise Lakes’ events and activities.

       366.    Upon information and belief, Defendants’ false advertising described above did,

in fact, deceive and/or cause consumer confusion as to whether Voronina worked at or was

otherwise affiliated with Paradise Lakes, endorsed Defendants’ business, Paradise Lakes or

Paradise Lakes’ events and activities, or consented to or authorized Defendants’ usage of her

images in order to advertise, promote, and market Defendants’ business or Paradise Lakes’

events and activities. Among other things, upon information and belief, such unauthorized use

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misled and served to entice consumers and prospective consumers to join Paradise Lakes, visit

Paradise Lakes, and participate in events at Paradise Lakes and had a material effect and impact

on the decision of members and prospective members and participants to join Paradise Lakes,

visit Paradise Lakes and take part in the events at Paradise Lakes.

       367.    Defendants’ advertisements, promotions and marketing of Paradise Lakes and

events at Paradise Lakes occur in and are targeted to interstate commerce.                 Specifically,

Defendants promote their business and events through interstate promotions and campaigns to

target persons from different states throughout the United States. Defendants principally use the

World Wide Web, social media and other vehicles of interstate commerce to advertise, market,

promote, and entice or lure membership and attendance at Paradise Lakes’ events.

       368.    Defendants’ unauthorized use of Voronina’s images, likeness and/or identity as

described herein was designed to benefit Defendants’ business interests by, among other things,

promoting Paradise Lakes and its activities and attracting clientele to Paradise Lakes.

       369.    Defendants knew or should have known that their unauthorized use of Voronina’s

images, likeness and/or identity would cause consumer confusion as described in this Complaint.

       370.    Defendants’ unauthorized use of Voronina’s images, likeness and/or identity as

described herein violates 15 U.S.C. §1125(a) and was wrongful.

       371.    Defendants’ wrongful conduct as described herein was willful.

       372.    As such, the present case is an exceptional case warranting an award of

reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117.

       373.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct, acted with intent to deprive Voronina of a property interest, and further acted with



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actual or constructive knowledge of the high probability that injury or damage would result to

Voronina.

       374.    The method and manner in which Defendants used the images of Voronina further

evinces that Defendants were aware of or consciously disregarded the fact that Voronina did not

consent to Defendants’ use of the images to advertise Defendants’ business.

       375.    Defendants have caused irreparable harm to Voronina, her reputation and brand

by attributing to Voronina the nudist lifestyle and activities at Paradise Lakes.

       376.    Defendants’ unauthorized use of Voronina’s images, likeness and/or identity

directly and proximately caused damage to Voronina in an amount to be determined at trial.

       WHEREFORE, Voronina respectfully requests that the Court issue a judgment against

Defendants and grant actual, or compensatory, damages in an amount to be determined at trial,

lost profits, disgorgement of profits earned directly or indirectly by Defendants’ unlawful use,

attorneys’ fees and costs, prejudgment and post-judgment interest, and/or such further relief that

is just and proper.

                                 VORONINA COUNT II
                   (Violation of Fla. Stat. § 540.08: Right of Publicity;
         Unauthorized Misappropriation of Name/Likeness against all Defendants)

       377.    Plaintiff Voronina re-alleges paragraphs 1 through 40, 63 through 75, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       378.    Voronina has a statutory right of publicity under Section 540.08, Florida Statutes.

       379.    Section 540.08, Florida Statutes, provides that: “[n]o person shall publish, print,

display or otherwise publicly use for purposes of trade or for any commercial or advertising

purpose the name, portrait, photograph, or other likeness of any natural person without the

express written or oral consent to such use.”

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       380.    Despite the clear language of Section 540.08, Defendants published Voronina’s

images, likeness and/or identity on Paradise Lakes’ social media outlet, among others, in order to

promote, advertise and market Paradise Lakes and Paradise Lakes’ events and activities.

       381.    Voronina’s images, likeness and/or identity are recognizable in the photos

identified in Exhibit C.

       382.    Defendants never sought permission or authority to use Voronina’s images,

likeness and/or identity to advertise, promote, market or endorse Defendants’ business, Paradise

Lakes or any Paradise Lakes’ event or activity.

       383.    Voronina never consented to, permitted, assigned, licensed, or otherwise agreed to

Defendants’ use of her images, likeness and/or identity to advertise, promote, market or endorse

Defendants’ business, Paradise Lakes or any Paradise Lakes’ event or activity.

       384.    Defendants intentionally or, at a minimum, recklessly published, printed,

displayed, or otherwise publicly disseminated or used Voronina’s images, likeness and/or

identity without her express written or oral consent, for purposes of trade or for other commercial

or advertising purposes as detailed in this Complaint.

       385.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct and acted with intent or with reckless disregard to deprive Voronina of a property

interest during the entire time period in which the unauthorized use took place.

       386.    At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Voronina’s rights.

       387.    Alternatively, Defendants acted negligently towards Voronina in using and

disseminating, without authority, her images, likeness and/or identity on social media outlets in

order to promote, advertise and market Paradise Lakes and Paradise Lakes’ events and activities.

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       388.    Defendants have caused irreparable harm to Voronina, her reputation and brand

by attributing to Voronina the nudist lifestyle and activities at Paradise Lakes.

       389.    Defendants have also damaged Voronina as a direct and proximate result of their

unauthorized use of Voronina’s images, likeness and/or identity without compensating Voronina.

Defendants’ conduct has been despicable and taken in conscious disregard of Voronina’s rights.

Accordingly, Voronina is entitled to an award of punitive damages against Defendants in an

amount sufficient to punish and make an example of Defendants. Therefore, Voronina reserves

the right to seek punitive damages according to proof and pursuant to Fla. Stat. §768.72.

       WHEREFORE, Voronina respectfully requests that the Court issue a judgment against

Defendants for all remedies available under Fla. Stat. §540.08, including but not limited to, both

actual loss and damages, punitive damages according to proof, costs, interest, royalties, and

restitution of Defendants’ unlawful proceeds, including Defendants’ profits and other relief

deemed just and proper by this Court.

                                VORONINA COUNT III
                     (Violation of Common Law Right of Publicity;
        Unauthorized Misappropriation of Name or Likeness against all Defendants)

       390.    Plaintiff Voronina re-alleges paragraphs 1 through 40, 63 through 75, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       391.    Voronina has a common law right of publicity.

       392.    Defendants may not publish, print, display or publicly use for purposes of trade or

for any commercial or advertising purpose the name, portrait, photograph, or other likeness of

Voronina without express written or oral consent to such use.

       393.    Defendants published, printed, displayed and/or publicly used Voronina’s images,

likeness and/or identity on social media outlets, among others, for purposes of trade and/or

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commercial advertising including, but not limited to, promoting, advertising and marketing

Paradise Lakes and Paradise Lakes’ events and activities.

       394.    Voronina’s images, likeness and/or identity are recognizable in the photos

identified in Exhibit C.

       395.    Defendants took these actions without Voronina’s permission, consent or

authority. In fact, Defendant never sought permission or authority to use Voronina’s images,

likeness and/or identity to advertise, promote, market or endorse Defendants’ business, Paradise

Lakes, or any Paradise Lakes’ event or activity.

       396.    Voronina never consented to, permitted, assigned, licensed, or otherwise agreed to

Defendants’ use of her images, likeness and/or identity to advertise, promote, market or endorse

Defendants’ business, Paradise Lakes, or any Paradise Lakes’ event or activity.

       397.    Defendants intentionally or, at a minimum, recklessly, published, printed,

displayed, or otherwise publicly disseminated or used Voronina’s images, likeness and/or

identity without her express written or oral consent, for purposes of trade or for other commercial

or advertising purposes as detailed in this Complaint.

       398.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct and acted with intent or reckless disregard to deprive Voronina of a property interest

during the entire time period in which the unauthorized use took place.

       399.    At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Voronina’s rights.

       400.    Alternatively, Defendant acted negligently towards Voronina in using and

disseminating, without authority, her images, likeness and/or identity on social media outlets in

order to promote, advertise and market Paradise Lakes and Paradise Lakes’ events and activities.

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       401.    Defendants have caused irreparable harm to Voronina, her reputation and brand

by attributing to Voronina the nudist lifestyle and activities at Paradise Lakes.

       402.    Defendants have also damaged Voronina as a direct and proximate result of their

unauthorized use of Voronina’s images, likeness and/or identity without compensating Voronina.

       WHEREFORE, Voronina respectfully requests that the Court issue a judgment against

Defendants for all remedies available under a claim of misappropriation including, but not

limited to, actual damages, costs, interest, and restitution of Defendants’ unlawful proceeds,

including Defendants’ profits and other relief deemed just and proper by this Court.

                                   VORONINA COUNT IV
   (Violation of Fla. Stat. § 501.204: Florida’s Deceptive and Unfair Trade Practices Act
                                    against all Defendants)

       403.    Plaintiff Voronina re-alleges paragraphs 1 through 40, 63 through 75, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       404.    Section 501.204(1), Florida Statutes (“FDUTPA”) provides that “[u]nfair methods

of competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

conduct of any trade or commerce are hereby declared unlawful.”

       405.    Defendants are direct and active participants in market dealings with Voronina by

using her images to advertise and promote Paradise Lakes not only to patrons of Paradise Lakes,

but to the general public in interstate commerce.

       406.    Voronina’s images, likeness and/or identity are recognizable in the photos

identified in Exhibit C.

       407.    Defendants at all material times were engaged in a trade or commerce, as defined

within Section 501.203, Florida Statutes.



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        408.    Defendants have engaged in deceptive acts and unfair practices in the course of

their business activities by:

        a.      failing to obtain consent from Voronina prior to promoting Defendants’ business

        by and through the misappropriation and use of Voronina’s images, likeness and/or

        identity;

        b.      failing to obtain authorization from Voronina prior to the publication of

        Voronina’s images, likeness and/or identity on Paradise Lakes’ social media;

        c.      failing to compensate Voronina for the misappropriation and use of her images,

        likeness and/or identity on Paradise Lakes’ social media;

        d.      falsely representing by implication to the public that Voronina endorsed the

        Defendants’ business, or would be present at and participate in Paradise Lakes’ events;

        and

        e.      falsely representing by implication that Voronina sanctioned the type of business,

        events, lifestyle, or other activities promoted by Defendants.

        409.    Defendants’ conduct described herein was misleading.

        410.    Defendants knew their unauthorized use of Voronina’s images, likeness and/or

identity was misleading.

        411.    Defendants’ unauthorized use of Voronina’s images, likeness and/or identity as

detailed herein violates Section 501.204(1), Florida Statutes and was wrongful.

        412.    Defendants’ wrongful conduct as detailed herein was willful and malicious.

        413.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct, acted with intent to deprive Voronina of a property interest, and further acted with



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actual or constructive knowledge of the high probability that injury or damage would result to

Voronina.

          414.   At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Voronina’s rights.

          415.   Alternatively, the method and manner in which Defendants used Voronina’s

images, likeness and/or identity further evinces that Defendants were aware or consciously

disregarded that Voronina did not consent to Defendants’ use to advertise Defendants’ business.

          416.   Defendants have caused irreparable harm to Voronina, her reputation and brand

by attributing to Voronina the nudist lifestyle and activities at Paradise Lakes.

          417.   Defendants’ unauthorized use of Voronina’s images, likeness and/or identity

directly and proximately caused damage to Voronina in an amount to be determined at trial.

          WHEREFORE, Voronina respectfully requests that the Court issue a judgment against

Defendants for actual damages, including loss of profit, attorneys’ fees, interest, costs,

compensatory damages, damage to professional reputation, consequential damages, statutory

civil penalties under Fla. Stat. § 501.2075, and such other relief as this Court deems just and

proper.

                                     VORONINA COUNT V
                     (Violation of Fla. Stat. § 812.014 and Fla. Stat. § 772.11:
                                Civil Theft against all Defendants)

          418.   Plaintiff Voronina re-alleges paragraphs 1 through 40, 63 through 75, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

          419.   Section 772.11, Florida Statutes, creates a private right of action for victims of

theft of tangible and intangible personal property, including rights, privileges, interests and

claims.

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       420.    Defendants knowingly appropriated, used and disseminated Voronina’s images,

likeness and/or identity without authorization or consent.

       421.    Voronina’s images, likeness and/or identity are recognizable in the photos

identified in Exhibit C.

       422.    Defendants’ misappropriation of Voronina’s images, likeness and/or identity was

for Defendants’ own use and benefit and to deprive Voronina of certain rights.

       423.    Defendants’ misconduct detailed in this Complaint denied Voronina the right to

engage in arms-length negotiations over the use and dissemination of her images, likeness and/or

identity, the right to negotiate over reasonable bargained-for compensation, the right to say “no”

to the proposed use by Defendants and the right to otherwise protect her images, likeness and/or

identity from harm at the hands of Defendants.

       424.    Defendants’ appropriation of Voronina’s images, likeness and/or identity as

detailed herein without authority violates Sections 772.11 and 812.014, Florida Statutes, and was

wrongful.

       425.    Defendants’ wrongful conduct as detailed herein was willful and malicious.

       426.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct, acted with intent to deprive Voronina of a property interest, and further acted with

actual or constructive knowledge of the high probability that injury or damage would result to

Voronina.

       427.    At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Voronina’s rights.

       428.    Alternatively, the method and manner in which Defendants used Voronina’s

images, likeness and/or identity further evinces that Defendants were aware or consciously

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disregarded the fact that Voronina did not consent to Defendants’ use in order to advertise

Defendants’ business.

       429.    Defendants’ appropriation and use of Voronina’s images, likeness and/or identity

without authority directly and proximately caused damage to Voronina in an amount to be

determined at trial.

       WHEREFORE, Voronina respectfully requests that the Court issue a judgment against

Defendants for all remedies available under Fla. Stat. § 772.11(1), including but not limited to,

treble the amount of actual damages, costs, interest, and attorneys’ fees and other relief deemed

just and proper by this Court.

                                     VORONINA COUNT VI
                            (Unjust Enrichment against all Defendants)

       430.    Plaintiff Voronina re-alleges paragraphs 1 through 40, 63 through 75, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       431.    Voronina has conferred a benefit upon Defendants by virtue of Defendants’ usage

of her images without compensation.

       432.    Voronina’s images, likeness and/or identity are recognizable in the photos

identified in Exhibit C.

       433.    Defendants were aware that Voronina’s images, likeness and/or identity were

valuable.

       434.    Defendants were aware of the resulting benefit from usage of Voronina’s images,

likeness and/or identity.

       435.    Defendants have retained profits and other benefits conferred upon them by using

Voronina’s images, likeness and/or identity to promote and advertise Defendants’ business,

Paradise Lakes or Paradise Lakes’ events.
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       436.    It would be inequitable for Defendants to retain the benefits conferred upon them

by using Voronina’s images, likeness and/or identity without paying fair value for the images.

       WHEREFORE, Voronina respectfully requests that the Court issue a judgment against

Defendants for damages, including but not limited to actual damages, costs, interest, imposition

of a constructive trust, restitution of unlawful proceeds, including Defendants’ gross profits and

such other and further relief in law or equity as this Court deems just and proper.

                                   VORONINA COUNT VII
                           (Unlawful Conversion against all Defendants)

       437.    Plaintiff Voronina re-alleges paragraphs 1 through 40, 63 through 75, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       438.    Voronina is, and at relevant times was, the exclusive owner of all rights, title, and

interest to her images, likeness and/or identity unlawfully converted by Defendants for

Defendants’ benefit.

       439.    Voronina’s images, likeness and/or identity are recognizable in the photos

identified in Exhibit C.

       440.    Voronina has, and for all times relevant herein had, an intangible property interest

in her images, likeness and/or identity unlawfully converted by Defendants for Defendants’

benefit.

       441.    By their acts and conduct alleged above, Defendants have converted Voronina’s

property rights, including without limitation, Voronina’s images, likeness and/or identity for

Defendants’ use and wrongful disposition for financial gain.

       442.    Voronina is informed and believes and on such information alleges that

Defendants have refused to return Voronina’s property to her or pay for the deprivation of

Voronina’s property.
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       443.    As a result, Voronina has suffered compensatory, punitive and exemplary

damages to be determined according to proof at trial; but Voronina alleges that the same are

within the jurisdiction of the Court.

       444.    Further, Voronina is informed and believes and thereon alleges that in engaging in

the conduct described above, Defendants acted with oppression, fraud, and/or malice.

Defendants’ conduct has been despicable and taken in conscious disregard of Voronina’s rights.

Accordingly, Voronina is entitled to an award of punitive damages against Defendants in an

amount sufficient to punish and make an example of Defendants. Therefore, Voronina reserves

the right to seek punitive damages according to proof and pursuant to Fla. Stat. §768.72.

       WHEREFORE, Voronina respectfully requests this Court to issue a judgment against

Defendants and for all remedies available under the common law claim for conversion, including

but not limited to actual damages, costs, interest, punitive damages according to proof, and

restitution of Defendants’ unlawful proceeds, including Defendants’ profits, and/or other relief

deemed just and proper.

                                   VORONINA COUNT VIII
                           (Unfair Competition against all Defendants)

       445.    Plaintiff Voronina re-alleges paragraphs 1 through 40, 63 through 75, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       446.    Voronina is, and at all relevant times was, the exclusive owner of all rights, title,

and interest in and to her images, likeness and identity and possession thereof in Florida.

       447.    Voronina’s images, likeness and/or identity are recognizable in the photos

identified in Exhibit C.

       448.    Voronina has not authorized or licensed Defendants to reproduce, distribute,

disseminate, or otherwise exploit her images, likeness and/or identity in any manner.
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        449.   Defendants were not entitled to or authorized to reproduce, distribute, disseminate

or otherwise exploit Voronina’s images, likeness and/or identity.

        450.   Voronina has expended significant time, labor, and money in the making and

marketing of her images, likeness and identity. Defendants have paid nothing to Voronina for

reproducing, distributing, disseminating, or otherwise exploiting Voronina’s images, likeness

and/or identity. Without expending any time, labor, money or marketing of their own,

Defendants simply appropriated the commercial qualities, reputation, and salable properties of

Voronina, including without limitation Voronina’s images, likeness and/or identity, by unfairly

and directly competing with Voronina’s use, sale, distribution, and exploitation of her images,

likeness and/or identity.

        451.   In so doing, Defendants have undermined Voronina’s substantial and financial

investment in herself for Defendants’ own commercial benefit and have commercially damaged

the market value of Voronina’s images, likeness and/or identity.

        452.   Defendants have usurped for themselves the fruits of Voronina’s popularity and

fame.

        453.   Defendants have profited from the results of Voronina’s hard work modeling and

from her portfolio and skill without having to incur any expense in relation to Voronina’s

images, likeness and/or identity.

        454.   Furthermore, Defendants’ unauthorized use of Voronina’s images, likeness and/or

identity has likely caused confusion, mistake, or deception as to the source, sponsorship,

affiliation, or connection between Voronina and Paradise Lakes.

        455.   Defendants’ acts constitute unfair competition involving the misappropriation of

Voronina’s images, likeness and/or identity.

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         456.   As a direct and proximate result of Defendants’ misappropriation and unfair

competition, Voronina is entitled to recover all proceeds and other compensation received or to

be received by Defendants from the misappropriation and unfair competition of Voronina’s

images, likeness and/or identity.

         457.   Voronina has been damaged and Defendants have been unjustly enriched, in an

amount to be proved at trial; but Voronina alleges that the same are within the jurisdiction of the

Court.

         458.   Voronina is informed and believes and thereon alleges that in engaging in the

conduct described above, Defendants acted with oppression, fraud, and/or malice. Defendants’

conduct has been despicable and taken in conscious disregard of Voronina’s rights. Accordingly,

Voronina is entitled to an award of punitive damages against Defendants in the amount sufficient

to punish and make an example of Defendants. Therefore, Voronina reserves the right to seek

punitive damages according to proof and pursuant to Fla. Stat. §768.72

         WHEREFORE, Voronina respectfully requests this Court to enter a judgment against

Defendants for all remedies available under a claim of unfair competition of Defendants’

misappropriated image, likeness and/or identity of Voronina, including but not limited to actual

damages, punitive damages according to proof, consequential damages, and further relief in law

or equity as this Court deems just and proper.

                                 VORONINA COUNT IX
                    (Fraudulent Misrepresentation against all Defendants)

         459.   Plaintiff Voronina re-alleges paragraphs 1 through 40, 63 through 75, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.




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       460.    Voronina is informed and believes and herein alleges that Defendants

misrepresented to the public Voronina’s patronage, connection, or sponsorship with Paradise

Lakes for the purposes of financial gain.

       461.    The misrepresentations       by    Defendants      include,     but    are   not   limited

to misrepresentations of material facts in Defendants’ advertisement, which purposefully

contained Paradise Lakes’ hushtags such as #HalloweenCostumes next to the face and body of

Voronina.

       462.    Voronina is informed and believes and alleges that Defendants knew that

Voronina was not legally connected or working at or for Defendants.

       463.    Voronina is informed and believes and herein alleges that Defendants published

the images, likeness and/or identity of Voronina as if she worked for or endorsed Paradise Lakes,

either hosting, supporting, or appearing at events at Paradise Lakes in order to target specific

audiences and to draw in big spending clients who were/are hoping to meet Voronina.

       464.    Voronina’s images, likeness and/or identity are recognizable in the photos

identified in Exhibit C.

       465.    The misrepresentations and/or acts of fraud by Defendants were perpetuated

directly and indirectly by Defendants and their sales representatives, employees, and/or agents.

       466.    The misrepresentations by Defendants constitute a continuing tort.

       467.    Voronina is informed and believes and herein alleges that injury resulted to

herself and the general public when the public justifiably relied on Defendants’ misleading

advertisement and paid the membership and/or entry fees to visit Paradise Lakes on November 1,

2014 and August 15, 2015 to their detriment.



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         468.   Voronina is entitled to restitution of the reasonable value of the benefit derived by

Defendants for the unauthorized use Defendants made of Voronina’s images, likeness and/or

identity.

         469.   As a result of Defendants’ conduct, Voronina suffered damages to be determined

according to proof at trial; but Voronina alleges that the same are within the jurisdiction of the

Court.

         WHEREFORE, Voronina respectfully requests to enter judgment against Defendants for

damages, including but not limited to actual damages, costs, interest, and such other and further

relief in law or equity as this Court deems just and proper.

                                     VORONINA COUNT X
                                (Negligence against all Defendants)

         470.   Plaintiff Voronina re-alleges paragraphs 1 through 40, 63 through 75, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

         471.   Under the circumstances stated herein, Defendants owed a duty of care towards

Voronina.

         472.   Among other things, that duty included the obligation to deal with Voronina and

her images, likeness and/or identity in a commercially reasonable and prudent manner, to not use

Voronina’s images, likeness and/or identity in derogation of her rights, and to not cause harm to

Voronina.

         473.   Defendants breached that duty by using Voronina’s images, likeness and/or

identity without Voronina’s authorization, permission or consent.

         474.   Voronina’s images, likeness and/or identity are recognizable in the photos

identified in Exhibit C.


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       475.    Defendants’ conduct and breach as described above directly and proximately

caused injury to Voronina’s reputation, brand, goodwill and livelihood for which she has

suffered damages. Further, Voronina is informed and believes and thereon alleges that in

engaging in the conduct described above, Defendants acted with oppression, fraud, and/or

malice. Defendants’ conduct has been despicable and taken in conscious disregard of Voronina’s

rights. Accordingly, Voronina is entitled to an award of punitive damages against Defendants in

an amount sufficient to punish and make an example of Defendants. Therefore, Voronina

reserves the right to seek punitive damages according to proof and pursuant to Fla. Stat. §768.72.

       WHEREFORE, Voronina respectfully requests that the Court enter judgment against

Defendants for damages, including but not limited to actual damages, punitive damages

according to proof, costs, interest, and such other and further relief in law or equity as this Court

deems just and proper.

                                   VORONINA COUNT XI
            (Violation of the Respondeat Superior Doctrine against all Defendants)

       476.    Plaintiff Voronina re-alleges paragraphs 1 through 40, 63 through 75, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       477.    Under the circumstances stated herein, Defendants owed a duty of care towards

Voronina.

       478.    Among other things, that duty included the obligation to deal with Voronina and

her images, likeness and/or identity in a commercially reasonable and prudent manner, to not use

Voronina’s images, likeness and/or identity in derogation of her rights, and to not cause harm to

Voronina.

       479.    Voronina’s images, likeness and/or identity are recognizable in the photos

identified in Exhibit C.
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         480.   Defendants breached that duty by using Voronina’s images, likeness and/or

identity without Voronina’s authorization, permission or consent.

         481.   Defendants’ conduct and breach as described above directly and proximately

caused injury to Voronina’s reputation, brand, goodwill and livelihood for which she has

suffered damages.

         482.   In addition, Defendants and/or their agents promulgated policies and procedures

concerning the prevention of misappropriation of images, likenesses and identities. Yet,

Defendants negligently failed to enforce those policies, communicate them to their employees, or

to supervise their employees to ensure that these policies and both State and Federal Law were

not violated.

         483.   Pleading alternatively, Defendants and/or their agents failed to promulgate

policies and procedures concerning the prevention of misappropriation of images, likenesses and

identities and, as such, are liable to Voronina for the harm that failure caused to Voronina.

         484.   More specifically, Defendants had a duty to all members of the public, namely to

Voronina, to refrain from the misappropriation of her images, likeness and/or identity.

Defendants violated that duty by negligent hiring, screening, retaining, supervising, and training

of their employees and agents.

         485.   As a result of Defendants’ conduct, Voronina suffered damages to be determined

according to proof at trial; but Voronina alleges that the same are within the jurisdiction of the

Court.

         WHEREFORE, Voronina respectfully requests that the Court issue a judgment against

Defendants for damages, including but not limited to actual damages, costs, interest, and such

other and further relief in law or equity as this Court deems just and proper.

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                             Plaintiff John Coulter’s Causes of Action

                                     COULTER COUNT I
                      (Violation of the Lanham Act, 15 U.S.C. § 1125(a):
                           False Advertising against all Defendants)

       486.     Plaintiff Coulter re-alleges paragraphs 1 through 40, 76 through 87, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       487.     Section 43 of the Lanham Act, 15 U.S.C. § 1125, et seq. applies to Defendants

and protects Coulter from the conduct described herein. Specifically, the Lanham Act prohibits a

party in commercial advertising and promotion from “misrepresent[ing] the nature,

characteristics, qualities or geographic origin of his or her or another person’s goods, services or

commercial activities . . . .” 15 U.S.C. §1125(a)(1)(B).

       488.     Defendants used Coulter’s image, likeness and/or identity as described herein

without authority in order to create the perception that Coulter worked at or was otherwise

affiliated with Paradise Lakes, endorsed Defendants’ business and activities, and/or consented to

or authorized Defendants to use his image in order to advertise, promote, and market

Defendants’ business, Paradise Lakes, and/or Paradise Lakes’ events and activities.

       489.     Coulter’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit D.

       490.     Defendants’ use of Coulter’s image, likeness and/or identity to advertise, promote

and market Defendants’ business, Paradise Lakes, and/or Paradise Lakes’ events and activities as

described in this Complaint was false and misleading.

       491.     Defendants’ unauthorized use of Coulter’s image, likeness and/or identity as

described in this Complaint constitutes false advertising by suggesting or implying, among other

things, that Coulter worked at or was otherwise affiliated with Paradise Lakes, endorsed

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Defendants’ business, Paradise Lakes or Paradise Lakes’ events or activities, or consented to or

authorized Defendants’ usage of his image in order to advertise, promote, and market

Defendants’ business or Paradise Lakes’ events and activities and/or that Coulter would

participate in or appear at the specific events promoted in the advertisement.

       492.    Defendants’ false advertising described above has the capacity or tendency to

confuse consumers, including actual and prospective patrons of Paradise Lakes, as to the general

quality of attendees and participants of Paradise Lakes and in its events, as well as specifically

whether Coulter worked at or was otherwise affiliated with Paradise Lakes, endorsed

Defendants’ business, Paradise Lakes or Paradise Lakes’ events or activities, or consented to or

authorized Defendants’ usage of his image in order to advertise, promote, and market

Defendants’ business or Paradise Lakes’ events and activities.

       493.    Upon information and belief, Defendants’ false advertising described above did,

in fact, deceive and/or cause consumer confusion as to whether Coulter worked at or was

otherwise affiliated with Paradise Lakes, endorsed Defendants’ business, Paradise Lakes or

Paradise Lakes’ events and activities, or consented to or authorized Defendants’ usage of his

image in order to advertise, promote, and market Defendants’ business or Paradise Lakes’ events

and activities. Among other things, upon information and belief, such unauthorized use misled

and served to entice consumers and prospective consumers to join Paradise Lakes, visit Paradise

Lakes, and participate in events at Paradise Lakes and had a material effect and impact on the

decision of members and prospective members and participants to join Paradise Lakes, visit

Paradise Lakes and take part in the events at Paradise Lakes.

       494.    Defendants’ advertisements, promotions and marketing of Paradise Lakes and

events at Paradise Lakes occur in and are targeted to interstate commerce.                 Specifically,

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Defendants promote their business and events through interstate promotions and campaigns to

target persons from different states throughout the United States. Defendants principally use the

World Wide Web, social media and other vehicles of interstate commerce to advertise, market,

promote, and entice or lure membership and attendance at Paradise Lakes’ events.

       495.    Defendants’ unauthorized use of Coulter’s image, likeness and/or identity as

described herein was designed to benefit Defendants’ business interests by, among other things,

promoting Paradise Lakes and its activities and attracting clientele to Paradise Lakes.

       496.    Defendants knew or should have known that their unauthorized use of Coulter’s

image, likeness and/or identity would cause consumer confusion as described in this Complaint.

       497.    Defendants’ unauthorized use of Coulter’s image, likeness and/or identity as

described herein violates 15 U.S.C. §1125(a) and was wrongful.

       498.    Defendants’ wrongful conduct as described herein was willful.

       499.    As such, the present case is an exceptional case warranting an award of

reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117.

       500.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct, acted with intent to deprive Coulter of a property interest, and further acted with actual

or constructive knowledge of the high probability that injury or damage would result to Coulter.

       501.    The method and manner in which Defendants used the image of Coulter further

evinces that Defendants were aware of or consciously disregarded the fact that Coulter did not

consent to Defendants’ use of the image to advertise Defendants’ business.

       502.    Defendants have caused irreparable harm to Coulter, his reputation and brand by

attributing to Coulter the nudist lifestyle and activities at Paradise Lakes.



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            503.   Defendants’ unauthorized use of Coulter’s image, likeness and/or identity directly

and proximately caused and continue to cause damage to Coulter in an amount to be determined

at trial.

            WHEREFORE, Coulter respectfully requests that the Court issue a judgment against

Defendants and grant actual, or compensatory, damages in an amount to be determined at trial,

lost profits, disgorgement of profits earned directly or indirectly by Defendants’ unlawful use,

attorneys’ fees and costs, prejudgment and post-judgment interest, and/or such further relief that

is just and proper.

                                      COULTER COUNT II
                       (Violation of Fla. Stat. § 540.08: Right of Publicity;
             Unauthorized Misappropriation of Name/Likeness against all Defendants)

            504.   Plaintiff Coulter re-alleges paragraphs 1 through 40, 76 through 87, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

            505.   Coulter has a statutory right of publicity under Section 540.08, Florida Statutes.

            506.   Section 540.08, Florida Statutes, provides that: “[n]o person shall publish, print,

display or otherwise publicly use for purposes of trade or for any commercial or advertising

purpose the name, portrait, photograph, or other likeness of any natural person without the

express written or oral consent to such use.”

            507.   Despite the clear language of Section 540.08, Defendants published Coulter’s

image, likeness and/or identity on social media outlets, among others, in order to promote,

advertise and market Paradise Lakes and Paradise Lakes’ event and activities.

            508.   Coulter’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit D.



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       509.    Defendants never sought permission or authority to use Coulter’s image, likeness

and/or identity to advertise, promote, market or endorse Defendants’ business, Paradise Lakes or

any Paradise Lakes’ event or activity.

       510.    Coulter never consented to, permitted, assigned, licensed, or otherwise agreed to

Defendants’ use of his image, likeness and/or identity to advertise, promote, market or endorse

Defendants’ business, Paradise Lakes, or any Paradise Lakes’ event or activity.

       511.    Defendants intentionally or, at a minimum, recklessly published, printed,

displayed, or otherwise publicly disseminated or used Coulter’s image, likeness and/or identity

without his express written or oral consent, for purposes of trade or for other commercial or

advertising purposes as detailed in this Complaint.

       512.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct and acted with intent or with reckless disregard to deprive Coulter of a property interest

during the entire time period in which the unauthorized use took place.

       513.    At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Coulter’s rights.

       514.    Alternatively, Defendants acted negligently towards Coulter in using and

disseminating, without authority, his image, likeness and/or identity on social media outlets in

order to promote, advertise and market Paradise Lakes and Paradise Lakes’ events and activities.

       515.    Defendants have caused irreparable harm to Coulter, his reputation and brand by

attributing to Coulter the nudist lifestyle and activities at Paradise Lakes.

       516.    Defendants have also damaged Coulter as a direct and proximate result of their

unauthorized use of Coulter’s image, likeness and/or identity without compensating Coulter.

Defendants’ conduct has been despicable and taken in conscious disregard of Coulter’s rights.

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Accordingly, Coulter is entitled to an award of punitive damages against Defendants in an

amount sufficient to punish and make an example of Defendants. Therefore, Coulter reserves the

right to seek punitive damages according to proof and pursuant to Fla. Stat. §768.72.

       WHEREFORE, Coulter respectfully requests that the Court issue a judgment against

Defendants for all remedies available under Fla. Stat. §540.08, including but not limited to, both

actual loss and damages, punitive damages according to proof, costs, interest, royalties, and

restitution of Defendants’ unlawful proceeds, including Defendants’ profits and other relief

deemed just and proper by this Court.

                                COULTER COUNT III
                    (Violation of Common Law Right of Publicity;
       Unauthorized Misappropriation of Name or Likeness against all Defendants)

       517.     Plaintiff Coulter re-alleges paragraphs 1 through 40, 76 through 87, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       518.     Coulter has a common law right of publicity.

       519.     Defendants may not publish, print, display or publicly use for purposes of trade or

for any commercial or advertising purpose the name, portrait, photograph, or other likeness of

Coulter without express written or oral consent to such use.

       520.     Defendants published, printed, displayed and/or publicly used Coulter’s image,

likeness and/or identity on their social media outlets, among others, for purposes of trade and/or

commercial advertising including, but not limited to, promoting, advertising and marketing

Paradise Lakes and Paradise Lakes’ events and activities.

       521.     Coulter’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit D.



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       522.    Defendants took these actions without Coulter’s permission, consent or authority.

In fact, Defendants never sought permission nor authority to use Coulter’s image, likeness and/or

identity to advertise, promote, market or endorse Defendants’ business, Paradise Lakes, or any

Paradise Lakes’ event or activity.

       523.    Coulter never consented to, permitted, assigned, licensed, or otherwise agreed to

Defendants’ use of his image, likeness and/or identity to advertise, promote, market or endorse

Defendants’ business, Paradise Lakes or any Paradise Lakes’ event or activity.

       524.    Defendants intentionally or, at a minimum, recklessly, published, printed,

displayed, or otherwise publicly disseminated or used Coulter’s image, likeness and/or identity

without his express written or oral consent, for purposes of trade or for other commercial or

advertising purposes as detailed in this Complaint.

       525.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct and acted with intent or reckless disregard to deprive Coulter of a property interest

during the entire time period in which the unauthorized use took place.

       526.    At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Coulter’s rights.

       527.    Alternatively, Defendants acted negligently towards Coulter in using and

disseminating, without authority, his image, likeness and/or identity on Paradise Lakes’ social

media outlets in order to promote, advertise and market Paradise Lakes and Paradise Lakes’

events and activities.

       528.    Defendants have caused irreparable harm to Coulter, his reputation and brand by

attributing to Coulter the nudist lifestyle and activities at Paradise Lakes.



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        529.    Defendants have also damaged Coulter as a direct and proximate result of their

unauthorized use of Coulter’s image, likeness and/or identity without compensating Coulter.

        WHEREFORE, Coulter respectfully requests that the Court issue a judgment against

Defendants for all remedies available under a claim of misappropriation including, but not

limited to, actual damages, costs, interest, and restitution of Defendants’ unlawful proceeds,

including Defendants’ profits and other relief deemed just and proper by this Court.

                                  COULTER COUNT IV
                              (Violation of Fla. Stat. § 501.204:
         Florida’s Deceptive and Unfair Trade Practices Act against all Defendants)

        530.    Plaintiff Coulter re-alleges paragraphs 1 through 40, 76 through 87, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

        531.    Section 501.204(1), Florida Statutes (“FDUTPA”) provides that “[u]nfair methods

of competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

conduct of any trade or commerce are hereby declared unlawful.”

        532.    Defendants are direct and active participants in market dealings with Coulter by

using his image to advertise and promote Paradise Lakes not only to patrons of Paradise Lakes,

but to the general public in interstate commerce.

        533.    Coulter’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit D.

        534.    Defendants at all material times were engaged in a trade or commerce, as defined

within Section 501.203, Florida Statutes.

        535.    Defendants have engaged in deceptive acts and unfair practices in the course of

their business activities by:



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       a.      failing to obtain consent from Coulter prior to promoting Defendants’ business by

       and through the misappropriation and use of Coulter’s image, likeness and/or identity;

       b.      failing to obtain authorization from Coulter prior to the publication of Coulter’s

       image, likeness and/or identity on Paradise Lakes’ social media outlets;

       c.      failing to compensate Coulter for the misappropriation and use of his image,

       likeness and/or identity on Paradise Lakes’ social media outlets;

       d.      falsely representing by implication to the public that Coulter endorsed the

       Defendants’ business, or would be present at and participate in Paradise Lakes’ events;

       and

       e.      falsely representing by implication that Coulter sanctioned the type of business,

       events, lifestyle, or other activities promoted by Defendants.

       536.    Defendants’ conduct described herein was misleading.

       537.    Defendants knew their unauthorized use of Coulter’s image, likeness and/or

identity was misleading.

       538.    Defendants’ unauthorized use of Coulter’s image, likeness and/or identity as

detailed herein violates Section 501.204(1), Florida Statutes, and was wrongful.

       539.    Defendants’ wrongful conduct as detailed herein was willful and malicious.

       540.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct, acted with intent to deprive Coulter of a property interest, and further acted with actual

or constructive knowledge of the high probability that injury or damage would result to Coulter.

       541.    At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Coulter’s rights.



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          542.   Alternatively, the method and manner in which Defendants used Coulter’s image,

likeness and/or identity further evinces that Defendants were aware or consciously disregarded

that Coulter did not consent to Defendants’ use to advertise Defendants’ business.

          543.   Defendants have caused irreparable harm to Coulter, his reputation and brand by

attributing to Coulter the nudist lifestyle and activities at Paradise Lakes.

          544.   Defendants’ unauthorized use of Coulter’s image, likeness and/or identity directly

and proximately caused damage to Coulter in an amount to be determined at trial.

          WHEREFORE, Coulter respectfully requests that the Court issue a judgment against

Defendants for actual damages, including loss of profit, attorneys’ fees, interest, costs,

compensatory damages, damage to professional reputation, consequential damages, statutory

civil penalties under Fla. Stat. § 501.2075, and such other relief as this Court deems just and

proper.

                                      COULTER COUNT V
                     (Violation of Fla. Stat. § 812.014 and Fla. Stat. § 772.11:
                                Civil Theft against all Defendants)

          545.   Plaintiff Coulter re-alleges paragraphs 1 through 40, 76 through 87, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

          546.   Section 772.11, Florida Statutes, creates a private right of action for victims of

theft of tangible and intangible personal property, including rights, privileges, interests and

claims.

          547.   Defendants knowingly appropriated, used and disseminated Coulter’s image,

likeness and/or identity without authorization or consent.

          548.   Coulter’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit D.

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       549.    Defendants’ misappropriation of Coulter’s image, likeness and/or identity was for

Defendants’ own use and benefit and to deprive Coulter of certain rights.

       550.    Defendants’ misconduct detailed in this Complaint denied Coulter the right to

engage in arms-length negotiations over the use and dissemination of his image, likeness and/or

identity, the right to negotiate over reasonable bargained-for compensation, the right to say “no”

to the proposed use by Defendants and the right to otherwise protect his image, likeness and/or

identity from harm at the hands of the Defendants.

       551.    Defendants’ appropriation of Coulter’s image, likeness and/or identity as detailed

herein without authority violates Sections 772.11 and 812.014, Florida Statutes, and was

wrongful.

       552.    Defendants’ wrongful conduct as detailed herein was willful and malicious.

       553.    Defendants had actual or constructive knowledge of the wrongfulness of their

conduct, acted with intent to deprive Coulter of a property interest, and further acted with actual

or constructive knowledge of the high probability that injury or damage would result to Coulter.

       554.    At a minimum, Defendants’ conduct was so reckless or wanton in care that it

constituted a conscious disregard of or indifference to Coulter’s rights.

       555.    Alternatively, the method and manner in which Defendants used Coulter’s image,

likeness and/or identity further evinces that Defendants were aware or consciously disregarded

the fact that Coulter did not consent to Defendants’ use in order to advertise Defendants’

business.

       556.    Defendants’ appropriation and use of Coulter’s image, likeness and/or identity

without authority directly and proximately caused damage to Coulter in an amount to be

determined at trial.

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       WHEREFORE, Coulter respectfully requests that the Court issue a judgment against

Defendants for all remedies available under Fla. Stat. § 772.11(1), including but not limited to,

treble the amount of actual damages, costs, interest, and attorneys’ fees and other relief deemed

just and proper by this Court.

                                     COULTER COUNT VI
                            (Unjust Enrichment against all Defendants)

       557.     Plaintiff Coulter re-alleges paragraphs 1 through 40, 76 through 87, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       558.     Coulter has conferred a benefit upon Defendants by virtue of Defendants’ usage

of his image without compensation.

       559.     Coulter’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit D.

       560.     Defendants were aware that Coulter’s image, likeness and/or identity were

valuable.

       561.     Defendants were aware of the resulting benefit from usage of Coulter’s image,

likeness and/or identity.

       562.     Defendants have retained profits and other benefits conferred upon them by using

Coulter’s image, likeness and/or identity to promote and advertise Defendants’ business,

Paradise Lakes, or Paradise Lakes’ events.

       563.     It would be inequitable for Defendants to retain the benefits conferred upon them

by using Coulter’s image, likeness and/or identity without paying fair value for the image.

       WHEREFORE, Coulter respectfully requests that the Court issue a judgment against

Defendants for damages, including but not limited to actual damages, costs, interest, imposition


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of a constructive trust, restitution of unlawful proceeds, including Defendants’ gross profits and

such other and further relief in law or equity as this Court deems just and proper.

                                   COULTER COUNT VII
                         (Unlawful Conversion against all Defendants)

       564.     Plaintiff Coulter re-alleges paragraphs 1 through 40, 76 through 87, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       565.     Coulter is, and at relevant times was, the exclusive owner of all rights, title, and

interest to his image, likeness and/or identity unlawfully converted by Defendants for

Defendants’ benefit.

       566.     Coulter’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit D.

       567.     Coulter has, and for all times relevant herein had, an intangible property interest

in his image, likeness and/or identity unlawfully converted by Defendants for Defendants’

benefit.

       568.     By their acts and conduct alleged above, Defendants have converted Coulter’s

property rights, including without limitation, Coulter’s image, likeness and/or identity for

Defendants’ use and wrongful disposition for financial gain.

       569.     Coulter is informed and believes and on such information alleges that Defendants

have refused to return Coulter’s property to him or pay for the deprivation of Coulter’s property.

       570.     As a result, Coulter has suffered compensatory, punitive and exemplary damages

to be determined according to proof at trial; but Coulter alleges that the same are within the

jurisdiction of the Court.

       571.     Further, Coulter is informed and believes and thereon alleges that in engaging in

the conduct described above, Defendants acted with oppression, fraud, and/or malice.
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Defendants’ conduct has been despicable and taken in conscious disregard of Coulter’s rights.

Accordingly, Coulter is entitled to an award of punitive damages against Defendants in an

amount sufficient to punish and make an example of Defendants. Therefore, Coulter reserves the

right to seek punitive damages according to proof and pursuant to Fla. Stat. §768.72.

       WHEREFORE, Coulter respectfully requests this Court to issue a judgment against

Defendants and for all remedies available under the common law claim for conversion, including

but not limited to actual damages, costs, interest, punitive damages according to proof, and

restitution of Defendants’ unlawful proceeds, including Defendants’ profits, and/or other relief

deemed just and proper.

                                   COULTER COUNT VIII
                          (Unfair Competition against all Defendants)

       572.     Plaintiff Coulter re-alleges paragraphs 1 through 40, 76 through 87, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       573.     Coulter is, and at all relevant times was, the exclusive owner of all rights, title,

and interest in and to his image, likeness and identity and possession thereof in Florida.

       574.     Coulter’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit D.

       575.     Coulter has not authorized or licensed Defendants to reproduce, distribute,

disseminate, or otherwise exploit his image, likeness and/or identity in any manner.

       576.     Defendants were not entitled to or authorized to reproduce, distribute, disseminate

or otherwise exploit Coulter’s image, likeness and/or identity.

       577.     Coulter has expended significant time, labor, and money in the making and

marketing of his image, likeness and identity. Defendants have paid nothing to Coulter for

reproducing, distributing, disseminating, or otherwise exploiting Coulter’s image, likeness and/or
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identity. Without expending any time, labor, money or marketing of their own, Defendants

simply appropriated the commercial qualities, reputation, and salable properties of Coulter,

including without limitation Coulter’s image, likeness and/or identity, by unfairly and directly

competing with Coulter’s use, sale, distribution, and exploitation of his image, likeness and/or

identity.

        578.   In so doing, Defendants have undermined Coulter’s substantial and financial

investment in himself for Defendants’ own commercial benefit and have commercially damaged

the market value of Coulter’s image, likeness and/or identity.

        579.   Defendants have usurped for themselves the fruits of Coulter’s popularity and

fame.

        580.   Defendants have profited from the results of Coulter’s hard work modeling and

from his portfolio and skill without having to incur any expense in relation to Coulter’s image,

likeness and/or identity.

        581.   Furthermore, Defendants’ unauthorized use of Coulter’s image, likeness and/or

identity has likely caused confusion, mistake, or deception as to the source, sponsorship,

affiliation, or connection between Coulter and Paradise Lakes.

        582.   Defendants’ acts constitute unfair competition involving the misappropriation of

Coulter’s image, likeness and/or identity.

        583.   As a direct and proximate result of Defendants’ misappropriation and unfair

competition, Coulter is entitled to recover all proceeds and other compensation received or to be

received by Defendants from the misappropriation and unfair competition of Coulter’s image,

likeness and/or identity.



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         584.   Coulter has been damaged and Defendants have been unjustly enriched, in an

amount to be proved at trial; but Coulter alleges that the same are within the jurisdiction of the

Court.

         585.   Coulter is informed and believes and thereon alleges that in engaging in the

conduct described above, Defendants acted with oppression, fraud, and/or malice. Defendants’

conduct has been despicable and taken in conscious disregard of Coulter’s rights. Accordingly,

Coulter is entitled to an award of punitive damages against Defendants in the amount sufficient

to punish and make an example of Defendants. Therefore, Coulter reserves the right to seek

punitive damages according to proof and pursuant to Fla. Stat. §768.72

         WHEREFORE, Coulter respectfully requests this Court to enter a judgment against

Defendants for all remedies available under a claim of unfair competition of Defendants’

misappropriated image, likeness and/or identity of Coulter, including but not limited to actual

damages, punitive damages according to proof, consequential damages, and further relief in law

or equity as this Court deems just and proper.

                                  COULTER COUNT IX
                    (Fraudulent Misrepresentation against all Defendants)

         586.   Plaintiff Coulter re-alleges paragraphs 1 through 40, 76 through 87, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

         587.   Coulter is informed and believes and herein alleges that Defendants

misrepresented to the public Coulter’s patronage, connection, or sponsorship with Paradise

Lakes for the purposes of financial gain.

         588.   The misrepresentations      by     Defendants      include,     but    are   not   limited

to misrepresentations of material facts in Defendants’ advertisement, which purposefully

contained Paradise Lakes’ logos next to the face and body of Coulter.
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         589.   Coulter is informed and believes and alleges that Defendants knew that Coulter

was not legally connected or working at or for Defendants.

         590.   Coulter is informed and believes and herein alleges that Defendants published the

image, likeness and/or identity of Coulter as if he worked for or endorsed Paradise Lakes, either

hosting, supporting, or appearing at an event at Paradise Lakes in order to target specific

audiences and to draw in big spending clients who were/are hoping to meet Coulter.

         591.   Coulter’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit D.

         592.   The misrepresentations and/or acts of fraud by Defendants were perpetuated

directly and indirectly by Defendants and their sales representatives, employees, and/or agents.

         593.   The misrepresentations by Defendants constitute a continuing tort.

         594.   Coulter is informed and believes and herein alleges that injury resulted to himself

and the general public when the public justifiably relied on Defendants’ misleading

advertisement and paid the membership and/or entry fees to visit Paradise Lakes on December

27, 2013 to their detriment.

         595.   Coulter is entitled to restitution of the reasonable value of the benefit derived by

Defendants for the unauthorized use Defendants made of Coulter’s image, likeness and/or

identity.

         596.   As a result of Defendants’ conduct, Coulter suffered damages to be determined

according to proof at trial; but Coulter alleges that the same are within the jurisdiction of the

Court.




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       WHEREFORE, Coulter respectfully requests to enter judgment against Defendants for

damages, including but not limited to actual damages, costs, interest, and such other and further

relief in law or equity as this Court deems just and proper.

                                      COULTER COUNT X
                                (Negligence against all Defendants)

       597.     Plaintiff Coulter re-alleges paragraphs 1 through 40, 76 through 87, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       598.     Under the circumstances stated herein, Defendants owed a duty of care towards

Coulter.

       599.     Among other things, that duty included the obligation to deal with Coulter and his

image, likeness and/or identity in a commercially reasonable and prudent manner, to not use

Coulter’s image, likeness and/or identity in derogation of his rights, and to not cause harm to

Coulter.

       600.     Defendants breached that duty by using Coulter’s image, likeness and/or identity

without Coulter’s authorization, permission or consent.

       601.     Coulter’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit D.

       602.     Defendants’ conduct and breach as described above directly and proximately

caused injury to Coulter’s reputation, brand, goodwill and livelihood for which he has suffered

damages. Further, Coulter is informed and believes and thereon alleges that in engaging in the

conduct described above, Defendants acted with oppression, fraud, and/or malice. Defendants’

conduct has been despicable and taken in conscious disregard of Coulter’s rights. Accordingly,

Coulter is entitled to an award of punitive damages against Defendants in an amount sufficient to


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punish and make an example of Defendants. Therefore, Coulter reserves the right to seek

punitive damages according to proof and pursuant to Fla. Stat. §768.72.

       WHEREFORE, Coulter respectfully requests that the Court enter judgment against

Defendants for damages, including but not limited to actual damages, punitive damages

according to proof, costs, interest, and such other and further relief in law or equity as this Court

deems just and proper.

                                  COULTER COUNT XI
           (Violation of the Respondeat Superior Doctrine against all Defendants)

       603.     Plaintiff Coulter re-alleges paragraphs 1 through 40, 76 through 87, and 99

through 104 above, and incorporates the same by reference as though fully set forth herein.

       604.     Under the circumstances stated herein, Defendants owed a duty of care towards

Coulter.

       605.     Among other things, that duty included the obligation to deal with Coulter and his

image, likeness and/or identity in a commercially reasonable and prudent manner, to not use

Coulter’s image, likeness and/or identity in derogation of his rights, and to not cause harm to

Coulter.

       606.     Coulter’s image, likeness and/or identity are recognizable in the photo identified

in Exhibit D.

       607.     Defendants breached that duty by using Coulter’s image, likeness and/or identity

without Coulter’s authorization, permission or consent.

       608.     Defendants’ conduct and breach as described above directly and proximately

caused injury to Coulter’s reputation, brand, goodwill and livelihood for which he has suffered

damages.


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          609.   In addition, Defendants and/or their agents promulgated policies and procedures

 concerning the prevention of misappropriation of images, likenesses and identities. Yet,

 Defendants negligently failed to enforce those policies, communicate them to their employees, or

 to supervise their employees to ensure that these policies and both State and Federal Law were

 not violated.

          610.   Pleading alternatively, Defendants and/or their agents failed to promulgate

 policies and procedures concerning the prevention of misappropriation of images, likenesses and

 identities and, as such, are liable to Coulter for the harm that failure caused to Coulter.

          611.   More specifically, Defendants had a duty to all members of the public, namely to

 Coulter, to refrain from the misappropriation of his image, likeness and/or identity. Defendants

 violated that duty by negligent hiring, screening, retaining, supervising, and training of their

 employees and agents.

          612.   As a result of Defendants’ conduct, Coulter suffered damages to be determined

 according to proof at trial; but Coulter alleges that the same are within the jurisdiction of the

 Court.

          WHEREFORE, Coulter respectfully requests that the Court issue a judgment against

 Defendants for damages, including but not limited to actual damages, costs, interest, and such

 other and further relief in law or equity as this Court deems just and proper.

                               Plaintiff Maysa Quy’s Causes of Action

                                         QUY COUNT I
                       (Violation of the Lanham Act, 15 U.S.C. § 1125(a):
                            False Advertising against all Defendants)

          613.   Plaintiff Quy re-alleges paragraphs 1 through 40 and 88 through 104 above, and

 incorporates the same by reference as though fully set forth herein.

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        614.    Section 43 of the Lanham Act, 15 U.S.C. § 1125, et seq. applies to Defendants

 and protects Quy from the conduct described herein. Specifically, the Lanham Act prohibits a

 party in commercial advertising and promotion from “misrepresent[ing] the nature,

 characteristics, qualities or geographic origin of his or her or another person’s goods, services or

 commercial activities . . . .” 15 U.S.C. §1125(a)(1)(B).

        615.    Defendants used Quy’s image, likeness and/or identity as described herein

 without authority in order to create the perception that Quy worked at or was otherwise affiliated

 with Paradise Lakes, endorsed Defendants’ business and activities, and/or consented to or

 authorized Defendants to use her image in order to advertise, promote, and market Defendants’

 business, Paradise Lakes, and/or Paradise Lakes’ events and activities.

        616.    Quy’s image, likeness and/or identity are recognizable in the photo identified in

 Exhibit E.

        617.    Defendants’ use of Quy’s image, likeness and/or identity to advertise, promote

 and market Defendants’ business, Paradise Lakes, and/or Paradise Lakes’ events and activities as

 described in this Complaint was false and misleading.

        618.    Defendants’ unauthorized use of Quy’s image, likeness and/or identity as

 described in this Complaint constitutes false advertising by suggesting or implying, among other

 things, that Quy worked at or was otherwise affiliated with Paradise Lakes, endorsed

 Defendants’ business, Paradise Lakes or Paradise Lakes’ events or activities, or consented to or

 authorized Defendants’ usage of her image in order to advertise, promote, and market

 Defendants business or Paradise Lakes’ events and activities and/or that Quy would participate

 in or appear at the specific events promoted in the advertisements.



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        619.    Defendants’ false advertising described above has the capacity or tendency to

 confuse consumers, including actual and prospective patrons of Paradise Lakes, as to the general

 quality of attendees and participants of Paradise Lakes and in its events, as well as specifically

 whether Quy worked at or was otherwise affiliated with Paradise Lakes, endorsed Defendants’

 business, Paradise Lakes or Paradise Lakes’ events or activities, or consented to or authorized

 Defendants’ usage of her image in order to advertise, promote, and market Defendants’ business

 or Paradise Lakes’ events and activities.

        620.    Upon information and belief, Defendants’ false advertising described above did,

 in fact, deceive and/or cause consumer confusion as to whether Quy worked at or was otherwise

 affiliated with Paradise Lakes, endorsed Defendants’ business, Paradise Lakes or Paradise

 Lakes’ events and activities, or consented to or authorized Defendants’ usage of her image in

 order to advertise, promote, and market Defendants’ business or Paradise Lakes’ events and

 activities. Among other things, upon information and belief, such unauthorized use misled and

 served to entice consumers and prospective consumers to join Paradise Lakes, visit Paradise

 Lakes, and participate in events at Paradise Lakes and had a material effect and impact on the

 decision of members and prospective members and participants to join Paradise Lakes, visit

 Paradise Lakes and take part in the events at Paradise Lakes.

        621.    Defendants’ advertisements, promotions and marketing of Paradise Lakes and

 events at Paradise Lakes occur in and are targeted to interstate commerce. Specifically,

 Defendants promote their business and events through interstate promotions and campaigns to

 target persons from different states throughout the United States. Defendants principally use the

 World Wide Web, social media and other vehicles of interstate commerce to advertise, market,

 promote, and entice or lure membership and attendance at Paradise Lakes’ events.

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          622.   Defendants’ unauthorized use of Quy’s image, likeness and/or identity as

 described herein was designed to benefit Defendants’ business interests by, among other things,

 promoting Paradise Lakes and its activities and attracting clientele to Paradise Lakes.

          623.   Defendants knew or should have known that their unauthorized use of Quy’s

 image, likeness and/or identity would cause consumer confusion as described in this Complaint.

          624.   Defendants’ unauthorized use of Quy’s image, likeness and/or identity as

 described herein violates 15 U.S.C. §1125(a) and was wrongful.

          625.   Defendants’ wrongful conduct as described herein was willful.

          626.   As such, the present case is an exceptional case warranting an award of

 reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117.

          627.   Defendants had actual or constructive knowledge of the wrongfulness of their

 conduct, acted with intent to deprive Quy of a property interest, and further acted with actual or

 constructive knowledge of the high probability that injury or damage would result to Quy.

          628.   The method and manner in which Defendants used the image of Quy further

 evinces that Defendants were aware of or consciously disregarded the fact that Quy did not

 consent to Defendants’ use of the image to advertise Defendants’ business.

          629.   Defendants have caused irreparable harm to Quy, her reputation and brand by

 attributing to Quy the nudist lifestyle and activities at Paradise Lakes.

          630.   Defendants’ unauthorized use of Quy’s image, likeness and/or identity directly

 and proximately caused and continue to cause damage to Quy in an amount to be determined at

 trial.

          WHEREFORE, Quy respectfully requests that the Court issue a judgment against

 Defendants and grant actual, or compensatory, damages in an amount to be determined at trial,

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 lost profits, disgorgement of profits earned directly or indirectly by Defendants’ unlawful use,

 attorneys’ fees and costs, prejudgment and post-judgment interest, and/or such further relief that

 is just and proper.

                                      QUY COUNT II
                    (Violation of Fla. Stat. § 540.08: Right of Publicity;
          Unauthorized Misappropriation of Name/Likeness against all Defendants)

        631.    Plaintiff Quy re-alleges paragraphs 1 through 40 and 88 through 104 above, and

 incorporates the same by reference as though fully set forth herein.

        632.    Quy has a statutory right of publicity under Section 540.08, Florida Statutes.

        633.    Section 540.08, Florida Statutes, provides that: “[n]o person shall publish, print,

 display or otherwise publicly use for purposes of trade or for any commercial or advertising

 purpose the name, portrait, photograph, or other likeness of any natural person without the

 express written or oral consent to such use.”

        634.    Despite the clear language of Section 540.08, Defendants published Quy’s image,

 likeness and/or identity on social media outlets, among others, in order to promote, advertise and

 market Paradise Lakes and Paradise Lakes’ event and activities.

        635.    Quy’s image, likeness and/or identity are recognizable in the photo identified in

 Exhibit E.

        636.    Defendants never sought permission or authority to use Quy’s image, likeness

 and/or identity to advertise, promote, market or endorse Defendants’ business, Paradise Lakes or

 any Paradise Lakes’ event or activity.

        637.    Quy never consented to, permitted, assigned, licensed, or otherwise agreed to

 Defendants’ use of her image, likeness and/or identity to advertise, promote, market or endorse

 Defendants’ business, Paradise Lakes or any Paradise Lakes’ event or activity.

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        638.    Defendants intentionally or, at a minimum, recklessly published, printed,

 displayed, or otherwise publicly disseminated or used Quy’s image, likeness and/or identity

 without her express written or oral consent, for purposes of trade or for other commercial or

 advertising purposes as detailed in this Complaint.

        639.    Defendants had actual or constructive knowledge of the wrongfulness of their

 conduct and acted with intent or with reckless disregard to deprive Quy of a property interest

 during the entire time period in which the unauthorized use took place.

        640.    At a minimum, Defendants’ conduct was so reckless or wanton in care that it

 constituted a conscious disregard of or indifference to Quy’s rights.

        641.    Alternatively, Defendants acted negligently towards Quy in using and

 disseminating, without authority, her image, likeness and/or identity on social media outlets in

 order to promote, advertise and market Paradise Lakes and Paradise Lakes’ events and activities.

        642.    Defendants have caused irreparable harm to Quy, her reputation and brand by

 attributing to Quy the nudist lifestyle and activities at Paradise Lakes.

        643.    Defendants have also damaged Quy as a direct and proximate result of their

 unauthorized use of Quy’s image, likeness and/or identity without compensating Quy.

 Accordingly, Quy is entitled to an award of punitive damages against Defendants in an amount

 sufficient to punish and make an example of Defendants. Therefore, Quy reserves the right to

 seek punitive damages according to proof and pursuant to Fla. Stat. §768.72.

        WHEREFORE, Quy respectfully requests that the Court issue a judgment against

 Defendants for all remedies available under Fla. Stat. §540.08, including but not limited to, both

 actual loss and damages, punitive damages according to proof, costs, interest, royalties, and



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 restitution of Defendants’ unlawful proceeds, including Defendants’ profits and other relief

 deemed just and proper by this Court.

                                    QUY COUNT III
                     (Violation of Common Law Right of Publicity;
        Unauthorized Misappropriation of Name or Likeness against all Defendants)

        644.    Plaintiff Quy re-alleges paragraphs 1 through 40 and 88 through 104 above, and

 incorporates the same by reference as though fully set forth herein.

        645.    Quy has a common law right of publicity.

        646.    Defendants may not publish, print, display or publicly use for purposes of trade or

 for any commercial or advertising purpose the name, portrait, photograph, or other likeness of

 Quy without express written or oral consent to such use.

        647.    Defendants published, printed, displayed and/or publicly used Quy’s image,

 likeness and/or identity on their social media outlets, among others, for purposes of trade and/or

 commercial advertising including, but not limited to, promoting, advertising and marketing

 Paradise Lakes and Paradise Lakes’ events and activities.

        648.    Quy’s image, likeness and/or identity are recognizable in the photo identified in

 Exhibit E.

        649.    Defendants took these actions without Quy’s permission, consent or authority. In

 fact, Defendants never sought permission nor authority to use Quy’s image, likeness and/or

 identity to advertise, promote, market or endorse Defendants’ business, Paradise Lakes or any

 Paradise Lakes’ event or activity.

        650.    Quy never consented to, permitted, assigned, licensed, or otherwise agreed to

 Defendants’ use of her image, likeness and/or identity to advertise, promote, market or endorse

 Defendants’ business, Paradise Lakes or any Paradise Lakes’ event or activity.

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        651.    Defendants intentionally or, at a minimum, recklessly, published, printed,

 displayed, or otherwise publicly disseminated or used Quy’s image, likeness and/or identity

 without her express written or oral consent, for purposes of trade or for other commercial or

 advertising purposes as detailed in this Complaint.

        652.    Defendants had actual or constructive knowledge of the wrongfulness of their

 conduct and acted with intent or reckless disregard to deprive Quy of a property interest during

 the entire time period in which the unauthorized use took place.

        653.    At a minimum, Defendants’ conduct was so reckless or wanton in care that it

 constituted a conscious disregard of or indifference to Quy’s rights.

        654.    Alternatively, Defendants acted negligently towards Quy in using and

 disseminating, without authority, her image, likeness and/or identity on Paradise Lakes’ social

 media outlets in order to promote, advertise and market Paradise Lakes and Paradise Lakes’

 events and activities.

        655.    Defendants have caused irreparable harm to Quy, her reputation and brand by

 attributing to Quy the nudist lifestyle and activities at Paradise Lakes.

        656.    Defendants have also damaged Quy as a direct and proximate result of their

 unauthorized use of Quy’s image, likeness and/or identity without compensating Quy.

        WHEREFORE, Quy respectfully requests that the Court issue a judgment against

 Defendants for all remedies available under a claim of misappropriation including, but not

 limited to, actual damages, costs, interest, and restitution of Defendants unlawful proceeds,

 including Defendants’ profits and other relief deemed just and proper by this Court.




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                                       QUY COUNT IV
                               (Violation of Fla. Stat. § 501.204:
          Florida’s Deceptive and Unfair Trade Practices Act against all Defendants)

         657.    Plaintiff Quy re-alleges paragraphs 1 through 40 and 88 through 104 above, and

 incorporates the same by reference as though fully set forth herein.

         658.    Section 501.204(1), Florida Statutes (“FDUTPA”) provides that “[u]nfair methods

 of competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

 conduct of any trade or commerce are hereby declared unlawful.”

         659.    Defendants are direct and active participants in market dealings with Quy by

 using her image to advertise and promote Paradise Lakes not only to patrons of Paradise Lakes,

 but to the general public in interstate commerce.

         660.    Quy’s image, likeness and/or identity are recognizable in the photo identified in

 Exhibit E.

         661.    Defendants at all material times were engaged in a trade or commerce, as defined

 within Section 501.203, Florida Statutes.

         662.    Defendants have engaged in deceptive acts and unfair practices in the course of

 their business activities by:

         a.      failing to obtain consent from Quy prior to promoting Defendants’ business by

         and through the misappropriation and use of Quy’s image, likeness and/or identity;

         b.      failing to obtain authorization from Quy prior to the publication of Quy’s image,

         likeness and/or identity on Paradise Lakes’ social media outlets;

         c.      failing to compensate Quy for the misappropriation and use of her image, likeness

         and/or identity on Paradise Lakes’ social media outlets;



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        d.      falsely representing by implication to the public that Quy endorsed the

        Defendants’ business, or would be present at and participate in Paradise Lakes’ events;

        and

        e.      falsely representing by implication that Quy sanctioned the type of business,

        events, lifestyle, or other activities promoted by Defendants.

        663.    Defendants’ conduct described herein was misleading.

        664.    Defendants knew their unauthorized use of Quy’s image, likeness and/or identity

 was misleading.

        665.    Defendants’ unauthorized use of Quy’s image, likeness and/or identity as detailed

 herein violates Section 501.204(1), Florida Statutes, and was wrongful.

        666.    Defendants’ wrongful conduct as detailed herein was willful and malicious.

        667.    Defendants had actual or constructive knowledge of the wrongfulness of their

 conduct, acted with intent to deprive Quy of a property interest, and further acted with actual or

 constructive knowledge of the high probability that injury or damage would result to Quy.

        668.    At a minimum, Defendants’ conduct was so reckless or wanton in care that it

 constituted a conscious disregard of or indifference to Quy’s rights.

        669.    Alternatively, the method and manner in which Defendants used Quy’s image,

 likeness and/or identity further evinces that Defendants were aware or consciously disregarded

 that Quy did not consent to Defendants’ use to advertise Defendants’ business.

        670.    Defendants have caused irreparable harm to Quy, her reputation and brand by

 attributing to Quy the nudist lifestyle and activities at Paradise Lakes.

        671.    Defendants’ unauthorized use of Quy’s image, likeness and/or identity directly

 and proximately caused damage to Quy in an amount to be determined at trial.

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           WHEREFORE, Quy respectfully requests that the Court issue a judgment against

 Defendants for actual damages, including loss of profit, attorneys’ fees, interest, costs,

 compensatory damages, damage to professional reputation, consequential damages, statutory

 civil penalties under Fla. Stat. § 501.2075, and such other relief as this Court deems just and

 proper.

                                           QUY COUNT V
                      (Violation of Fla. Stat. § 812.014 and Fla. Stat. § 772.11:
                                 Civil Theft against all Defendants)

           672.   Plaintiff Quy re-alleges paragraphs 1 through 40 and 88 through 104 above, and

 incorporates the same by reference as though fully set forth herein.

           673.   Section 772.11, Florida Statutes, creates a private right of action for victims of

 theft of tangible and intangible personal property, including rights, privileges, interests and

 claims.

           674.   Defendants knowingly appropriated, used and disseminated Quy’s image, likeness

 and/or identity without authorization or consent.

           675.   Quy’s image, likeness and/or identity are recognizable in the photo identified in

 Exhibit E.

           676.   Defendants’ misappropriation of Quy’s image, likeness and/or identity was for

 Defendants’ own use and benefit and to deprive Quy of certain rights.

           677.   Defendants’ misconduct detailed in this Complaint denied Quy the right to engage

 in arms-length negotiations over the use and dissemination of her image, likeness and/or identity,

 the right to negotiate over reasonable bargained-for compensation, the right to say “no” to the

 proposed use by Defendants and the right to otherwise protect her image, likeness and/or identity

 from harm at the hands of the Defendants.

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             678.   Defendants’ appropriation of Quy’s image, likeness and/or identity as detailed

 herein without authority violates Sections 772.11 and 812.014, Florida Statutes, and was

 wrongful.

             679.   Defendants’ wrongful conduct as detailed herein was willful and malicious.

             680.   Defendants had actual or constructive knowledge of the wrongfulness of their

 conduct, acted with intent to deprive Quy of a property interest, and further acted with actual or

 constructive knowledge of the high probability that injury or damage would result to Quy.

             681.   At a minimum, Defendants’ conduct was so reckless or wanton in care that it

 constituted a conscious disregard of or indifference to Quy’s rights.

             682.   Alternatively, the method and manner in which Defendants used Quy’s image,

 likeness and/or identity further evinces that Defendants were aware or consciously disregarded

 the fact that Quy did not consent to Defendants’ use in order to advertise Defendants’ business.

             683.   Defendants’ appropriation and use of Quy’s image, likeness and/or identity

 without authority directly and proximately caused damage to Quy in an amount to be determined

 at trial.

             WHEREFORE, Quy respectfully requests that the Court issue a judgment against

 Defendants for all remedies available under Fla. Stat. § 772.11(1), including but not limited to,

 treble the amount of actual damages, costs, interest, and attorneys’ fees and other relief deemed

 just and proper by this Court.

                                           QUY COUNT VI
                               (Unjust Enrichment against all Defendants)

             684.   Plaintiff Quy re-alleges paragraphs 1 through 40 and 88 through 104 above, and

 incorporates the same by reference as though fully set forth herein.


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        685.    Quy has conferred a benefit upon Defendants by virtue of Defendants’ usage of

 her image without compensation.

        686.    Quy’s image, likeness and/or identity are recognizable in the photo identified in

 Exhibit E.

        687.    Defendants were aware that Quy’s image, likeness and/or identity were valuable.

        688.    Defendants were aware of the resulting benefit from usage of Quy’s image,

 likeness and/or identity.

        689.    Defendants have retained profits and other benefits conferred upon them by using

 Quy’s image, likeness and/or identity to promote and advertise Defendants’ business, Paradise

 Lakes or Paradise Lakes’ events.

        690.    It would be inequitable for Defendants to retain the benefits conferred upon them

 by using Quy’s image, likeness and/or identity without paying fair value for the image.

        WHEREFORE, Quy respectfully requests that the Court issue a judgment against

 Defendants for damages, including but not limited to actual damages, costs, interest, imposition

 of a constructive trust, restitution of unlawful proceeds, including Defendants’ gross profits and

 such other and further relief in law or equity as this Court deems just and proper.

                                         QUY COUNT VII
                             (Unlawful Conversion against all Defendants)

        691.    Plaintiff Quy re-alleges paragraphs 1 through 40 and 88 through 104 above, and

 incorporates the same by reference as though fully set forth herein.

        692.    Quy is, and at relevant times was, the exclusive owner of all rights, title, and

 interest to her image, likeness and/or identity unlawfully converted by Defendants for

 Defendants’ benefit.


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        693.    Quy’s image, likeness and/or identity are recognizable in the photo identified in

 Exhibit E.

        694.    Quy has, and for all times relevant herein had, an intangible property interest in

 her image, likeness and/or identity unlawfully converted by Defendants for Defendants’ benefit.

        695.    By their acts and conduct alleged above, Defendants have converted Quy’s

 property rights, including without limitation, Quy’s image, likeness and/or identity for

 Defendants’ use and wrongful disposition for financial gain.

        696.    Quy is informed and believes and on such information alleges that Defendants

 have refused to return Quy’s property to her or pay for the deprivation of Quy’s property.

        697.    As a result, Quy has suffered compensatory, punitive and exemplary damages to

 be determined according to proof at trial; but Quy alleges that the same are within the

 jurisdiction of the Court.

        698.    Further, Quy is informed and believes and thereon alleges that in engaging in the

 conduct described above, Defendants acted with oppression, fraud, and/or malice. Defendants’

 conduct has been despicable and taken in conscious disregard of Quy’s rights. Accordingly, Quy

 is entitled to an award of punitive damages against Defendants in an amount sufficient to punish

 and make an example of Defendants. Therefore, Quy reserves the right to seek punitive damages

 according to proof and pursuant to Fla. Stat. §768.72.

        WHEREFORE, Quy respectfully requests this Court to issue a judgment against

 Defendants and for all remedies available under the common law claim for conversion, including

 but not limited to actual damages, costs, interest, punitive damages according to proof, and

 restitution of Defendants’ unlawful proceeds, including Defendants’ profits, and/or other relief

 deemed just and proper.

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                                      QUY COUNT VIII
                           (Unfair Competition against all Defendants)

         699.   Plaintiff Quy re-alleges paragraphs 1 through 40 and 88 through 104 above, and

 incorporates the same by reference as though fully set forth herein.

         700.   Quy is, and at all relevant times was, the exclusive owner of all rights, title, and

 interest in and to her image, likeness and identity and possession thereof in Florida.

         701.   Quy’s image, likeness and/or identity are recognizable in the photo identified in

 Exhibit E.

         702.   Quy has not authorized or licensed Defendants to reproduce, distribute,

 disseminate, or otherwise exploit her image, likeness and/or identity in any manner.

         703.   Defendants were not entitled to or authorized to reproduce, distribute, disseminate

 or otherwise exploit Quy’s image, likeness and/or identity.

         704.   Quy has expended significant time, labor, and money in the making and

 marketing of her image, likeness and identity. Defendants have paid nothing to Quy for

 reproducing, distributing, disseminating, or otherwise exploiting Quy’s image, likeness and/or

 identity. Without expending any time, labor, money or marketing of their own, Defendants

 simply appropriated the commercial qualities, reputation, and salable properties of Quy,

 including without limitation Quy’s image, likeness and/or identity, by unfairly and directly

 competing with Quy’s use, sale, distribution, and exploitation of her image, likeness and/or

 identity.

         705.   In so doing, Defendants have undermined Quy’s substantial and financial

 investment in herself for Defendants’ own commercial benefit and have commercially damaged

 the market value of Quy’s image, likeness and/or identity.

         706.   Defendants have usurped for themselves the fruits of Quy’s popularity and fame.
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        707.    Defendants have profited from the results of Quy’s hard work modeling and from

 her portfolio and skill without having to incur any expense in relation to Quy’s image, likeness

 and/or identity.

        708.    Furthermore, Defendants’ unauthorized use of Quy’s image, likeness and/or

 identity has likely caused confusion, mistake, or deception as to the source, sponsorship,

 affiliation, or connection between Quy and Paradise Lakes.

        709.    Defendants’ acts constitute unfair competition involving the misappropriation of

 Quy’s image, likeness and/or identity.

        710.    As a direct and proximate result of Defendants’ misappropriation and unfair

 competition, Quy is entitled to recover all proceeds and other compensation received or to be

 received by Defendants from the misappropriation and unfair competition of Quy’s image,

 likeness and/or identity.

        711.    Quy has been damaged and Defendants have been unjustly enriched, in an amount

 to be proved at trial; but Quy alleges that the same are within the jurisdiction of the Court.

        712.    Quy is informed and believes and thereon alleges that in engaging in the conduct

 described above, Defendants acted with oppression, fraud, and/or malice. Defendants’ conduct

 has been despicable and taken in conscious disregard of Quy’s rights. Accordingly, Quy is

 entitled to an award of punitive damages against Defendants in the amount sufficient to punish

 and make an example of Defendants. Therefore, Quy reserves the right to seek punitive damages

 according to proof and pursuant to Fla. Stat. §768.72

        WHEREFORE, Quy respectfully requests this Court to enter a judgment against

 Defendants for all remedies available under a claim of unfair competition of Defendants’

 misappropriated image, likeness and/or identity of Quy, including but not limited to actual

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 damages, punitive damages according to proof, consequential damages, and further relief in law

 or equity as this Court deems just and proper.

                                      QUY COUNT IX
                     (Fraudulent Misrepresentation against all Defendants)

         713. Plaintiff Quy re-alleges paragraphs 1 through 40 and 88 through 104 above, and

 incorporates the same by reference as though fully set forth herein.

         714. Quy is informed and believes and herein alleges that Defendants misrepresented

 to the public Gibson’s patronage, connection, or sponsorship with Paradise Lakes for the

 purposes of financial gain.

         715. The misrepresentations        by     Defendants      include,     but    are   not   limited

 to misrepresentations of material facts in Defendants’ advertisement, which purposefully

 contained Paradise Lakes’ logo next to the face and body of Quy.

         716. Quy is informed and believes and alleges that Defendants knew that Quy was not

 legally connected or working at or for Defendants.

         717. Quy is informed and believes and herein alleges that Defendants published the

 image, likeness and/or identity of Quy as if she worked for or endorsed Paradise Lakes, either

 hosting, supporting, or appearing at an event at Paradise Lakes in order to target specific

 audiences and to draw in big spending clients who were/are hoping to meet Quy.

         718. Quy’s image, likeness and/or identity are recognizable in the photo identified in

 Exhibit E.

         719. The misrepresentations and/or acts of fraud by Defendants were perpetuated

 directly and indirectly by Defendants and their sales representatives, employees, and/or agents.

         720. The misrepresentations by Defendants constitute a continuing tort.


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         721. Quy is informed and believes and herein alleges that injury resulted to herself and

 the general public when the public justifiably relied on Defendants’ misleading advertisement

 and paid the membership and/or entry fees to visit Paradise Lakes on November 8, 2013

 to their detriment.

         722. Quy is entitled to restitution of the reasonable value of the benefit derived by

 Defendants for the unauthorized use Defendants made of Quy’s image, likeness and/or identity.

         723. As a result of Defendants’ conduct, Quy suffered damages to be determined

 according to proof at trial; but Quy alleges that the same are within the jurisdiction of the Court.

        WHEREFORE, Quy respectfully requests to enter judgment against Defendants for

 damages, including but not limited to actual damages, costs, interest, and such other and further

 relief in law or equity as this Court deems just and proper.

                                          QUY COUNT X
                                 (Negligence against all Defendants)

        724.    Plaintiff Quy re-alleges paragraphs 1 through 40 and 88 through 104 above, and

 incorporates the same by reference as though fully set forth herein.

        725.    Under the circumstances stated herein, Defendants owed a duty of care towards

 Quy.

        726.    Among other things, that duty included the obligation to deal with Quy and her

 image, likeness and/or identity in a commercially reasonable and prudent manner, to not use

 Quy’s image, likeness and/or identity in derogation of her rights, and to not cause harm to Quy.

        727.    Defendants breached that duty by using Quy’s image, likeness and/or identity

 without Quy’s authorization, permission or consent.

        728.    Quy’s image, likeness and/or identity are recognizable in the photo identified in

 Exhibit E.
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        729.     Defendants’ conduct and breach as described above directly and proximately

 caused injury to Quy’s reputation, brand, goodwill and livelihood for which she has suffered

 damages. Further, Quy is informed and believes and thereon alleges that in engaging in the

 conduct described above, Defendants acted with oppression, fraud, and/or malice. Defendants’

 conduct has been despicable and taken in conscious disregard of Quy’s rights. Accordingly, Quy

 is entitled to an award of punitive damages against Defendants in an amount sufficient to punish

 and make an example of Defendants. Therefore, Quy reserves the right to seek punitive damages

 according to proof and pursuant to Fla. Stat. §768.72.

        WHEREFORE, Quy respectfully requests that the Court enter judgment against

 Defendants for damages, including but not limited to actual damages, punitive damages

 according to proof, costs, interest, and such other and further relief in law or equity as this Court

 deems just and proper.

                                        QUY COUNT XI
              (Violation of the Respondeat Superior Doctrine against all Defendants)

        730.     Plaintiff Quy re-alleges paragraphs 1 through 40 and 88 through 104 above, and

 incorporates the same by reference as though fully set forth herein.

        731.     Under the circumstances stated herein, Defendants owed a duty of care towards

 Quy.

        732.     Among other things, that duty included the obligation to deal with Quy and her

 image, likeness and/or identity in a commercially reasonable and prudent manner, to not use

 Quy’s image, likeness and/or identity in derogation of her rights, and to not cause harm to Quy.

        733.     Quy’s image, likeness and/or identity are recognizable in the photo identified in

 Exhibit E.


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        734.     Defendants breached that duty by using Quy’s image, likeness and/or identity

 without Quy’s authorization, permission or consent.

        735.     Defendants’ conduct and breach as described above directly and proximately

 caused injury to Quy’s reputation, brand, goodwill and livelihood for which she has suffered

 damages.

        736.     In addition, Defendants and/or their agents promulgated policies and procedures

 concerning the prevention of misappropriation of images, likenesses and identities. Yet,

 Defendants negligently failed to enforce those policies, communicate them to their employees, or

 to supervise their employees to ensure that these policies and both State and Federal Law were

 not violated.

        737.     Pleading alternatively, Defendants and/or their agents failed to promulgate

 policies and procedures concerning the prevention of misappropriation of images, likenesses and

 identities and, as such, are liable to Quy for the harm that failure caused to Quy.

        738.     More specifically, Defendants had a duty to all members of the public, namely to

 Quy, to refrain from the misappropriation of her image, likeness and/or identity. Defendants

 violated that duty by negligent hiring, screening, retaining, supervising, and training of their

 employees and agents.

        739.     As a result of Defendants’ conduct, Quy suffered damages to be determined

 according to proof at trial; but Quy alleges that the same are within the jurisdiction of the Court.

        WHEREFORE, Quy respectfully requests that the Court issue a judgment against

 Defendants for damages, including but not limited to actual damages, costs, interest, and such

 other and further relief in law or equity as this Court deems just and proper.



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                                       PRAYER FOR RELIEF

        WHEREFORE, each Plaintiff individually respectfully prays that this Court grant

 Judgment to each Plaintiff, respectively, and against Defendants, jointly and severally in an

 amount to be determined at trial but in no event less than $325,000.00 aggregated across all

 Plaintiffs and as follows:

 1.     For damages as provided in 15 U.S.C. § 1125(a);

 2.     For attorneys’ fees and costs of suit, as provided for in 15 U.S.C. § 1125(a);

 3.     For damages as provided in Fla. Stat. §540.08;

 4.     For general damages according to proof;

 5.     For special damages according to proof;

 6.     For consequential damages according to proof;

 7.     For treble compensatory damages as provided in Fla. Stat. §772.11;

 8.     For attorneys’ fees and costs of suit, as provided for in Fla. Stat. §772.11;

 9.     For damages as provided in Fla. Stat. §501.201;

 10.    For attorneys’ fees and costs of suit, as provided for in Fla. Stat. §501.2105;

 11.    For civil penalty, as provided for in Fla. Stat. §501.2075;

 12.    For reasonable attorneys’ fees and costs as permitted by law;

 13.    For emotional distress damages according to proof;

 14.    For prejudgment interest and royalties at the legal rate;

 15.    For such other relief as this Court deems just and proper; and

 16.    Plaintiffs reserve the right to amend the pleadings to include punitive damages pursuant

        to Fla. Stat. §768.72.



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                                 DEMAND FOR JURY TRIAL

       Plaintiffs demand trial by jury on all issues so triable.

              30 2016.
 Dated: March 28,

                                                        Respectfully Submitted,

                                                        THE CASAS LAW FIRM, P.C.

                                                        By: /s/ Sarah Cabarcas
                                                        Sarah M. Cabarcas, Esq.
                                                        Florida Bar No.: 90938
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                                                        Phone: (786) 671-3244
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                                                        Attorney for Plaintiffs Cielo Jean Gibson,
                                                        Dessie Mitcheson, Irina Voronina, John
                                                        Coulter, and Maysa Quy.




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                              EXHIBIT A

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                                  EXHIBIT B



                             EXHIBIT B
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                                 EXHIBIT C
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                          EXHIBIT D“D”
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                            EXHIBIT E
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                             EXHIBIT F
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Dennis C. Postiglione, JD
                                                                                                       Joseph N. Casas, JD, MBA
Supervising Partner, Licensed in Texas                                                            C.E.O. & Managing Attorney ± ‫ח‬
Sarah Cabarcas, JD
Partner, Licensed in Florida                                                                              ± Admitted to practice in California
Ludmila Khomiak, JD                                                                                                  ‫ ח‬Illinois, Military Courts
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UK Solicitor                                                                                                              www.casaslawfirm.com




                                                        December 11, 2015

               Via USPS Priority Mail

               JERRY L. BUCHANAN, Registered Agent & Manager
               RESORT AT PARADISE LAKES, LLC d/b/a PARADISE LAKES RESORT
               2001 PARADISE LAKES BLVD.
               LUTZ, FL 33558

               Re: Unlawful Use of Images of Cielo Jean Gibson, Dessie Mitcheson, Irina Voronina, John
               Coulter, and Maysa Quy – Cease & Desist and Demand for Payment - Privileged/Confidential
               Communication Pursuant to Florida Evidence Code Section 90.408 Solely For Use in
               Settlement Negotiations

               Mr. Buchanan,

               This law firm represents models Cielo Jean Gibson, Dessie Mitcheson, Irina Voronina, John
               Coulter, and Maysa Quy (herein referred to as “Models”). I am writing to you regarding your
               unauthorized use of the Models’ images and likeness (herein referred to as “Images”) to promote
               and market your strip club known as Paradise Lakes Resort in Lutz, Florida. You stole the
               Models’ Images and used them for the promotion of your strip club.

               This letter constitutes a demand to cease and desist any further use of the Models’ Images as well
               as a demand for payment for the unauthorized use of the same.

                                                    SUMMARY OF FACTS

                                              Your Business & Theft of Images

               Resort at Paradise Lakes, LLC operates a strip club known as “Paradise Lakes Resort” (herein
               referred to as “Paradise Lakes Resort”) in Lutz, Florida either directly or through various
               subsidiaries. Based on the preliminary review of your business, it is clear that Paradise Lakes
               Resort enjoys great success in the Pasco County area. It is no secret that Paradise Lakes Resort is
               a strip club that engages in the business of selling alcohol in an atmosphere where nude and/or
               semi-nude women entertain the business’ clientele.


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                                              California| Florida | Illinois | Texas | New York
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        Negotiations – Paradise Lakes Resort

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 Paradise Lakes Resort has been using the Models’ Images on several of your websites and other
 marketing material. Attachments “A” – “E” to this letter are true and correct copies of screen
 captions of your social media websites (and other marketing materials) depicting the known theft
 of the Models’ Images. We believe your establishment has used the Models’ Images on other
 mediums as well and we will continue to investigate the same.

                                             The Models

 The Models whose Images you stole are gorgeous and talented models who make a living by
 promoting their Images to various clients. They take great pride in their reputation in the talent
 industry. Any improper or unauthorized use of their likeness will substantially injure their careers.
 The fact that their Images are being associated with a strip club is very injurious to their livelihood
 and we have been instructed to prosecute this matter to the fullest extent of the law.

 Cielo Jean Gibson is an accomplished model who enjoys great success in her industry. Ms.
 Gibson has almost 52,000 Instagram followers and has appeared in FHM magazine. Her career
 was started when she became the Import Tuner model search winner. Ms. Gibson has a tremendous
 motor sport following as a Falken Drift Team model, a Short Block Technologies Inc. model, and
 a Momo sport model. Ms. Gibson is also a Top Rank Boxing model.

 Attachment “A” is a true and correct copy of the Image you stole of Cielo Jean Gibson. On
 October 25, 2013, Ms. Gibson’s Image was used to promote Paradise Lakes Resort on your Twitter
 page. The Image was used to promote Paradise Lakes Resort’s “Finally Friday” event and the
 complimentary entrance for “couples and single ladies” after 5pm. In this advertisement, Ms.
 Gibson is pictured wearing a lingerie outfit with a caption next to her Image, which provided,
 “Lingerie Night in Club Reveal, Wear your Sexiest!” thus giving the impression that Ms. Gibson
 is a stripper at your club. The Image of Ms. Gibson was used without her consent and was altered
 to intentionally give the impression that Ms. Gibson is a stripper working at Paradise Lakes Resort
 and that she endorses the strip club.

 Dessie Mitcheson is a model and actress. She is best known for winning Maxim’s Hometown
 Hottie contest in 2013. The previous year, she was named the face of the MGM Grand and the face
 of Playboy Intimates. Ms. Mitcheson most recently stood by Floyd Mayweather’s side at the
 biggest fight of the century as the main ring girl.

 Attachment “B” is a true and correct copy of the Image you stole of Dessie Mitcheson. On
 December 5, 2013, you used Ms. Mitcheson’s Image on your Twitter page with the intent to
 promote “happy hour” and “repeal day” at Paradise Lakes Resort. The Image shows Ms.
 Mitcheson in a Christmas outfit advertising “Happy Hour from 5pm till close!” on December 5th
 and 12th only. The Image was also used to advertise “Thursday Night Football” and “Sports Menu
 and Drink Specials” at Paradise Lakes Resort. The Image of Ms. Mitcheson was used without her
 consent and altered to intentionally give the impression that Ms. Mitcheson is a stripper working
 at Paradise Lakes Resort and that she endorses the strip club.

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 Irina Voronina is an international model and actress. As her international modeling career began
 to skyrocket, Ms. Voronina was brought to America, where she was introduced to Playboy Studios
 in Los Angeles, CA. She eventually became Playboy Playmate of the Month for January 2001,
 and then permanently relocated to Los Angeles, CA to take her career to the next level. She signed
 with Wilhelmina LA modeling agency, which offered her the opportunity to work with world-
 famous photographers such as Teri Richardson, Mathew Rolston, Antoine Verglas, David
 LaChapelle, and many others. Ms. Voronina is an advertisers dream, known for her sultry look,
 charm, and on-set professionalism. Her beauty has represented international brands, including
 SKYY Vodka, Miller Lite, Michelob Ultra, Bacardi, Sisley & Detour, to name a few. She has
 millions of visual impressions around the globe via the covers and pages of such worldwide
 magazines as FHM, Maxim, Playboy (in 20 countries), Max (Italy), Ocean, Shape, 944, Knockout,
 Q (UK), People (Australia), and most recently Kandy, Rukus, Vape, and Browz. In addition to
 being a model, Ms. Voronina has appeared on TV and the big screen. She has over 3,000,000 likes
 on Facebook and 348,000 followers on Instagram.

 Attachment “C” is a true and correct copy of the Image you stole of Irina Voronina. On October
 31, 2014, you used Ms. Voronina’s Image on your Twitter page with the caption, “Witching hour
 Sat Night (11/1) When the clock strikes 12, the Midnight Costume Contest will be on!” Ms.
 Voronina appeared as the model wearing a female pirate Halloween costume. The Image was used
 to promote an event called “Halloween in Paradise” and was used to advertise a “Midnight
 Costume Parade” dated for November 1st in which a “$1,400 Prize Package” was being offered, in
 addition to a “FULL YEAR Membership!”. The same Image, was used again on November 1,
 2014 on your Facebook page.

 On August 15, 2015, you uploaded another stolen image of Ms. Voronina to your Facebook page.
 This Image was used to promote a “Toga Party Theme Night” at Paradise Lakes Resort. In this
 advertisement, Ms. Voronina is dressed in a Toga outfit, thus giving the impression that Ms.
 Voronina is a stripper at your club. Both Images of Ms. Voronina were used without her consent
 and altered to intentionally give the impression that Ms. Voronina is a stripper working at Paradise
 Lakes Resort and that she endorses the strip club.

 John Coulter was born in Arizona. He spent two years studying illustration on a full art
 scholarship at the University of Arizona and then continued his studies at the prestigious Art Center
 College of Design in Pasadena, CA. Along with visual arts, Mr. Coulter pursued other areas of
 interest including performing arts, which led him to Disneyland, where he worked both, as an artist
 in the entertainment art department and moonlighted as Prince Charming in the Main Street
 Electrical Parade. He went on to play other Disney characters. One of the highlights was playing
 Tarzan in the opening cast of Tarzan Rocks. His princely charm also took him to Tokyo
 Disneyland, where he performed many other roles. While living in California, Mr. Coulter began
 a modeling career that has lasted over 20 years. This led him to New York and Europe where he
 worked with such renowned photographers as Ellen Von Unwerth and David Lachapelle. He shot
 a jeans campaign with Cindy Crawford, a MAC Cosmetics campaign with Mary J. Blige and Lil’
 Kim. He walked the runways with Naomi Campbell, Kate Moss, Marcus Schenkenberg and Tyson

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 Beckford. He also appeared in television commercials with Paris Hilton, Heidi Klum, Kristen
 Chenoweth, and Karolina Kurkova. Mr. Coulter was also on Tyra Bank’s America’s Next Top
 Model show and appeared in a Madonna video directed by Guy Ritchie and can now be seen on
 Britney Spears’ Blackout Album as the controversial priest. In addition, Mr. Coulter graced the
 packaging and ads for Joe Boxer, Fruit of the Loom, Murano, Undergear and International Male.

 Attachment “D” is a true and correct copy of the Image you stole of John Coulter. On December
 23, 2013, you uploaded Mr. Coulter’s Image to your Facebook page. The Image was used to
 promote a lunch special, as well as drink specials. The Image shows Mr. Coulter dressed in a chef’s
 outfit, with the Facebook caption, “Let’s see what we got cookin’ up fresh for you today.” Mr.
 Coulter’s Image was used with intent to deceive the viewing public into believing that Mr. Coulter
 is one of the chefs at your club. The Image of Mr. Coulter was used without his consent and altered
 to intentionally give the impression that Mr. Coulter is a chef working at Paradise Lakes Resort
 and that he endorses the strip club.

 Maysa Quy is a beauty, fitness, commercial, and swimwear model. She has worked for brands
 such as Sketchers Shoes, Benefit Cosmetics, CoverFX Cosmetics, Dreamgirl Int’l Lingerie, Mini
 Cooper USA, T-Mobile, Apple, Nike, Microsoft, and David’s Bridal. She is currently an assistant
 manager at Laser Away in San Jose, CA and San Francisco, CA. She is also currently employed
 at Nordstrom/Bobbi Brown Cosmetics (Valleyfair, CA) as a makeup artist and at Equinox (Palo
 Alto, CA) as a personal trainer. Ms. Quy has over 11,000 Instagram followers, almost 4,000
 Facebook followers, and over 4,000 Twitter followers.

 Attachment “E” is a true and correct copy of the Image you stole of Maysa Quy. On November
 8, 2013, Ms. Quy’s Image was used on your Twitter page. The Image was used to promote Paradise
 Lakes Resort’s “Finally Friday” event, poolside live music, and the complimentary entrance for
 “couples and single ladies” after 5pm. In this advertisement, Ms. Quy is pictured wearing a lingerie
 outfit with a caption next to her Image, which provided, “Lingerie Night in Club Reveal, Wear
 your Sexiest!” thus giving the impression that Ms. Quy is a stripper at your club. The Image of
 Ms. Quy was used without her consent and was altered to intentionally give the impression that
 Ms. Quy is a stripper working at Paradise Lakes Resort and that she endorses the strip club.

 You stole the Models’ Images for use on Paradise Lakes Resort’s promotional and marketing
 materials, to include but not limited to Paradise Lakes Resort’s Facebook and Twitter accounts.
 The Models must be compensated for the unlawful use of their Images.

                                 CEASE AND DESIST NOTICE

 One of the purposes of this letter is to demand that you immediately cease and desist any further
 use of the Models’ Images on any advertising, point of sale, posters, and your partners’ or third
 party websites such as Facebook and Twitter. Please be advised that your failure to immediately
 cease and desist with the unauthorized activity of using the Models’ Images will constitute an


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 infringement of their legal rights under Florida and/or Federal law and the continued use shall only
 enhance our punitive damage claims against you as stated below.

 Accordingly, we demand that you immediately provide us with the following:

 (1) A written acknowledgement that you have ceased and permanently desisted from using,
 publishing, distributing, selling, licensing or otherwise exploiting the Models’ names, images, and
 likenesses in any manner;

 (2) A detailed accounting of any and all monies that you and any affiliated business have received
 from the use, publishing, distribution and any other exploitation of Models’ names, images, and
 likenesses;

 (3) All copies of Models’ Images in any media, whatsoever, including but not limited to any and
 all prints, computer discs, electronic mail, licensees, and provide to us written confirmation of the
 same; and

 (4) A list of business you are affiliated with, a list of names, e-mail addresses, and other contact
 information of those persons and other contact information of those persons and other entities who
 viewed downloaded, licensed, saved, printed, purchased and/or copied Models’ Images and/or
 have published, distributed or otherwise exploited said properties.

            SPOLIATION OF EVIDENCE WARNING AND LITIGATION HOLD

 The Models demand that Paradise Lakes Resort maintain, preserve and not destroy any
 documentation, photos, and other items relevant to the matters raised in this letter, in particular,
 the categories of documents outlined in the enclosed document preservation demand that
 accompanies this letter as Attachment “F”. Such demand includes preservation of all documents
 reflecting Paradise Lakes Resort’s use of the Models’ Images on any medium or platform, whether
 hard copy or stored electronically, including without limitation, emails or text messages, as well
 as all client/customer/member lists and all Paradise Lakes Resort’s event attendee rosters or logs
 from January 1, 2012 to the present.

 Destruction of evidence can lead to serious consequences (both civil and criminal) and subject you
 to further damages above and beyond the damages outlined below. Given the nature of the claims
 available to the Models, including that the Images pirated and unlawfully used by Paradise Lakes
 Resort were expressly and strategically used to market and promote the various events identified
 in this letter, it will be critical to obtain names and contact information of all invitees and attendees
 at the subject events in order to determine, among other things, the extent to which the Models’
 Images enticed and induced your patrons to attend events and thereby contribute to Paradise Lakes
 Resort’s ill-gotten gains. Accordingly, you should promptly preserve, maintain and not destroy or
 permit the destruction of any such evidence.


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                                    APPLICABLE LAW
                          THE RIGHT OF PUBLICITY IN FLORIDA
                        (Unauthorized Appropriation of Name/Likeness)

                             Statutory and Common Law Violations

 In Florida, the unauthorized appropriation of a person’s name or likeness is protected by statute.
 (See, F.S. §540.08). An individual whose name or likeness is used to promote a product or service
 without his or her consent has a cause of action under Florida law for invasion of privacy. The
 “right of publicity” is intended to assure an individual the right to own, protect, and commercially
 exploit his or her name or likeness, including photographs.

 Specifically, the statute provides, “No person shall publish, print, display or otherwise publicly
 use for purposes of trade or for any commercial or advertising purpose the name, portrait,
 photograph, or other likeness of any natural person without ... express written or oral consent.”
 Fla. Stat. §540.08(1).

 The term “photograph” includes still or moving pictures or reproductions of an individual.
 See Lane v. MRA Holdings, LLC, 242 F. Supp. 2d 1205 (M.D. Fla. 2002); see also Tyne v. Time
 Warner Entm't Co., L.P., 901 So. 2d 802 (Fla. 2005); Badillo v. Playboy Entm't Group, Inc., 2006
 WL 785707 (M.D. Fla. Mar. 28, 2006).

 A person whose image is used without consent may bring an action to enjoin the unauthorized use
 and to recover damages for loss or injury sustained by the publication, including a reasonable
 royalty, and punitive damages.

 In Tyne v. Time Warner Entertainment Co., the Florida Supreme Court held that to find a violation
 of the right of publicity statute, the use must be for the defendant’s benefit and done to promote a
 product or service. See Tyne v. Time Warner Entm't Co., L.P., 901 So. 2d 802 (Fla. 2005); see
 also Almeida v. Amazon.com, Inc., 456 F.3d 1316 (11th Cir. 2006); Tyne v. Time Warner Entm't
 Co., L.P., 204 F. Supp. 2d 1338 (M.D. Fla. 2002); National Football League v. Alley, Inc., 624 F.
 Supp. 6 (S.D. Fla. 1983).

 The publication or printing of a product (or service) for advertising purposes has been found
 sufficient to constitute a statutory violation, even when there was no distribution. Weinstein Design
 Group, Inc. v. Fielder, 884 So. 2d 990 (Fla. Dist. Ct. App. 2004).

 As with the statutory right of publicity, a violation of the common law right of publicity is found
 when an individual’s name or likeness is used without his or her consent for the benefit its value
 would confer on the defendant. See Agency for Health Care Administration v. Associated
 Industries of Florida, Inc., 678 So. 2d 1239 (Fla. 1996); see also Epic Metals Corp. v. Condec,
 Inc., 867 F. Supp. 1009 (M.D. Fla. 1994).


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                             Damages For Violating Publicity Rights

 As the right of publicity has been formally recognized by statute in Florida, decisions generally
 cite the statutory right over the common law right. See Facchina v. Mutual Benefits Corp., 735 So.
 2d 499 (Fla. 4th Dist. Ct. App. 1999). However, the statutory right does not displace common law
 rights, so a plaintiff can simultaneously pursue claims under both the statute and common law.
 See Fla. Stat. §540.08(6).

 Under the common law right of publicity, a plaintiff may be awarded damages for the unauthorized
 use of his or her name without proving actual harm or damage. See Zim v. Western Pub. Co., 573
 F.2d 1318 (5th Cir.1978); see also Cason v. Baskin, 20 So. 2d 243 (Fla. 1944).

 Under Florida’s right of publicity statute, a plaintiff may bring an action for an injunction and to
 recover damages for any loss or injury sustained by reason thereof, including an amount which
 would have been a reasonable royalty, and punitive or exemplary damages. Fla. Stat. §540.08(2).
 A victorious plaintiff may also receive lost profits (from the damage caused by the use of the
 unauthorized image(s)) and prejudgment interest on the damages awarded. See Bosem v. Musa
 Holdings, 46 So. 3d 42 (Fla. 2010).

 At no time did the Models authorize the use of their Images to promote your strip club. Paradise
 Lakes Resort intentionally appropriated the Models’ Images for value associated with them and
 did so to promote Paradise Lakes Resort. The strip club’s use of the Images was not in an incidental
 manner or for newsworthy purpose. Each of the Models has identified their Images depicted in
 Attachments “A” – “E”. There is no doubt that the Models’ Images attracted patrons to your strip
 club and that was the intent of the use of their Images. We are confident that the use of the Models’
 Images has helped (and is helping) bring more patrons to your establishment and as such, has been
 to your monetary advantage and benefit.

                       NEGLIGENCE AND RESPONDEAT SUPERIOR

 In Florida, when an employee’s acts are committed within the scope or course of his employment,
 an employer is liable under the doctrine of Respondeat Superior. Garcia v. Duffy, 492 So.2d 435,
 438 (Fla. 2d DCA 1986). “An action falls within the scope of employment if the conduct: (1) is of
 the kind the employee was employed to perform; (2) occurred within the time and space limits of
 the employee’s employment; and (3) was activated at least in part by a purpose to serve the
 employment.” United Techs. Corp. v. Mazer, 556 F3d 1260, 1271 (11th Cir. 2009).

 By using the Models’ Images for promotion of your strip club, your employees and/or agents acted
 in the course and scope of their employment or agency with you. As such, Paradise Lakes Resort
 is liable for the conduct of its employees or agents under the doctrine of Respondeat Superior.

 Moreover, Paradise Lakes Resort negligently failed to enforce policies and procedures concerning
 the misappropriation of Models’ Images, failed to communicate those policies and procedures to

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 its employees, or failed to supervise its employees to ensure that its own policies and both State
 and Federal laws were not violated. A claim for “negligent supervision” exists in Florida based on
 an employer’s or employee’s negligent supervision of another. See Benton v. Sch. Bd. of Broward
 County, 386 So.2d 831, 834 (Fla. 4th DCA 1980).

 “Negligent supervision” is also used synonymously with “negligent retention.” See Dep’t of Envtl.
 Protection v. Hardy, 907 So.2d 655, 660 (Fla. 5th DCA 2005). Negligent retention “occurs when,
 during the course of employment, the employer becomes aware or should have become aware of
 problems with an employee that indicated his unfitness, and the employer fails to take further
 action such as investigating, discharge, or reassignment.” Garcia, 492 So. 2d at 438-39.

 Paradise Lakes Resort had a duty to all members of the public, namely to the Models, to refrain
 from misappropriation of their Images. Paradise Lakes Resort violated that duty by negligently
 hiring, screening, retaining, and training of their employees and agents.

                            NOTICE OF CLAIM FOR CIVIL THEFT

 In addition, you have violated Florida’s Civil Theft Statute §772.11 (“Section 772.11”). Under
 Section 772.11, any person who proves by clear and convincing evidence that he or she has been
 injured in any fashion by reason of any violation of Florida Statutes 812.012 – 812.037 or
 825.103(1) (civil theft) is punishable by treble damages (threefold the actual damages), attorneys’
 fees, and court costs.

 Under Fla. Stat. §812.012(4)(b), stolen property is defined as anything of value, and includes
 tangible or intangible personal property, including rights, privileges, interests, and claims. A model
 has intangible rights, privileges, and interests in her image and her privacy right is a property right.

 By stealing the Models’ Images you have violated their right to privacy and unwarranted publicity.
 Florida’s statutory right of publicity (which protects against unauthorized use of a person’s image)
 creates a property right held by an individual in his or her name and likeness. See Loft v. Fuller,
 408 So.2d 619 (Fla. Dist. Ct. App. 1981).

 Fla. Stat. §812.014(1) also indicates that a person commits theft if he or she knowingly obtains or
 uses the property of another with intent to either temporarily or permanently (a) deprive the other
 person of a right to the property or a benefit from the property or (b) appropriate the property to
 his or her use.

 You knowingly stole the Models’ Images. You unequivocally knew that the Models’ Images were
 not pictures of any of your employees (“strippers”). You know who your employees are. Further,
 neither you nor any agent acting under you direction, sought consent from the Models to use their
 Images; and none of the Models gave permission to use their Images. Moreover, the method and
 manner in which you used the Images, such as, but not limited to: altering them in a manner that
 made it look like the Models work for, or are patrons of your strip club is clear and convincing

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 evidence that you intended to steal the Images.

             PRELIMINARY EXPERT EVALUATION OF ACTUAL DAMAGES

 “Actual damages” as used in this demand is the value of the Images had you sought to procure
 each Model for the type of usage of her Image. The “value” of a Model’s Image is based on her
 earning capacity, history, and the type of usage (e.g., print, advertisement, collateral, branding,
 billboard.) Additionally, in negotiating a cost to the use of a Model’s Image, the Expert takes into
 account the type of establishment.

 Attachment “G” to this correspondence is Mr. Chamberlin’s Preliminary Report dated October
 29, 2015.

 According to Mr. Chamberlin, the following table outlines the actual damages suffered by each of
 my clients:

                                  Model                  Actual Damages
                            Cielo Jean Gibson               $60,000.00
                            Dessie Mitcheson                $75,000.00
                             Irina Voronina                $120,000.00
                              John Coulter                  $30,000.00
                               Maysa Quy                    $40,000.00
                                  Totals                   $325,000.00

 Keep in mind, these are ONLY actual damages and represent only known violations. They are
 based on who the Models are, the Images we have found, and how you have used the Images.

 At this point, and for purposes of attempting to resolve this matter amicably, we are not including
 other damages allowed under the law, such as exemplary, consequential, or punitive damages.

 Unless this matter is settled out of court, this demand letter in no way limits the Models’ rights in
 any way with respect to unknown use of their Images.

                      DEMAND FOR TREBLE DAMAGES - $975,000.00

 As outlined above, Section §772.11 authorizes threefold the actual damages. Accordingly, this
 brings the value of the damages and this demand to $975,000.00.

               Demand For Policy Limits Pursuant to Florida Statute §627.4137

 In addition to the notice of our intent to sue you for Right of Publicity Violation and Civil Theft,
 a demand is being made on behalf of our clients and with express authority, pursuant to Fla. Stat.

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 §627.4137 (“Section 627.4137”), for the following information with regard to each known policy
 of insurance, including excess or umbrella coverage:

       (a) The name of the insurer;
       (b) The name of each insured;
       (c) The limits of the liability coverage;
       (d) A statement of any policy or coverage defense, which such insurer reasonably believes,
       is available to such insurer at the time of filing such statement; and
       (e) A copy of the policy.

 In addition, you or your insurance agent, upon written request of the claimant or the claimant’s
 attorney, must disclose the name and coverage of each known insurer to the claimant and shall
 forward such request for information as required by this subsection to all affected insurers.

 The insurer shall then supply the information required in this subsection to the claimant within 30
 days of receipt of such request.

                                             SUMMARY

 Your theft of the Models’ Images can result in a separate and distinct award for each of the
 following:

     1. General damages for violation of the Models’ Right of Publicity;
     2. The injury sustained by the Models for the unauthorized use of the Images;
     3. Punitive or Exemplary damages (to punish and deter intentional conduct);
     4. Lost Profits;
     5. Treble damages (as outlined above);
     6. Prejudgment Interest; and
     7. Attorneys’ fees.
 Our firm has handled dozens of these matters against some of the worlds’ largest corporate
 defendants and has some of the nation’s most renowned experts in the model and talent industry
 ready to assist us in litigating this matter. We are prepared to litigate this to the fullest extent of
 the law.

                                      SETTLEMENT OFFER




                                             Redacted

         will be: $146,250.00.

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                                        Redacted




                           30 DAYS TO COMPLY WITH DEMAND

 Under Section 772.11 you have 30 days from the receipt of this letter, but no later than January
 13, 2016, within which to comply with this demand. If you fully comply, you will be given a
 written release from further civil liability (under Section 772.11) for the theft of Models’ Images
 used for Paradise Lakes Resort in Lutz, Florida.

 Additionally, you have 30 days from the receipt of this letter but no later than January 13, 2016,
 to comply with our demand under Section 627.413.

 I look forward to hearing from you or your legal representative. Feel free to respond to me via e-
 mail. If we do not receive a response to this demand by January 13, 2016, we will promptly
 prepare this matter for litigation.

                                                             Very truly yours,
                                                             THE CASAS LAW FIRM, P.C.



                                                             Joseph N. Casas, Esq.
                                                             Email: joseph@casaslawfirm.com

 Copy: Sarah Cabarcas, Florida Partner, & Ludmila (Mila) Khomiak, Florida Senior Associate




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                        ATTACHMENT “B”
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                        ATTACHMENT “C”
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                        ATTACHMENT “D”
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                        ATTACHMENT “E”
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                        ATTACHMENT “F”
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        IN RE RESORT AT PARADISE LAKES, LLC. d/b/a PARADISE LAKES RESORT
             ATTACHMENT F: DOCUMENT PRESERVATION DEMAND


        In anticipation of potential litigation, Resort at Paradise Lakes, LLC d/b/a Paradise Lakes
 Resort (herein referred to as “Paradise Lakes Resort”) officers, and Registered Agents of
 Paradise Lakes Resort, and all other officers, members, employees, agents or representatives of
 Paradise Lakes Resort are hereby directed to preserve any and all documents (including, without
 limitation, any physical documents, tangible things, and electronic documents) in their
 possession, custody or control relating in any way to Paradise Lakes Resort’s marketing,
 promotion, and advertising media and activities for events hosted at their Lutz, FL location, from
 on or about January 1, 2012 to the present (“relevant period”) in which images of the Models
 identified in the accompanying Demand Letter were used or depicted.
        The categories of documents to be preserved include, without limitation:
        •   all documents, including email and other communications, contracts, licenses, and
            notes relating to or referring to Paradise Lakes Resort’s promotional or advertising
            activities;
        •   hard copy and electronic customer, client, mailing and Club member lists for all
            events during the relevant period;
        •   a list of attendees at events hosted or organized by Paradise Lakes Resort during the
            relevant period;
        •   all documents constituting or concerning images of the Models;
        •   all communications concerning images of the Models;
        •   all documents concerning or constituting social media postings by Paradise Lakes
            Resort (Facebook, Twitter, Instagram, YouTube, Tumblr);
        •   accounting records, tax forms, filings and worksheets, and related documents for
            Paradise Lakes Resort and/or any officer, employee, contractor, agent, or other
            representative of Paradise Lakes Resort during the relevant period;
        •   all documents reflecting, referring to or relating to monies received, including profits,
            and/or paid out in connection with any event hosted or organized by Paradise Lakes
            Resort;




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       IN RE RESORT AT PARADISE LAKES, LLC. d/b/a PARADISE LAKES RESORT
            ATTACHMENT F: DOCUMENT PRESERVATION DEMAND


       •   all documents, including audit reports, reflecting, referring to or relating to quarterly
           or annual or other audits of the books and records of Paradise Lakes Resort during the
           relevant period;
       •   all Paradise Lakes Resort’s tax returns prepared and filed during the relevant period,
           including all working papers used and relied upon in the preparation of the tax
           returns;
       •   all banking records and related documents for any checking, savings, money market,
           credit, investment, retirement, or other account used by or in the name of Paradise
           Lakes Resort dating back to January 1, 2012. Such records should include, but are not
           limited to, records reflecting, referring or relating to deposits, withdrawals, checks
           written, funds transfers, or other transactions impacting any such account;
       •   all banking records and related documents for any checking, savings, money market,
           credit, investment, retirement, or other account used by or in the name of Paradise
           Lakes Resort during the relevant period. Such records should include, but are not
           limited to, records reflecting, referring or relating to deposits, withdrawals, checks
           written, funds transfers, or other transactions impacting any such account;
       •   all documents, including but not limited to checks and/or check stubs, cash receipts,
           wire transfers, and federal or state tax returns, reflecting income or other money
           received by and/or paid to Paradise Lakes Resort during the relevant period;
       •   all communications (including but not limited to emails from any and all accounts
           used by Paradise Lakes Resort, text messages and online, social network site postings
           by Paradise Lakes Resort) and documents, including but not limited to notes, memos,
           and phone messages of calls with or about any of the Models and/or their images;
       •   all communications (including but not limited to emails from any and all accounts
           used by Paradise Lakes Resort, text messages and online, social network site postings
           by Paradise Lakes Resort) and documents, including but not limited to notes, memos,
           concerning any of the following Paradise Lakes Resort’s events identified in
           Attachments “A” – “E” of the accompanying The Casas Law Firm, P.C.’s Demand
           Letter.


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        IN RE RESORT AT PARADISE LAKES, LLC. d/b/a PARADISE LAKES RESORT
             ATTACHMENT F: DOCUMENT PRESERVATION DEMAND


        •   all documents that refer or relate to in any way the matter discussed in The Casas Law
            Firm, P.C.’s Demand Letter to Paradise Lakes Resort;
        •   all corporate filings by Paradise Lakes Resort, including but not limited to documents
            relating to the corporate formation of any Paradise Lakes Resort;
        •   all documents and communications concerning insurance maintained by Paradise
            Lakes Resort during the relevant period, including but not limited to all documents
            concerning insurance claims on any of the Paradise Lakes Resort insurance policies;
            and/or
        •   all documents and communications concerning any lawsuit filed or threatened against
            Paradise Lakes Resort, or any officer, member, employee, agent or representative for
            conducted similar or related to the conduct described in The Casas Law Firm, P.C.’s
            Demand Letter to Paradise Lakes Resort.
        For purposes of this notice, the term “Document” includes but is not limited to:
 contracts, bills of sale, agreements, emails, text message, social media posts or communications,
 chat room messages, messaging application conversations, promissory notes, documents,
 applications, file memoranda, correspondence, telegrams, forms, bank statements, tax invoices,
 files, books, pamphlets, circulars, transcripts, orders, bulletins, periodicals, letters, reports,
 advertisements, graphs, charts, plans, records, studies, logs, manuals, minutes, photographs or
 microfilm, diagrams, drawings or other visual materials, lists, working papers, rough drafts,
 research material, notes, papers, ledgers, journals or other books of account, computer print-outs
 or discs or tapes, computer programs, intra- and inter-office memoranda, notebooks, desk
 calendars, diaries, statistical computations, confirmations, reports and/or summaries of
 interviews or conversations, reports and/or summaries of investigations, opinions or reports of
 consultants, statements or expressions of policy, appraisals, forecasts, of all natures and kinds
 whether handwritten, typed, printed, mimeographed, photocopied or otherwise reproduced, all
 tape recordings (whether for computer, audio or visual replay), models, or other manner of
 tangible things on which words, phrases, symbols, information or other matter are written,
 printed or recorded.




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        IN RE RESORT AT PARADISE LAKES, LLC. d/b/a PARADISE LAKES RESORT
             ATTACHMENT F: DOCUMENT PRESERVATION DEMAND


        For purposes of this notice, “Communication” or “Correspondence” shall mean all
 electronic and hard copy written communications as well as oral communications (unless
 otherwise specified) including, but not limited to, correspondence, inter- and intra-office and
 agency communications, meetings, telephone conversations, letters, memoranda, notes, agendas,
 meeting minutes, facsimiles, text messages, social media postings or messages, messaging
 application conversations, electronic mail, and other recordings of conversations, discussions or
 meetings.
        Among other things, “Preservation” of electronic documents means to preserve all
 computer hard-drives, all cloud drives, all emails, all electronic records or recordings, all
 electronic accounts wherever located and all electronic devices on which such electronic
 information may be stored and to immediately discontinue any deletion or destruction of such
 electronically stored information. The obligations to preserve all documents are imposed under
 both Federal Law and Florida State Law, and you should seek the advice of counsel.
        Paradise Lakes Resort should cease destruction of any documents. This Notice is without
 limitation to the Models’ rights under applicable law.


   FAILURE TO ADHERE TO THIS NOTICE MAY SUBJECT YOU TO POTENTIAL
                       LIABILITY FOR SPOLIATION OF EVIDENCE.




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                        ATTACHMENT “G”
                                           STEPHEN CHAMBERLIN
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                                            Los Angeles CA 90048



           Thursday, 29 October 2015


!!!!!!!!!!!!!!!!!!Joseph N. Casas
           The Casas Law Firm PC.
           3801 N. Capital of Texas Highway
           Suite E240, #445
           Austin, Texas 78746




           Re: Preliminary Expert Report Regarding Image Infringement by Resort at Paradise Lakes
           LLC., doing business as, Paradise Lakes Resort.


           Dear Mr. Casas


                       This report is per your request in the above-referenced matter.



                                            I. Introduction


                     It is my understanding that Resort at Paradise Lakes, LLC.,doing business as
           Paradise Lakes Resort, (collectively “Paradise”), have taken and used, without authority,
           certain photographic images belonging to models, Cielo Jean Gibson, Dessie Mitchenson,
           Irina Voronina, John Coulter and Maysa Quy (collectively, the “Models”). You asked that I
           evaluate and value the compensation the Models would have and should have received for the
           use of these Images.


                    It is my understanding that, because the unauthorized nature of Paradise’s use and
           dissemination of the Models' images is not reasonably in dispute, the only issue I was asked to
           address is measuring certain damages caused by such use. In particular, I was asked to prepare a
           preliminary report opining on the fair and just compensatory, or actual, damages owed to each
           Model for the use of their images by Paradise in promotional, marketing and advertising media,
           on websites, social media and other forum. At this time, the report is preliminary, principally
           because it measures only compensatory-type damages for known instances in which Paradise
           used images without authority, as well as the known type and number of usages. My opinions
           as expressed in this Report do not include any estimation or opinion regarding the calculation
           of other damages, such as special, consequential, exemplary, or punitive damages.
         After a thorough review ofDocument
Case 8:16-cv-00791-CEH-AAS          the images, 1andFiled
                                                    after consideration
                                                          04/01/16 Page of a host
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                                                                                    factors
                                                                                      178 PageID 167
   outlined in this preliminary report, it is my expert opinion that each Model has sustained
   quantifiable harm and injury as a result of Paradise’s conduct in regard to the use of these
   images and that the value of all presently known image infringements totals $325,000 in
   compensatory, or actual, damages.

             Given that your investigation into this matter is ongoing, and new information
   may be revealed which may affect my opinion regarding the valuation of damages. As
   such, I reserve the right to amend this report if I am provided with new information
   regarding any of the Models listed, including but not limited to, newly identified Models,
   newly discovered images, and newly discovered usages.

                                         QUALIFICATIONS

             I have been involved in the model and talent industry working as an agent since
   1989. I was an agency director at LA Models Management, which is one of the world’s largest
   and most respected talent agencies. I also founded a talent agency called Warning Management
   Inc. and subsequently took the company public. I have extensive background, knowledge and
   experience in the modeling and talent industry. I am also an expert in the economics of image
   use, the valuation of image uses, model and public personality career valuation and the
   effective rates of work and valuation.

             Over the last 26 years I have represented hundreds of the world’s top models and, in
   that capacity, it has been my job to be intimately familiar with the modeling market, to quote
   work, negotiate deals and understand the particular factors driving the pricing for the particular
   work and the Models. I have quoted rates for my clients thousands of times. I am very familiar
   with the market rates for high end models today, because I continue to quote, negotiate and
   oversee rates, work and career development for my clients on a regular basis.

              My qualifications are summarized in greater detail in my curriculum vitae, attached
   to this report. I am being compensated for my time at the rate of $350 per hour. My
   compensation is not contingent on the outcome of this litigation, or on the opinions I express in
   this report, any supplemental or final report, in subsequent litigation or court testimony.


                    Information Received and Materials Reviewed
           In conjunction with my preparation of this preliminary report, I have reviewed and
   examined the following documents, images and information.

        1. The photographic images of the Models used by Paradise, the product advertised, the
           usages, any alterations to the images, the media used, and the mode and scope of
           distribution in various markets around Florida, nationally and worldwide on the web.

        2. Each Model’s earning history, development, growth, positioning, experience,
           current exposure, name recognition, personal publicity, social media profile, market
           demand, complimentary employment, and other factors determining and effecting
           earning capacity over the past 4 years.

        3. The type and caliber of clients that have traditionally employed each Model.

        4. Each Model’s 1099’s and W-2’s (where available) for the past 4 years.

        5. Agency records and feedback for each Model, where available.
                  Methodology/Process of Image Valuation
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   A.      Overview

            As a starting point, it is my opinion that no reputable model, and certainly not the
   Models here, would consider or agree to the use of their images by Paradise. The principal
   reason is that, without exception, each Model of this caliber seeks jobs that will enhance her/
   his stature, protect her/his reputation and image and not serve as a potential deterrent for
   commercial brands to affiliate with that Model. In my experience and expertise, having one’s
   image used in a way that would appear to sponsor, sanction, endorse, support or denote
   participation in the events or attendance at Paradise club, would damage, harm and devalue
   the Model’s individual careers due to the nature of the industry and product advertised by
   Paradise.

          Experientially, I recall no instance in my more than 26 years working as an agent
   where I or any other legitimate agent or agency would have booked a Model of the caliber of
   the Models for this type of client. The Club doing business as Paradise is much more than a
   resort and club; it is a “clothing optional” or “Nudists resort” meaning a club whose
   members (predominantly married couples) pay to meet other like minded couples at the
   Club, the resort or it’s events and/or sponsored parties.

           The use of the Model’s images in connection with promotional, marketing and
   advertisements for Paradise events was intended to and does necessarily imply that the
   Model either worked at Paradise, would be in attendance at the advertised event, and/or
   endorsed the club or events depicted. I believe that in the unlikely event a Model of this
   caliber would agree to such a job and usage, there would be negotiated a substantial
   premium for the work to offset anticipated and expected losses of marketability.

          Regarding the Models identified in this preliminary report, I am informed that not one
   of them was ever approached by Paradise or its agent, not one was ever asked to authorize or
   approve any use whatsoever by Paradise of their image, and not one ever consented to
   Paradise use of their likeness for any purpose whatsoever.

          The rates I have established below are based on the fair market value of each
   Model’s image for the specific appropriated use by Paradise but do not consider the damage
   or possible end of each models’ career, damage to reputation, or loss of other clients and
   advertisers by the Models being associated with this type of business.

   B.     Pricing of Work in the Modeling Industry

          My opinions are based in part upon the way in which work in the modeling talent
   industry is priced. The rates that models are paid are based upon numerous factors, the most
   important of which are the following:

        1. A model’s desirability, based on numerous factors, including the demand for his or
           her services.

        2. A model’s work history, such as prior associations, appearances, endorsements,
           advertisements, etc..
Case 8:16-cv-00791-CEH-AAS           Document
       3. The nature of the business seeking     1 Filed
                                             a model’s      04/01/16
                                                       service,          Page
                                                                the type of     169whether
                                                                            product, of 178 PageID 169
            exclusivity is sought, the embarrassment factor from being associated with the
            advertisement or marketing of certain products (condoms, personal hygiene,
            medications etc.) or similar considerations.

         4. The history of the business seeking a model's services, the style, quality and production
            of previous advertising and promotions, and it hiring of other models and celebrities.

         5. Exposure, namely how broadly the Model’s likeness will be circulated.

         6. The type of exposure, or the “Usage” of the image, such as:

                 a. Advertising: use of an image to promote a business, company or event, on a
                    website owned, controlled or contributed to by Paradise or in a magazine or
                    publication;

                 b. Social Media: including use on, but not limited to, Facebook, Twitter,
                    Instagram, YouTube, and Tumblr;

                 c. Third Party promotion: use of an image to promote a third party product,
                   company or event;

                 d. Branding: either manipulating an image to effectively “brand” a company
                   and suggest the model is working at the resort, club, event or company or
                   attaching dialogue or hash tag (#), which references, describes, labels or
                   effectively categorizes a model and associates him/her to the product or
                   business or similar products or business;

                 e. Coupon: use of an image to offer discounts for entry, participation to a club,
                    party or event or discounts on products;

                 f. Extra Usage: including, but not limited to, billboards, flyers, TV usage,
                    movies, downloads, posters, hangtags, banners and decorations;

         7. The length of exposure of Usage, the period of use, and any renewals or rollovers.

         8. The nature, duration and location of the actual shoot and production (In this case, the
            client bears no cost for the actual production of the images).



      While the list of all potential factors is extensive and case specific, the foregoing factors are
     illustrative and particularly relevant to our case. It is the job of the talent agent to seek out
     particular types of work for a model, and to negotiate deals for a model based on all relevant
     considerations based on the particular model, the client and product, event or service advertised.
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!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!Methodology Used In Formulating My Preliminary Opinions

               In estimating the compensatory, or actual, damages for each individual Model, I
        employed the same approach, methodology, and process that I would typically employ when
        determining what to charge a company or other entity that is interested in hiring models I
        represent. In addition to employing the foregoing factors, I did the following:

              1. I reviewed Paradise use of the photographic images of the Models, the product
                 advertised, the Usages and the distribution of the images to various markets.

              2. For the purpose of establishing a fee in an arms-length negotiation, I took into
                account the number of images used and the Usage of each.

             3. For each of the individual Models, I established a fair market fee for the use of the
                Model’s image, taking into account the Model’s payment history over the course of
                their career, the Model’s work quality, experience, exposure, and duration of career.
                For each Model, I have established a fee that I believe would be reasonable in light
                of industry standards, the way each Model’s image was used, the earning history of
                each Model and the nature of Paradise business.

             4. The rate of compensation is established by multiplying each image used by the
                number of separate types of Usage.




                         V. CONCLUSION

               After careful review of each Model’s history, careers, development, prospective future
      earnings, reputations and the growing industry of endorsements, branding and new media with
      the possibility and potential for income from these sources, I am confident in my quotes and
      conclusions. Again, these figures do not take into account additional Usages of which I’m not
      aware.
              Use of these high caliber images is insidious in itself, but the nature of the industry
      Paradise is involved in, combined with the insinuations and language associated with the
      images can and will attach itself to each Model’s career and as the images on the web are
      permanent cause irrevocable damage to reputations, future earnings and each Model’s
      business and ability to conduct business.

             As stated, the quotes are a minimum that would be required to compensate each
      Model for the unauthorized taking and use of these images, based upon a calculation of a cost
      per image per Usage, as follows:
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      MODEL               VALUE/IMAGE             # Images    Separate Usages            Damages
                            (minimum)

    CIELO JEAN                $15,000                1        Advertising Brand           $60,000
      GIBSON                                                   Social Media,
                                                                  Coupon

      DESSIE                  $25,000                1            Advertising             $75,000
   MITCHENSON                                                    Social Media,
                                                                   Coupon

       IRINA                  $20,000                2            Advertising            $120,000
     VORONINA                                                    Social Media
                                                                   Coupon

   JOHN COULTER               $10,000                1           Advertising,             $30,000
                                                                 Social Media
                                                                   Coupon

    MAYSA QUY                 $10,000                1        Advertising, Brand          $40,000
                                                                Social Media
                                                                  Coupon

       TOTAL                                                                             $325,000

    If Resort at Paradise Lake LLC., had attempted to purchase the image rights of these five
 Models to market, advertise, or promote Paradise Lake Resort, its club, the resort or events, it
 would have had to pay at least $325,000 based on current market conditions and each Model's earning
 capabilities.

    The foregoing opinions, analysis, and conclusions are based upon the documents
 and information I have reviewed as of the date of this report, as well as my experience in the
 modeling industry. I reserve the right to amend or supplement these opinions, analyses and
 conclusions upon receipt of additional information that may become available.


                                                               10/29/2015
       ----------------------------------------              ----------------------------------
       Stephen Chamberlin                                       Date
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CIELO  JEAN GIBSON          Document 1 Filed 04/01/16 Page 172 of 178 PageID 172




Cielo Jean “CJ” Gibson is an American model who enjoys great success in her industry. Ms. Gibson was the
Import Tuner magazine Model Search winner. Ms.Gibson is currently a model for the Falken Drift Team, and
can be seen at Formula Drift events. Ms. Gibson has also appeared in several magazines including FHM,
American Curves as a cover model, Supreme, MuscleMag International, Muscle & Fitness, Teeze, and in a
Bowflex ad.

Ms. Gibson has also modeled for the world's largest PWC Engine Re manufacturer, Short Block Technologies,
better known as SBT, Inc. in Clearwater, Florida. Ms.Gibson appeared in a home workout video called ENVY.
Her character's name is Eliana, which stands for the "E" in ENVY. She stars alongside Martina Andrews
(Natasha), Kara Monaco (Vala), and Brittany Lee (Yvette). Ms. Gibson continues to promote and market a
number of different companies Sport and Fitness equipment and is in the process of developing her own line of
supplements and fitness clothing.

In my opinion, based on my experience and expertise in this industry, when negotiating a rate of compensation
for Cielo Jean Gibson for the identified images used by Paradise, at a minimum, I would quote a rate of
$15,000 per image per Usage.

Paradise used one image for Advertising, on Social Media and as a Coupon (the image was tagged with
“Couples and single ladies complimentary entrance ”) and Branding (“lingerie night in Club Reveal, wear your
sexiest!”)

One (1) image @ $15,000 times four (4) Usages (Advertising, Social Media,Branding, Coupon) = $60,000




Cielo Jean Gibson’s Actual Damages = $60,000




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    DESSIE MITCHESON




Dessie Mitcheson competed fоr Miss Pennsylvania USA аt age18 аnd рlасеd in thе top ten. Ms. Mitcheson soon
bесаmе the Face of Playboy intimates. Thе following year she bесаmе the Face оf MGM Grand Lаѕ Vegas аnd Miss
Pennsylvania Intercontinental. Ms. Mitcheson was also named Maxim magazine’s Hometown Hottie. Thousands оf
girls асrоѕѕ thе United States enter thе yearly contest. Thе ѕаmе year, Ms. Mitcheson wаѕ #100 оn Maxim’s Hot 100
list. Shе hаѕ graced thе pages оf multiple issues of Maxim, including a thrее page spread, twо center folds, аnd landed
thе cover fоr the May 2014 Navy issue.

Ms. Mitcheson’s career as a TV personality, actor and spokeswoman is booming. Recently featured as the main
Tecate Beer ring girl in the biggest Pay per View event in history, the Mayweather v Pacquiao fight, which gave her
world wide visibility with over 100 million viewers. This triggered a huge demand for her services and increased her
daily quote substantially.

Ms. Mitcheson has been featured by national advertisers such as Crest toothpaste, Tecate, Roma Costumes and J.
Valentine.

In my opinion, based on my experience and expertise in this industry, when negotiating a rate of compensation for
Dessie Mitcheson for the identified images used by Paradise, at a minimum, I would quote a rate of $25,000 per
image per Usage.

Paradise used one image for Advertising, on Social Media, as a Coupon (image was tagged with “Happy Hour 5pm til
close”)


One (1) image @ $25,000 times three (3) Usages (Advertising, Social Media, Coupon) = $75,000



Dessie Mitchenson’s Actual Damages = $75,000




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IRINA VORONINA




Irina Voronina has modeled internationally for more than 14 years. Ms. Voronina was Playboy’s Miss January 2001, and
subsequently has been photographed by world famous photographers such as Teri Richardson, Mathew Rolston,
Antoine Verglas, David LaChapelle and many others. Ms. Voronina landed numerous print campaigns, including Skyy
Vodka, Miller Lite, Michelob Ultra, Bacardi, Sisley & Detour, to name a few. Ms.Voronina has appeared in numerous
magazines including FHM, Maxim, Max (Italy), Ocean, Shape, 944, Knockout, Q (UK), People (Australia), and very
recently on the covers of Kandy, Rukus and Browz magazine issues.

In 2008 Ms. Voronina was named a St Pauli Girl Beer spokes model and completed a year long public relations tour
across the United States. She became first ever St. Pauli Girl to ring NYSE closing bell representing Constellation
Brands. Ms. Voronina was the main host of Playboy Radio’s weekly shows “Playmate Club” and interviewed hundreds
of celebrities live on air.

 Ms. Voronina has acted extensively, including feature films (Reno 911, “Balls of Fury” “Towelhead” and
“Piranha 3DD”) and television (as a regular in the sit-com ‘Svetlana’, on the live action show, ‘Saul of the Mole Men’,
and as a guest star on Nickelodeon’s “iCarly”).

In 2013, Ms. Voronina was named Model Of the Year by Kandy Magazine based on the highest number of digital issue
downloads on iPad and iPhone. Ms. Voronina recently passed the 2 million fans mark on her Facebook fan page; her
Twitter & Instagram fan following is constantly growing.

In my opinion, based on my experience and expertise in this industry, when negotiating a rate of compensation for
Irina Voronina for the identified images used by Paradise, at a minimum, I would quote a rate of $20,000 per image
per usage.


Paradise used one image for Advertising, on Social Media and as a Coupon (image was tagged with “win a full year
membership”).

Paradise used a second image for Advertising, on Social Media and as a Coupon (image was tagged “Couples $20,
Single ladies $10, single guys $45”)

Two (2) images @ $20,000 times three (3) Usages (Advertising, Social Media, Coupon) = $120,000

Irina Voronina’s Actual Damages = $120,000
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John Coulter has a modeling career that has lasted over 20 years. Mr. Coulter has been represented by agencies in
NY, Milan, Paris and London and worked with photographers such as Ellen Von Unwerth and David LaChapelle.
Mr. Coulter shot a Jeans campaign with Mary J.Bligh and LiL’ Kim.

Mr. Coulter has appeared in many TV commercials and music videos. Print body work is where he excels
and was a perennial favorite for brands such as Joe Boxer, Fruit of the Loom, Murano, Undergear and
International Male. While Mr. Coulter remains a well-known model, he has also established himself as a
highly successful artist. His talents are broad and he works constantly as a painter, sculptor, illustrator,
costume designer and art director.

In my opinion, based on my experience and expertise in this industry, when negotiating a rate of compensation
for John Coulter for the identified images used by Paradise, at a minimum, I would quote a rate of $10,000 per
image per Usage.


Mr. Coulter had one image used for Advertising, on Social Media, and as a Coupon (Image was tagged with
“Lunch special:6pc Chicken wing basket with free fries”)

One (1) image @ $10,000 times three (3) Usages (Advertising, Social Media, Coupon) = $30,000



John Coulter’s Actual Damages = $30,000
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      MAYSA QUY




Maysa Quy is a model, actor, spokeswoman, pro body builder, ring girl, martial artist, fitness trainer and nutritionist.
Some of her awards include; 2014 IFBB Patriots Pro Bikini, 2011 NPC USA Championship Bikini /1st Place, IFBB
Pro, NPC Los Angeles Championships Bikini - 1st Place, NPC USA Championship - 3rd Place, NPC California
Championship Bikini, Contra Costa Bikini 3rd Place, San Jose Bikini 1st Overall, Strike-force/Ring-card
Spokesmodel, Miss Planet Beach and CaliforniaHealth & Wellness Recipient.

Ms. Quy has modeled and appeared in many magazines, catalogues and campaigns for clients including Skechers
Shoes, Benefit Cosmetics, CoverFX cosmetics, Dreamgirl Int'l Lingerie, Mini Cooper USA, T-mobile, Apple, Nike,
Microsoft, Davids Bridal and was a presenter at the People Choice Awards.

Ms. Quy was a featured performer in the National Microsoft “Stay Connected” TV commercial.

In my opinion, based on my experience and expertise in this industry, when negotiating a rate of compensation for
Maysa Quy for the identified images used by Paradise, at a minimum, I would quote a rate of $10,000 per
image per Usage.

Paradise used one image of Maysa Quy for Advertising, on Social Media, for Branding (Image was tagged with
“Lingerie night in Club Reveal wear your sexiest”) and as a Coupon (image was tagged “Couples & Single Ladies
Complimentary Entrance”)



One (1) Image @ $10,000 per image times four (4) Usages (Advertising, Social Media, Brand, Coupon) = $40,000



Maysa Quy’s Actual Damages = $40,000
                                                CURRICULUM VITAE OF
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                                                STEPHEN CHAMBERLIN
                                                       100 S. Doheny Drive
                                                      Los Angeles CA 90048
                                                          310 666 3629
                                                   Professional Experience


Rumblestorm Management
January 2009 to present
Owner - Director

Rumblestorm management is a worldwide sourcing and management company that operates as a paid scout and
development platform for models working all over the world. Currently managing models both male and female
in the US, France, Great Britain, Spain, Germany, Japan, Singapore, Italy, Australia and New Zealand.

Agencies that I am actively engaged and working for and with include but not limited to, IMG Models
Worldwide, DNA Management NY, Major Models Worldwide, NY Models NY, Elite NY, Ford Models NY,
Society Management NY, Women NY, LA Models LA, M Management LA, Next Models Worldwide, Silent
Models Paris, Premier Management London, Select Models London and Storm Management London.

I place models with these and other agencies in multiple countries. I book, negotiate, invoice, collect
commissions, source tear sheets and monitor usage of jobs.


Warning Management Inc.
November 1998 to August 2008
Founder - Partner - Director

A full service management company representing fashion models, actors, commercial talent, musicians, bands,
photographers, directors, brands and companies. Revenues are primarily derived from commissions paid by
clients, from engagements including but not limited to, bookings, endorsements, sponsorships, commissions,
residuals, exclusivities and royalties. The mediums worked in include but not limited to, Print, Television, Videos,
Packaging, Billboards, Point of Sale, Corporate Videos, Appearances, Speaking Engagements, Film, Events, Event
Management, Organization, Consultancies and Negotiations.

My responsibilities were total management and hands on involvement in every facet of the company. As director
and signatory for the company, I had a complete working knowledge of every negotiation, deal and client that we
represented. I was responsible for not only branding and development of the major clients but also for branding
and development of the company. I built the company from one employee and zero revenue into a publicly traded
company with revenues of over $30 million per annum.


LA Model Management (Los Angeles, CA)
NY Model Management (New York, NY)
December 1991 to May 1998
Agency Director

LA model Management is one of the world's oldest largest and most respected agencies. I represented models,
commercial talent, actors, production services, runway, hair and make-up artists and casting services.
My responsibility was the development of talent and the International marketing of the company to clients
worldwide. I established the first corporate client endorsements by actors and opened a whole new industry
within an industry. I developed Model Searches and TV shows that were fully sponsored and are still in
production now.

In January of 1995 I was relocated to NY. After leasing a premise, renovating, full build out, obtaining and
installing equipment, hiring staff, training staff and establishing a client base, I opened NY models on behalf of
the owner of LA models. Both NY and LA models are thriving still today.
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Spott Model Management (Sydney Australia)
January 1989 to August 1991
Agency Director

Spott models was a boutique agency in Sydney specializing in the development of models for the
world market. In the two years working I sent over a hundred models out to various agencies worldwide
and represented more than two hundred international models on their visits to Australia.


Association of Surfing Professionals. (ASP)
December 1989 to March 1990
Tour Representative / Sponsorship Director

The Association Of Surfing Professionals is the governing body for professional surfing
worldwide. I was the Pro Surfers representative on tour. I was the middle negotiator for all problems and
communications between the Surfers and the Administrative body. I also wrote and actively sought
Corporate sponsorships for both the Association and Professional Contests. I served as Contest Director on a
number of International Events.


Australian Professional Surfers Association (APSA)
December 1985 --March 1990
Part Time Director

The Australian Professional Surfers Association is the local governing Association for the development of
Professional Surfing in Australia and the regional representative for the World body the ASP. My
responsibilities were to raise sponsorship money for a fully funded National circuit which was the satellite
events that helped Australian and International surfers progress to the World Pro Tour. I organized a national
program of contests and established a point system for advancement and selection to the World Tour.
